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     Attorneys for Mark Meadows
13
14                        IN THE UNITED STATED DISTRICT COURT
15                                FOR THE DISTRICT OF ARIZONA
16
     State of Arizona,                            No. _________________________
17
18                 Plaintiff,

19         v.
20
     Mark Meadows,
21
22                 Defendant.

23                INDEX OF ATTACHMENTS TO NOTICE OF REMOVAL
24
                Attachment 1         State Court Docket
25
                Attachment 2         Indictment
26
                Attachment 3         Service Documents
27
                Not Applicable       Answers
28
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 1                            State Court Order Terminating or Dismissing
             Not Applicable
                              Parties
 2
             Attachment 4     Notices of Appearance
 3
             Not Applicable   Pending Motion, Responses, and Replies
 4
                              Remainder of State Court Record
 5           Attachment 5     (excluding the Grand Jury Transcripts which are
 6                            to be filed under seal)
 7                            Verification of True and Complete Copies of
             Attachment 6
                              Pleadings
 8
             Attachment 7     Grand Jury Transcripts (Filed Under Seal)
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          Maricopa Co. Superior Court
       Docket Case No. CR2024-006850




                              Attachment 1
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Case Information
Case Type:                  Criminal                 Location:                 Downtown


Party Information
Party Name - Number                      Relationship            Sex           Attorney                       Judge   Case #

State Of Arizona - (1)                   Plaintiff               N/A           Klingerman, Nicholas

Kelli Ward - (2)                         Defendant               F             Miller, Bradley                Cohen   CR2024-006850-001

Tyler Bowyer - (3)                       Defendant               M             Pacheco, Andrew                Cohen   CR2024-006850-002

Nancy Cottle - (4)                       Defendant               F             Dosdall, John                  Cohen   CR2024-006850-003

Jacob Hoffman - (5)                      Defendant               M             Lasota, Timothy                Cohen   CR2024-006850-004

Anthony Kern - (6)                       Defendant               M             Marcantel, Andrew              Cohen   CR2024-006850-005

James Lamon - (7)                        Defendant               M             Wilenchik, Dennis              Cohen   CR2024-006850-006

Robert Montgomery - (8)                  Defendant               M             Evans, Maurice                 Cohen   CR2024-006850-007

Samuel Moorhead - (9)                    Defendant               M             Cloud, Jeffrey                 Cohen   CR2024-006850-008

Loraine Pellegrino - (10)                Defendant               F             Kolsrud, Joshua                Cohen   CR2024-006850-009

Gregory Safsten - (11)                   Defendant               M             Jones, Richard                 Cohen   CR2024-006850-010

Michael Ward - (12)                      Defendant               M             Miller, Bradley                Cohen   CR2024-006850-011

Rudolph Giuliani - (13)                  Defendant               M             Williams, Mark                 Cohen   CR2024-006850-012

John Eastman - (14)                      Defendant               M             Adams, Ashley                  Cohen   CR2024-006850-013

Boris Epshteyn - (15)                    Defendant               M             BAILEY, MICHAEL                Cohen   CR2024-006850-014

Jenna Ellis - (16)                       Defendant               F             Brown, Matthew                 Cohen   CR2024-006850-015

Christina Bobb - (17)                    Defendant               F             Jacobs, Thomas                 Cohen   CR2024-006850-016

Michael Roman - (18)                     Defendant               M             Altman, Kurt                   Cohen   CR2024-006850-017

Mark Meadows - (19)                      Defendant               M             Chapman, Anne                  Cohen   CR2024-006850-018


Disposition Information
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
Description                 FRAUD SCHEME/PRACTICE-               ARSCode                      13-2311 (F5)
                            CONCEAL
Disposition Code                                                 Disposition
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
Description                 FORGERY                              ARSCode                      13-2002A (F4)
Disposition Code                                                 Disposition
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
Description                 FORGERY                              ARSCode                      13-2002A (F4)
Disposition Code                                                 Disposition
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
Description                 FRAUDULENT                           ARSCode                      13-2310A (F2)
                            SCHEMES/ARTIFICES
Disposition Code                                                 Disposition
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
Description                 CONSPIRACY                           ARSCode                      13-1003 (F2)
Disposition Code                                                 Disposition
Party Name                  Kelli Ward                           Crime Date                   11/3/2020       Date
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 5 of 303
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Kelli Ward               Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Kelli Ward               Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Kelli Ward               Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
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Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Tyler Bowyer             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Nancy Cottle             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 6 of 303
Description          FRAUDULENT               ARSCode       13-2310A (F2)
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Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
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Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Jacob Hoffman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
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Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
Party Name           Anthony Kern             Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 7 of 303
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           James Lamon              Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Robert Montgomery        Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Samuel Moorhead          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 8 of 303
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Loraine Pellegrino       Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Gregory Safsten          Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/30/2020      Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/30/2020      Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/30/2020      Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 9 of 303
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Ward             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Boris Epshteyn           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Jenna Ellis              Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Jenna Ellis              Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
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Party Name           Jenna Ellis              Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
Party Name           Jenna Ellis              Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
                   Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 10 of 303
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
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Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
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Disposition Code                              Disposition
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Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Christina Bobb           Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Michael Roman            Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          CONSPIRACY               ARSCode       13-1003 (F2)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FRAUDULENT               ARSCode       13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-   ARSCode       13-2311 (F5)
                     CONCEAL
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
Party Name           Mark Meadows             Crime Date    11/3/2020       Date
Description          FORGERY                  ARSCode       13-2002A (F4)
Disposition Code                              Disposition
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Party Name           Mark Meadows                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          CONSPIRACY                             ARSCode        13-1003 (F2)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FRAUDULENT                             ARSCode        13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-                 ARSCode        13-2311 (F5)
                     CONCEAL
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           John Eastman                           Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          CONSPIRACY                             ARSCode        13-1003 (F2)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FRAUDULENT                             ARSCode        13-2310A (F2)
                     SCHEMES/ARTIFICES
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FRAUD SCHEME/PRACTICE-                 ARSCode        13-2311 (F5)
                     CONCEAL
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition
Party Name           Rudolph Giuliani                       Crime Date     11/3/2020       Date
Description          FORGERY                                ARSCode        13-2002A (F4)
Disposition Code                                            Disposition


Case Documents
Filing Date          Description                                           Docket Date     Filing Party
7/25/2024            022 - ME: Order Signed - Party (004)                  7/25/2024
7/24/2024            RNM - Returned Mail - Party (010)                     7/24/2024
NOTE:
7/24/2024            SND - Supplemental Notice Of Disclosure - Party (002) 7/26/2024
NOTE:                PLAINTIFF’S RULE 15.1 FOURTH SUPPLEMENTAL DISCLOSURE
7/24/2024            SND - Supplemental Notice Of Disclosure - Party (003) 7/26/2024
NOTE:                PLAINTIFF’S RULE 15.1 FOURTH SUPPLEMENTAL DISCLOSURE
7/24/2024            SND - Supplemental Notice Of Disclosure - Party (016) 7/26/2024
NOTE:                PLAINTIFF’S RULE 15.1 FOURTH SUPPLEMENTAL DISCLOSURE
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7/24/2024         SND - Supplemental Notice Of Disclosure - Party (017)      7/26/2024
NOTE:             PLAINTIFF’S RULE 15.1 FOURTH SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (001)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (003)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (005)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (013)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (016)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (011)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (002)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (004)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (006)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (007)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (009)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (008)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (010)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (012)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (014)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (015)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (017)      7/25/2024
NOTE:             Plaintiffs Rule 15.1 Third Supplemental Disclosure
7/23/2024         SND - Supplemental Notice Of Disclosure - Party (018)      7/25/2024
NOTE:             PLAINTIFF’S RULE 15.1 THIRD SUPPLEMENTAL DISCLOSURE
7/22/2024         RMR - Response to Defendant's Motion - Party (012)         7/23/2024
NOTE:             RESPONSE TO DEFENDANT LAMON’S MOTION TO DISMISS PURSUANT TO ARIZ. R. CRIM. P. 16.4
7/22/2024         NOJ – Notice of Joinder - Party (018)                      7/24/2024
NOTE:             Defendant Mark Meadows' Notice of Joinder in Lamon's Motion to Dismiss Indictment Pursuant to A.R.S. 12-751
7/22/2024         RMR - Response to Defendant's Motion - Party (006)         7/24/2024
NOTE:             RESPONSE TO DEFENDANT LAMON’S MOTION TO DISMISS PURSUANT TO ARIZ. R. CRIM. P. 16.4
7/22/2024         RMR - Response to Defendant's Motion - Party (013)         7/24/2024
NOTE:             Response to Defendant Lamons Motion to Dismiss Pursuant to Ariz. R. Crim. P. 16.4
7/19/2024         MTR - Motion for Temporary Removal Of Court                7/24/2024
                  File/Transcripts/Exhibit - Party (012)
NOTE:
MOTION FOR TEMPORARY REMOVAL OF OFFICIAL COURT FILES, TRANSCRIPTS OR EXHIBITS PURSUANT TO MARICOPA COUNTY, LOCAL
RULE 2.8(e)
7/19/2024             023 - ME: Order Entered By Court - Party (016) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (002) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (003) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (004) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (005) 7/19/2024
7/19/2024             019 - ME: Ruling - Party (012)                 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (017) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (018) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (013) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (012) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (014) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (015) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (011) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (010) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (006) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (001) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (009) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (008) 7/19/2024
7/19/2024             023 - ME: Order Entered By Court - Party (007) 7/19/2024
7/18/2024             NOT - Notice - Party (004)                     7/23/2024
NOTE:
DEFENDANT JACOB HOFFMAN’S NOTICE OF SUPPLEMENTAL EVIDENCE IN SUPPORT OF MOTION TO DISMISS INDICTMENT PURSUANT
TO A.R.S § 12-751 EVIDENTIARY HEARING REQUESTED
7/18/2024             STA - Statement - Party (018)                  7/23/2024
NOTE:                 Initial Pretrial Conference Statement
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7/17/2024               NOT - Notice - Party (011)                                  7/19/2024
NOTE:                   DEFENDANT MICHAEL WARD’S RULE 15.2 NOTICE
7/17/2024               MTQ - Motion To Quash - Party (013)                         7/19/2024
NOTE:
DEFENDANT EASTMAN’S JOINDER IN DEFENDANT KELLI WARD MOTION TO QUASH INDICTMENT PURSUANT TO A.R.S. § 12-751(A.)
7/17/2024               NOJ – Notice of Joinder - Party (009)                       7/19/2024
NOTE:                   DEFENDANT PELLEGRINO’S NOTICE OF JOINDER IN THE ANTI-SLAPP MOTIONS TO DISMISS
7/17/2024               STA - Statement - Party (014)                               7/22/2024
NOTE:                   INITIAL PRETRIAL CONFERENCE STATEMENT
7/17/2024               NOJ – Notice of Joinder - Party (009)                       7/19/2024
NOTE:                   DEFENDANT PELLEGRINO’S NOTICE OF JOINDER IN DEFENDANT KELLI WARD’S MOTION TO QUASH INDICTMENT
7/17/2024               NOT - Notice - Party (001)                                  7/22/2024
NOTE:                   DEFENDANT KELLI WARDS 15.2 DISCLOSURE STATEMENT
7/17/2024               MTD - Motion To Dismiss - Party (013)                       7/23/2024
NOTE:
DEFENDANT EASTMAN’S JOINDER IN DEFENDANT LAMON’S MOTION TO DISMISS PURSUANT TO RULE 16.4(b), U.S. CONST. ART. II AND
VI, U.S. CONST. AM. I, V, XII AND XIV, AND ARIZ. CONST. ART II, §§ 4 AND 6
7/17/2024               023 - ME: Order Entered By Court - Party (016)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (012)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (013)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (014)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (015)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (006)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (007)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (008)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (009)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (010)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (011)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (017)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (018)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (001)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (002)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (003)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (004)              7/17/2024
7/17/2024               023 - ME: Order Entered By Court - Party (005)              7/17/2024
7/17/2024               NOJ – Notice of Joinder - Party (013)                       7/19/2024
NOTE:                   DEFENDANT EASTMAN’S NOTICE OF JOINDER
7/16/2024               NOI - Notice Of Intent - Party (011)                        7/19/2024
NOTE:
AMENDED NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12-751 AND AMENDED
REQUEST TO SET OMNIBUS BRIEFING SCHEDULE (Expedited Ruling Requested) (Assigned to the Honorable Bruce Cohen)
7/16/2024               NOJ – Notice of Joinder - Party (012)                       7/19/2024
NOTE:                   DEFENDANT GIULIANI'S NOTICE OF JOINDER
7/16/2024               NOI - Notice Of Intent - Party (001)                        7/19/2024
NOTE:
AMENDED NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12-751 AND AMENDED
REQUEST TO SET OMNIBUS BRIEFING SCHEDULE
7/16/2024               NOI - Notice Of Intent - Party (009)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (014)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (003)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (007)                        7/19/2024
NOTE:
AMENDED NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12-751 AND AMENDED
REQUEST TO SET OMNIBUS BRIEFING SCHEDULE (Expedited Ruling Requested) (Assigned to the Honorable Bruce Cohen)
7/16/2024               NOI - Notice Of Intent - Party (008)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (013)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (016)                        7/19/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024               NOI - Notice Of Intent - Party (018)                        7/19/2024
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NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              023 - ME: Order Entered By Court - Party (001)               7/16/2024
7/16/2024              NOI - Notice Of Intent - Party (004)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (006)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (010)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (015)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (002)                         7/18/2024
NOTE:
AMENDED NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12-751 AND AMENDED
REQUEST TO SET OMNIBUS BRIEFING SCHEDULE
7/16/2024              NOI - Notice Of Intent - Party (005)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (012)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/16/2024              NOI - Notice Of Intent - Party (017)                         7/18/2024
NOTE:
Amended Notice of Intent to File Response to Defendants Motions to Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus Briefing
Schedule
7/15/2024              STA - Statement - Party (017)                                7/17/2024
NOTE:                  Initial Pre-Trial Conference Statement
7/15/2024              MOT - Motion - Party (012)                                   7/17/2024
NOTE:
MOTION TO WAIVE DEFENDANT GIULIANI'S PRESENCE OR APPEAR VIRTUALLY AT AUGUST 26, 2024 COMPLEX CASE SCHEDULING
CONFERENCE
7/15/2024              022 - ME: Order Signed - Party (004)                         7/15/2024
7/15/2024              016 - ME: Ext/Time/Filing Granted - Party (006)              7/15/2024
7/15/2024              023 - ME: Order Entered By Court - Party (018)               7/15/2024
7/12/2024              023 - ME: Order Entered By Court - Party (002)               7/12/2024
7/12/2024              022 - ME: Order Signed - Party (002)                         7/12/2024
7/12/2024              016 - ME: Ext/Time/Filing Granted - Party (002)              7/12/2024
7/12/2024              022 - ME: Order Signed - Party (004)                         7/12/2024
7/12/2024              NOT - Notice - Party (004)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (005)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (007)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (012)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (014)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (018)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              MOT - Motion - Party (012)                                   7/16/2024
NOTE:                  MOTION TO MODIFY CONDITIONS OF RELEASE NUNC PRO TUNC
7/12/2024              NOT - Notice - Party (006)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (001)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (008)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (010)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (002)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (013)                                   7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (016)                                   7/16/2024
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NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (009)                                  7/17/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (011)                                  7/17/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (015)                                  7/17/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (017)                                  7/17/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/12/2024              NOT - Notice - Party (003)                                  7/16/2024
NOTE:                  PLAINTIFF’S RULE 15.1 SGJ DISCLOSURE
7/11/2024              MOT - Motion - Party (006)                                  7/16/2024
NOTE:                  MOTION FOR LEAVE TO APPEAR VIRTUALLY AT THE COMPLEX CASE SCHEDULING CONFERENCE
7/11/2024              ORD - Order - Party (002)                                   7/23/2024
NOTE:                  UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RULE 12.9 CHALLENGE TO GRAND JURY PROCEEDINGS
7/11/2024              ORD - Order - Party (002)                                   7/23/2024
NOTE:                  UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE ANTI-SLAPP MOTION TO DIMISS
7/11/2024              ORD - Order - Party (002)                                   7/23/2024
NOTE:                  RE: MOTION TO ASSOCIATE COUNSEL PRO HAC VICE
7/11/2024              ORD - Order - Party (004)                                   7/23/2024
NOTE:                  MOTIN TO ASSOIATE COUNSEL PRO HAC VICE-MICHAEL A COLUMBO
7/11/2024              ORD - Order - Party (004)                                   7/23/2024
NOTE:                  MOTION TO ASSOCIATE COUNSEL PRO HAC VICE-DAVID A WARRINGTON
7/11/2024              NOT - Notice - Party (017)                                  7/15/2024
NOTE:                  DEFENDANT ROMAN’S DISCLOSURE NOTICE PURSUANT TO ARIZONA RULES OF CRIMINAL PROCEDURE, 15.2
7/11/2024              022 - ME: Order Signed - Party (003)                        7/11/2024
7/9/2024               003 - ME: Hearing Reset - Party (013)                       7/9/2024
7/9/2024               ORD - Order - Party (003)                                   7/22/2024
NOTE:                  GRANTING PERMISSION TO TRAVEL FROM ARIZONA TO MILWAUKEE WISCONSIN
7/9/2024               CAO - Court Of Appeals Order - Party (018)                  7/18/2024
7/8/2024               023 - ME: Order Entered By Court - Party (016)              7/8/2024
7/8/2024               016 - ME: Ext/Time/Filing Granted - Party (012)             7/8/2024
7/8/2024               016 - ME: Ext/Time/Filing Granted - Party (003)             7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (004)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (002)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (003)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (009)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (005)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (007)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (001)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (006)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (012)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (011)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (015)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (013)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (014)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (010)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (008)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (017)              7/8/2024
7/8/2024               023 - ME: Order Entered By Court - Party (018)              7/8/2024
7/6/2024               NDR - Notice of Defenses and Request for Notice of Rebuttal 7/9/2024
                       Witnesses - Party (012)
NOTE:
DEFENDANT GIULIANI’S NOTICE OF DEFENSES AND DISCLOSURE AND REQUEST FOR DISCLOSURE OF REBUTTAL WITNESSES
7/5/2024                 NOJ – Notice of Joinder - Party (009)                      7/9/2024
NOTE:                    NOTICE OF JOINDER IN MOTION TO DESIGNATE COMPLEX
7/5/2024                 MET - Motion for Extension Of Time - Party (006)           7/9/2024
NOTE:                    STATE’S MOTION TO EXTEND RE: RESPONSE TO MOTION TO DISMISS INDICTMENT UNDER RULE 16.4(b).
7/4/2024                 NOT - Notice - Party (004)                                 7/9/2024
NOTE:                    DEFENDANT JACOB HOFFMAN’S RULE 15.2 NOTICE
7/4/2024                 MOT - Motion - Party (004)                                 7/9/2024
NOTE:                    DEFENDANT JACOB HOFFMAN’S MOTION TO ASSOCIATE COUNSEL PRO HAC VICE – GERALD A. URBANEK
7/3/2024                 REQ - Request - Party (003)                                7/9/2024
NOTE:                    UNOPPOSED REQUEST FOR PERMISSION TO TRAVEL
7/3/2024                 RES - Response - Party (012)                               7/8/2024
NOTE:
JOINDER OF DEFENDANT GIULIANI IN DEFENDANT MEADOW’S RESPONSE IN OPPOSITION TO STATE’S MOTION FOR PROTECTIVE
ORDER
7/3/2024                 NOJ – Notice of Joinder - Party (017)                      7/8/2024
NOTE:
Notice of Joinder in Defendant Lamons Motion to Dismiss Pursuant to 12-751 and Defendants Kelli and Michael Wards Motions to Quash the
Indictment
7/3/2024                 MET - Motion for Extension Of Time - Party (017)           7/8/2024
NOTE:                    MOTION FOR EXTENSION OF TIME TO FILE RULE 12.9 MOTION TO REMAND TO GRAND JURY
7/3/2024                 ORD - Order - Party (012)                                  7/11/2024
NOTE:
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RE UNOPPOSED MOTION TO EXTEND TIME FOR FILING MOTION TO CHALLENGE GRAND JURY AND GRAND JURY PROCEEDINGS
7/3/2024                ORD - Order - Party (003)                                   7/11/2024
NOTE:                   MOTION FOR AN EXTENSION OF TIME TO CHALLENGE THE GRAND JURY PROCEEDING UNDER RULE 12.9
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (016)
7/3/2024                021 - ME: Nunc Pro Tunc Order - Party (018)                 7/3/2024
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (013)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (011)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (012)
7/3/2024                194 : Me: Initial Pretrial Conference - Party (003)         7/3/2024
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (004)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (005)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (008)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (009)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (010)
7/3/2024                194 : Me: Initial Pretrial Conference - Party (007)         7/3/2024
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (001)
7/3/2024                599 - ME: Complex Case Order/Initial Pretrial Conference -  7/3/2024
                        Party (002)
7/2/2024                MOT - Motion - Party (018)                                  7/8/2024
NOTE:
DEFENDANT MARK MEADOWS'S MOTION FOR PERMISSION TO FILE SUR-REPLY IN OPPOSITION TO STATE'S MOTION FOR PROTECTIVE
ORDER
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (002)       7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (011)       7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (015)       7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                RGJ – Request for Extension of Time to Challenge Grand Jury 7/8/2024
                        Proceedings - Party (012)
NOTE:
UNOPPOSED MOTION TO EXTEND TIME FOR FILING MOTION TO CHALLENGE GRAND JURY AND GRAND JURY PROCEEDINGS
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (004)       7/8/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                590 - ME: Complex Case Order - Party (007)                  7/2/2024
7/2/2024                590 - ME: Complex Case Order - Party (003)                  7/2/2024
7/2/2024                016 - ME: Ext/Time/Filing Granted - Party (005)             7/2/2024
7/2/2024                016 - ME: Ext/Time/Filing Granted - Party (018)             7/2/2024
7/2/2024                NOT - Notice - Party (006)                                  7/8/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                NOT - Notice - Party (007)                                  7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (001)       7/8/2024
NOTE:                   SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (014)       7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                NOJ – Notice of Joinder - Party (014)                       7/5/2024
NOTE:                   NOTICE OF JOINDER IN MOTION TO DESIGNATE COMPLEX
7/2/2024                NOT - Notice - Party (008)                                  7/5/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                REL - Reply - Party (018)                                   7/5/2024
NOTE:
DEFENDANT MARK MEADOWS’S PROPOSED SUR-REPLY IN OPPOSITION TO STATE’S MOTION FOR PROTECTIVE ORDER
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (009)       7/5/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (016)       7/8/2024
NOTE:                   RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                MOT - Motion - Party (006)                                  7/8/2024
NOTE:
SUPPLEMENT TO DEFENDANT LAMON’S MOTION TO DISMISS INDICTMENT PURSUANT TO RULE 16.4(b), U.S. CONST. ART. II AND VI, U.S.
CONST. AM. I, V, XII AND XIV, AND ARIZ. CONST. ART II, §§ 4 AND 6
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (018)       7/8/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (012)       7/8/2024
NOTE:                   PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024                SND - Supplemental Notice Of Disclosure - Party (013)       7/8/2024
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NOTE:               PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024            SND - Supplemental Notice Of Disclosure - Party (017)       7/8/2024
NOTE:               PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024            SND - Supplemental Notice Of Disclosure - Party (003)       7/8/2024
NOTE:               RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024            SND - Supplemental Notice Of Disclosure - Party (005)       7/8/2024
NOTE:               PLAINTIFF’S RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/2/2024            SND - Supplemental Notice Of Disclosure - Party (010)       7/8/2024
NOTE:               RULE 15.1 SECOND SUPPLEMENTAL DISCLOSURE
7/1/2024            STA - Statement - Party (012)                               7/5/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
7/1/2024            ORD - Order - Party (005)                                   7/8/2024
NOTE:               GRANTING MOTION FOR EXTENSION OF TIME TO FILE RULE 12.9 MOTION TO REMAND
7/1/2024            ORD - Order - Party (018)                                   7/8/2024
NOTE:               GRANTING THE MOTION
7/1/2024            MTD - Motion To Dismiss - Party (016)                       7/5/2024
NOTE:
DEFENDANT CHRISTINA BOBB'S MOTION TO DISMISS INDICTMENT PURSUANT TO A.R.S § 12-751 (JOINDER SUPPLEMENT TO
DEFENDANT HOFFMAN'S MOTION TO DISMISS)
7/1/2024            STA - Statement - Party (004)                               7/3/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
7/1/2024            STA - Statement - Party (010)                               7/3/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
6/29/2024           NAR - Notice Of Appearance - Party (012)                    7/2/2024
NOTE:               Notice of Appearance
6/28/2024           NOI - Notice Of Intent - Party (013)                        7/3/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12 751 AND REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           STA - Statement - Party (005)                               7/3/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
6/28/2024           STA - Statement - Party (016)                               7/2/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
6/28/2024           NOI - Notice Of Intent - Party (006)                        7/2/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12 751 AND REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           STA - Statement - Party (009)                               7/2/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT IPTC HEARING DATE: July 2, 2024
6/28/2024           STA - Statement - Party (008)                               7/2/2024
NOTE:               Initial Pretrial Conference Statement
6/28/2024           NOI - Notice Of Intent - Party (011)                        7/2/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12 751 AND REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           NDR - Notice of Defenses and Request for Notice of Rebuttal 7/2/2024
                    Witnesses - Party (008)
NOTE:               NOTICE OF DEFENSES AND REQUEST FOR NOTICE OF REBUTTAL WITNESSES
6/28/2024           NOI - Notice Of Intent - Party (001)                        7/2/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12-751 and REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           NOI - Notice Of Intent - Party (004)                        7/2/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12 751 and REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           NOI - Notice Of Intent - Party (014)                        7/3/2024
NOTE:
NOTICE OF INTENT TO FILE RESPONSE TO DEFENDANTS' MOTIONS TO DISMISS PURSUANT TO A.R.S. § 12 751 AND REQUEST TO SET
OMNIBUS BRIEFING SCHEDULE
6/28/2024           STA - Statement - Party (016)                               7/3/2024
NOTE:               RULE 15.2 DISCLOSURE STATEMENT OF CHRISTINA BOBB (016)
6/27/2024           STA - Statement - Party (002)                               7/2/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT IPTC HEARING DATE: July 2, 2024
6/27/2024           RES - Response - Party (002)                                7/1/2024
NOTE:               Joinder of Defendant Bowyer in Defendant Meadows Response in Opposition to States Motion for Protective Order
6/27/2024           STA - Statement - Party (001)                               7/1/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
6/27/2024           STA - Statement - Party (011)                               7/1/2024
NOTE:               INITIAL PRETRIAL CONFERENCE STATEMENT
6/27/2024           NOT - Notice - Party (005)                                  7/1/2024
NOTE:               Defendants Rule 15.2 Disclosure Notice
6/27/2024           MOT - Motion - Party (007)                                  7/1/2024
NOTE:               Motion to Designate Complex
6/27/2024           MET - Motion for Extension Of Time - Party (005)            7/1/2024
NOTE:               UNOPPOSED MOTION TO EXTEND TIME FOR FILING RULE 12.9 MOTION TO REMAND
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6/27/2024             STA - Statement - Party (002)                                 7/2/2024
NOTE:                 DEFENDANT’S RULE 15.2 DISCLOSURE STATEMENT, NOTICES OF DEFENSES AND REQUEST FOR DISCLOSURE
6/26/2024             REL - Reply - Party (013)                                     7/1/2024
NOTE:                 Reply to Meadowss Response to States Motion for Protective Order
6/26/2024             STA - Statement - Party (003)                                 6/28/2024
NOTE:                 INITIAL PRETRIAL CONFERENCE STATEMENT IPTC HEARING DATE: July 2, 2024
6/26/2024             REL - Reply - Party (005)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             REL - Reply - Party (006)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             REL - Reply - Party (017)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             MTD - Motion To Dismiss - Party (004)                         6/28/2024
NOTE:
DEFENDANT JACOB HOFFMAN’S MOTION TO DISMISS INDICTMENT PURSUANT TO A.R.S § 12-751EVIDENTIARY HEARING REQUESTED
6/26/2024             REL - Reply - Party (004)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             REL - Reply - Party (016)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             NOT - Notice - Party (003)                                    6/28/2024
NOTE:                 NOTICE OF DEFENSES AND REQUEST FOR DISCOVERY
6/26/2024             MOT - Motion - Party (004)                                    6/28/2024
NOTE:
DEFENDANT JACOB HOFFMAN’S MOTION TO ASSOCIATE COUNSEL PRO HAC VICE – JESSE D. FRANKLIN-MURDOCK
6/26/2024             MOT - Motion - Party (004)                                    6/28/2024
NOTE:                 DEFENDANT JACOB HOFFMAN’S MOTION TO ASSOCIATE COUNSEL PRO HAC VICE – MICHAEL A. COLUMBO
6/26/2024             STA - Statement - Party (007)                                 6/28/2024
NOTE:                 INITIAL PRETRIAL CONFERENCE STATEMENT IPTC HEARING DATE: July 2, 2024
6/26/2024             MOT - Motion - Party (004)                                    6/28/2024
NOTE:                 DEFENDANT JACOB HOFFMAN’S UNOPPOSED MOTION FOR LEAVE TO EXCEED THE PAGE LIMITATION
6/26/2024             MOT - Motion - Party (004)                                    6/28/2024
NOTE:                 DEFENDANT JACOB HOFFMAN’S MOTION TO ASSOCIATE COUNSEL PRO HAC VICE – DAVID A. WARRINGTION
6/26/2024             REL - Reply - Party (018)                                     6/28/2024
NOTE:                 REPLY TO MEADOWS’S RESPONSE TO STATE’S MOTION FOR PROTECTIVE ORDER
6/26/2024             NOT - Notice - Party (013)                                    6/28/2024
NOTE:                 NOTICE OF ERRATA RE: MOTION TO DISMISS PURSUANT TO ARIZONA’S ANTI-SLAPP STATUTE, A.R.S. § 12-751
6/26/2024             016 - ME: Ext/Time/Filing Granted - Party (016)               6/26/2024
6/26/2024             016 - ME: Ext/Time/Filing Granted - Party (009)               6/26/2024
6/26/2024             023 - ME: Order Entered By Court - Party (013)                6/26/2024
6/26/2024             022 - ME: Order Signed - Party (013)                          6/26/2024
6/26/2024             016 - ME: Ext/Time/Filing Granted - Party (013)               6/26/2024
6/25/2024             STA - Statement - Party (007)                                 6/27/2024
NOTE:                 DEFENDANT’S RULE 15.2 DISCLOSURE STATEMENT
6/25/2024             MOT - Motion - Party (003)                                    6/27/2024
NOTE:                 AMENDED MOTION TO DESIGNATE CASE AS COMPLEX
6/25/2024             STA - Statement - Party (013)                                 6/27/2024
NOTE:                 INITIAL PRETRIAL CONFERENCE STATEMENT
6/25/2024             DAR - Notice of Disclosure and Request for Disclosure - Party 6/27/2024
                      (013)
NOTE:
DEFENDANT JOHN EASTMAN’S 15.2 DISCLOSURE STATEMENT, NOTICES OF DEFENSES AND REQUEST FOR DISCLOSURE
6/25/2024             NOJ – Notice of Joinder - Party (017)                         6/27/2024
NOTE:
Defendant Romans Notice of Joinder in Defendant Hoffmans and Defendant Eastmans Motions to Dismiss Pursuant to ARS 12-751
6/24/2024             MOT - Motion - Party (001)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             NOJ – Notice of Joinder - Party (014)                         6/26/2024
NOTE:                 NOTICE OF JOINDER IN ANTI-SLAPP MOTIONS TO DISMISS
6/24/2024             MOT - Motion - Party (003)                                    6/26/2024
NOTE:                 UNOPPOSED MOTION TO DESIGNATE CASE AS COMPLEX
6/24/2024             MOT - Motion - Party (005)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (006)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (008)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (010)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (016)                                    6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             NOF - Notice Of Filing - Party (005)                          6/26/2024
NOTE:                 Notice of Filing Joinder of Defendant Kern in Defendant Hoffmans Motion to Dismiss Indictment Pursuant to A.R.S. § 12-751
6/24/2024             MET - Motion for Extension Of Time - Party (003)              6/26/2024
NOTE:
UNOPPOSED MOTION FOR EXTENSION OF TIME TO CHALLENGE THE GRAND JURY PROCEEDINGS UNDER RULE 12.9
6/24/2024             MTD - Motion To Dismiss - Party (006)                         6/26/2024
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NOTE:                 MOTION TO DISMISS INDICTMENT AND AWARD ATTORNEY’S FEES AND COSTS PURSUANT TO A.R.S. § 12-751
6/24/2024             MTD - Motion To Dismiss - Party (006)                       6/26/2024
NOTE:
MOTION TO DISMISS INDICTMENT PURSUANT TO RULE 16.4(b), U.S. CONST. ART. II AND VI, U.S. CONST. AM. I, V, XII AND XIV, AND ARIZ.
CONST. ART II, §§ 4 AND 6
6/24/2024             MOT - Motion - Party (007)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (009)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (011)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             NOF - Notice Of Filing - Party (005)                        6/26/2024
NOTE:
NOTICE OF FILING JOINDER OF DEFENDANT KERN IN DEFENDANT MEADOWS’S RESPONSE IN OPPOSITION TO STATE’S MOTION FOR
PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (013)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (014)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (015)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (004)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (012)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (006)                                  6/26/2024
NOTE:                 Defendant James Lamons Motion to Exceed Page Limit Re Motion to Dismiss
6/24/2024             MOT - Motion - Party (003)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (002)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             RES - Response - Party (014)                                6/26/2024
NOTE:                 RESPONSE TO ATTORNEY GENERAL’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MTQ - Motion To Quash - Party (001)                         6/26/2024
NOTE:                 MOTION TO QUASH INDICTMENT
6/24/2024             MOT - Motion - Party (017)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             MOT - Motion - Party (018)                                  6/26/2024
NOTE:                 STATE’S MOTION FOR PROTECTIVE ORDER
6/24/2024             RES - Response - Party (006)                                6/26/2024
NOTE:                 Joinder of Defendant Lamon In Defendant Meadows Response in Opposition to States Motion for Protective Order
6/24/2024             MTQ - Motion To Quash - Party (011)                         6/26/2024
NOTE:                 MOTION TO QUASH INDICTMENT
6/24/2024             MET - Motion for Extension Of Time - Party (002)            6/26/2024
NOTE:                 Defendants Unopposed Motion for Extension of Time to File Anti-SLAPP Motion to Dismiss
6/24/2024             MET - Motion for Extension Of Time - Party (002)            6/26/2024
NOTE:                 Defendants Unopposed Motion for Extension of Time to File Rule 12.9 Challenge to Grand Jury Proceedings
6/24/2024             RTR - Return Receipt For Official Court                     7/2/2024
                      Files/Transcripts/Exhibits - Party (016)
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (001)       6/25/2024
NOTE:                 Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024             MTR - Motion for Temporary Removal Of Court                 6/26/2024
                      File/Transcripts/Exhibit - Party (016)
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (009)       6/25/2024
NOTE:                 Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (007)       6/25/2024
NOTE:                 PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (003)       6/25/2024
NOTE:                 Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (004)       6/25/2024
NOTE:                 Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024             SND - Supplemental Notice Of Disclosure - Party (006)       6/25/2024
NOTE:                 Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024             NAR - Notice Of Appearance - Party (006)                    6/25/2024
NOTE:                 NOTICE OF APPEARANCE FOR DEFENDANT JAMES LAMON
6/21/2024             MTD - Motion To Dismiss - Party (013)                       6/25/2024
NOTE:                 MOTION TO DISMISS PURSUANT TO ARIZONA’S ANTI-SLAPP STATUTE, A.R.S. § 12-752
6/21/2024             NJR - Notice of change of Judge for right - Party (006)     6/25/2024
NOTE:
NOTICE OF CHANGE OF JUDGE AS A MATTER OF RIGHT PURSUANT TO ARIZONA RULES OF CRIMINAL PROCEDURE 10.2
6/21/2024             NOT - Notice - Party (008)                                  6/25/2024
NOTE:                 PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/21/2024             NOT - Notice - Party (015)                                  6/25/2024
NOTE:                 PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/21/2024             NOT - Notice - Party (017)                                  6/25/2024
NOTE:                 PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
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6/21/2024          NOT - Notice - Party (011)                                  6/25/2024
NOTE:              PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/21/2024          NDR - Notice of Defenses and Request for Notice of Rebuttal 6/25/2024
                   Witnesses - Party (006)
NOTE:
DEFENDANT JAMES LAMON’S 15.2 DISCLOSURE STATEMENT, NOTICE OF DEFENSES AND REQUEST FOR DISCLOSURE
6/21/2024          MOT - Motion - Party (013)                                  6/25/2024
NOTE:
MOTION TO EXCEED PAGE LIMIT ON DEFENDANT EASTMAN’S MOTION TO DISMISS PURSUANT TO ARIZONA’S ANTI-SLAPP STATUTE,
A.R.S. § 12-752
6/21/2024          RMR - Response to Defendant's Motion - Party (017)          6/25/2024
NOTE:
DEFENDANT ROMAN’S NOTICE OF JOINDER IN DEFENDANT MARK MEADOWS’S RESPONSE IN OPPOSITION TO STATE’S MOTION FOR
PROTECTIVE ORDER
6/21/2024          NOT - Notice - Party (010)                                  6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          NOT - Notice - Party (012)                                  6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          NOT - Notice - Party (013)                                  6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          NOT - Notice - Party (014)                                  6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          NOT - Notice - Party (016)                                  6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          OFT - Order for Temporary Removal of Court                  6/27/2024
                   File/Transcripts/Exhibits - Party (016)
6/21/2024          RRF - Release Receipt For Official Court                    6/27/2024
                   Files/Transcripts/Exhibits - Party (016)
6/21/2024          SND - Supplemental Notice Of Disclosure - Party (002)       6/25/2024
NOTE:              Plaintiffs Rule 15.1 First Supplemental Disclosure
6/21/2024          SND - Supplemental Notice Of Disclosure - Party (005)       6/25/2024
NOTE:              PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/21/2024          SND - Supplemental Notice Of Disclosure - Party (018)       6/25/2024
NOTE:              PLAINTIFF’S RULE 15.1 FIRST SUPPLEMENTAL DISCLOSURE
6/20/2024          NOJ – Notice of Joinder - Party (004)                       6/24/2024
NOTE:              Notice of Joinder
6/20/2024          NOT - Notice - Party (018)                                  6/24/2024
NOTE:              NOTICE OF DISCLOSURE PURSUANT TO RULE 15.2 FOR DEFENDANT MARK MEADOWS
6/20/2024          RGJ – Request for Extension of Time to Challenge Grand Jury 6/24/2024
                   Proceedings - Party (018)
NOTE:
DEFENDANT MARK MEADOWS’ UNOPPOSED MOTION TO EXTEND TIME TO FILE MOTION TO CHALLENGE GRAND JURY AND GRAND JURY
PROCEEDINGS
6/20/2024          MET - Motion for Extension Of Time - Party (018)            6/24/2024
NOTE:
DEFENDANT MARK MEADOWS’ MOTION TO EXTEND TIME TO FILE MOTION TO DISMISS OR QUASH UNDER A.R.S. § 12-751 (ANTI-SLAPP
STATUTE) EXPEDITED CONSIDERATION REQUESTED
6/19/2024          RES - Response - Party (013)                                6/21/2024
NOTE:
JOINDER OF DEFENDANT EASTMAN IN DEFENDANT MEADOWS’ RESPONSE IN OPPOSITION TO STATE’S MOTION FOR PROTECTIVE
ORDER
6/19/2024          NOJ – Notice of Joinder - Party (016)                       6/21/2024
NOTE:              NOTICE OF JOINDER IN RESPONSE OF DEFENDANT MEADOWS TO STATES MOTION FOR PROTECTIVE ORDER
6/19/2024          RTR - Return Receipt For Official Court                     6/25/2024
                   Files/Transcripts/Exhibits - Party (006)
6/19/2024          152 - ME: Not Guilty Plea Arraign - Party (015)             6/19/2024
6/19/2024          152 - ME: Not Guilty Plea Arraign - Party (014)             6/19/2024
6/19/2024          152 - ME: Not Guilty Plea Arraign - Party (006)             6/19/2024
6/19/2024          ROO – Release Order Own Recognizance - Party (014)          6/19/2024
NOTE:              Release Order
6/18/2024          RES - Response - Party (018)                                6/20/2024
NOTE:              DEFENDANT MARK MEADOWS’S RESPONSE IN OPPOSITION TO STATE’S MOTION FOR PROTECTIVE ORDER
6/18/2024          NDR - Notice of Defenses and Request for Notice of Rebuttal 6/20/2024
                   Witnesses - Party (009)
NOTE:              NOTICE OF DEFENSES AND REQUEST FOR DISCLOSURE
6/18/2024          ROO – Release Order Own Recognizance - Party (006)          6/18/2024
NOTE:              Release Order
6/18/2024          ROO – Release Order Own Recognizance - Party (015)          6/18/2024
NOTE:              Release Order
6/18/2024          016 - ME: Ext/Time/Filing Granted - Party (007)             6/18/2024
6/18/2024          MET - Motion for Extension Of Time - Party (009)            6/20/2024
NOTE:              MOTION TO EXTEND TIME TO FILE MOTION TO REMAND TO GRAND JURY
6/18/2024          ORD - Order - Party (006)                                   6/24/2024
NOTE:              GRANTING LEAVE TO APPEAR VIRTUALLY AT NOT GUILTY ARRAIGNMENT
6/18/2024          RTR - Return Receipt For Official Court                     6/25/2024
                   Files/Transcripts/Exhibits - Party (010)
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6/17/2024         RRF - Release Receipt For Official Court        6/24/2024
                  Files/Transcripts/Exhibits - Party (010)
6/17/2024         MTR - Motion for Temporary Removal Of Court     6/20/2024
                  File/Transcripts/Exhibit - Party (018)
NOTE:
DEFENDANT MARK MEADOWS’S MOTION FOR TEMPORARY REMOVAL OF GRAND JURY EXHIBITS PURSUANT TO LOCAL RULE 2.8(e)
6/17/2024          MOT - Motion - Party (015)                               6/20/2024
NOTE:              MOTION TO APPEAR VIRTUALLY OR TELEPHONICALLY FOR ARRAIGNMENT
6/17/2024          NJR - Notice of change of Judge for right - Party (004)  6/20/2024
NOTE:              Notice of CHange of Judge as a Matter of Right
6/17/2024          OFT - Order for Temporary Removal of Court               6/24/2024
                   File/Transcripts/Exhibits - Party (010)
6/17/2024          RTR - Return Receipt For Official Court                  6/24/2024
                   Files/Transcripts/Exhibits - Party (003)
6/17/2024          MTR - Motion for Temporary Removal Of Court              6/20/2024
                   File/Transcripts/Exhibit - Party (010)
6/17/2024          MOT - Motion - Party (014)                               6/19/2024
NOTE:              MOTION TO APPEAR VIRTUALLY FOR ARRAIGNMENT SET FOR JUNE 18, 2024
6/15/2024          NOJ – Notice of Joinder - Party (016)                    6/18/2024
NOTE:              NOTICE OF JOINDER IN MOTION TO EXTEND TIME TO FILE MOTION TO REMAND (RULE 12.9) FOR 30 DAYS
6/15/2024          MOT - Motion - Party (016)                               6/18/2024
NOTE:
MOTION FOR LEAVE TO ALLOW DEFENDANT TO VIRTUALLY OR TELEPHONICIALLY APPEAR AT JULY 2, 2024, INTIAL PTC
6/14/2024          MOT - Motion - Party (013)                               6/18/2024
NOTE:
UNOPPOSED MOTION TO ALLOW DEFENDANT TO APPEAR VIRTUALLY OR TELEPHONICALLY AT 7-2-24 INITIAL PRETRIAL CONFERENCE
6/14/2024          MOT - Motion - Party (005)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (008)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (010)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (013)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (014)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (016)                               6/18/2024
NOTE:              state motion for protective order
6/14/2024          MOT - Motion - Party (006)                               6/18/2024
NOTE:              State Motion for protective order
6/14/2024          MOT - Motion - Party (009)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (011)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MET - Motion for Extension Of Time - Party (013)         6/18/2024
NOTE:              Unopposed Motion to Extend Time to File Motion to Remand
6/14/2024          MOT - Motion - Party (018)                               6/19/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (001)                               6/18/2024
NOTE:              STATE'S MOTION FOR PROTECTIVE ORDER
6/14/2024          MOT - Motion - Party (012)                               6/18/2024
NOTE:              STATE’S MOTION FOR PROTECTIVE ORDER
6/13/2024          RTR - Return Receipt For Official Court                  6/20/2024
                   Files/Transcripts/Exhibits - Party (008)
6/13/2024          MTR - Motion for Temporary Removal Of Court              6/19/2024
                   File/Transcripts/Exhibit - Party (006)
6/13/2024          RRF - Release Receipt For Official Court                 6/20/2024
                   Files/Transcripts/Exhibits - Party (006)
6/13/2024          RTR - Return Receipt For Official Court                  6/20/2024
                   Files/Transcripts/Exhibits - Party (018)
6/13/2024          MET - Motion for Extension Of Time - Party (007)         6/18/2024
NOTE:              MOTION TO EXTEND RULE 12.9 DEADLINE
6/13/2024          MOT - Motion - Party (006)                               6/17/2024
NOTE:              MOTION FOR LEAVE TO APPEAR VIRTUALLY AT NOT GUILTY ARRAIGNMENT
6/13/2024          MOT - Motion - Party (002)                               6/17/2024
NOTE:              MOTION TO ASSOCIATE COUNSEL PRO HAC VICE
6/13/2024          023 - ME: Order Entered By Court - Party (007)           6/13/2024
6/13/2024          OFT - Order for Temporary Removal of Court               6/21/2024
                   File/Transcripts/Exhibits - Party (006)
6/12/2024          OFT - Order for Temporary Removal of Court               6/20/2024
                   File/Transcripts/Exhibits - Party (003)
6/12/2024          021 - ME: Nunc Pro Tunc Order - Party (017)              6/12/2024
6/12/2024          RMR - Response to Defendant's Motion - Party (007)       6/14/2024
NOTE:              STATE’S RESPONSE TO DEFENDANT’S MOTION
6/12/2024          RRF - Release Receipt For Official Court                 6/19/2024
                   Files/Transcripts/Exhibits - Party (003)
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6/12/2024     MTR - Motion for Temporary Removal Of Court                       6/19/2024
              File/Transcripts/Exhibit - Party (003)
6/11/2024     RTR - Return Receipt For Official Court                           6/19/2024
              Files/Transcripts/Exhibits - Party (009)
6/11/2024     RRF - Release Receipt For Official Court                          6/20/2024
              Files/Transcripts/Exhibits - Party (018)
6/11/2024     RTR - Return Receipt For Official Court                           6/20/2024
              Files/Transcripts/Exhibits - Party (005)
6/11/2024     MTR - Motion for Temporary Removal Of Court                       6/18/2024
              File/Transcripts/Exhibit - Party (018)
6/11/2024     RTM - Returned Mail or Returned/ReMailed Mail - Party (013) 6/11/2024
NOTE:         STATUTES
6/11/2024     OFT - Order for Temporary Removal of Court                        6/20/2024
              File/Transcripts/Exhibits - Party (018)
6/10/2024     152 - ME: Not Guilty Plea Arraign - Party (018)                   6/10/2024
6/10/2024     152 - ME: Not Guilty Plea Arraign - Party (017)                   6/10/2024
6/10/2024     NDC - Notice Of Deposit With Court - Party (012)                  6/10/2024
NOTE:         $10,000 / BOND
6/10/2024     MOT - Motion - Party (018)                                        6/12/2024
NOTE:         MOTION TO ASSOCIATE COUNSEL PRO HAC VICE
6/9/2024      MOT - Motion - Party (007)                                        6/12/2024
NOTE:         MOTION TO WAIVE APPEARANCE AT IPTC AND/OR APPEAR VIRTUALLY OR TELEPHONICALLY
6/7/2024      152 - ME: Not Guilty Plea Arraign - Party (004)                   6/7/2024
6/7/2024      ROO – Release Order Own Recognizance - Party (018)                6/7/2024
NOTE:         Release Order
6/7/2024      ROO – Release Order Own Recognizance - Party (017)                6/7/2024
NOTE:         Release Order
6/7/2024      OFT - Order for Temporary Removal of Court                        6/24/2024
              File/Transcripts/Exhibits - Party (008)
6/7/2024      OFT - Order for Temporary Removal of Court                        6/24/2024
              File/Transcripts/Exhibits - Party (005)
6/7/2024      RRF - Release Receipt For Official Court                          6/25/2024
              Files/Transcripts/Exhibits - Party (008)
6/7/2024      MTR - Motion for Temporary Removal Of Court                       6/25/2024
              File/Transcripts/Exhibit - Party (005)
6/7/2024      RRF - Release Receipt For Official Court                          6/25/2024
              Files/Transcripts/Exhibits - Party (005)
6/7/2024      MTR - Motion for Temporary Removal Of Court                       6/25/2024
              File/Transcripts/Exhibit - Party (008)
6/6/2024      MTR - Motion for Temporary Removal Of Court                       6/11/2024
              File/Transcripts/Exhibit - Party (013)
NOTE:         STATUTES
6/6/2024      RRF - Release Receipt For Official Court                          6/11/2024
              Files/Transcripts/Exhibits - Party (013)
NOTE:         STATUTES
6/6/2024      OFT - Order for Temporary Removal of Court                        6/11/2024
              File/Transcripts/Exhibits - Party (013)
NOTE:         STATUTES
6/6/2024      ROO – Release Order Own Recognizance - Party (004)                6/6/2024
NOTE:         Release Order
6/6/2024      OFT - Order for Temporary Removal of Court                        6/14/2024
              File/Transcripts/Exhibits - Party (009)
6/6/2024      RTR - Return Receipt For Official Court                           6/14/2024
              Files/Transcripts/Exhibits - Party (013)
NOTE:         Return receipt for the temporary removal of official transcripts pursuant to Maricopa County, local rule 2.8 9(e)
6/6/2024      RTR - Return Receipt For Official Court                           6/14/2024
              Files/Transcripts/Exhibits - Party (002)
6/6/2024      RRF - Release Receipt For Official Court                          6/14/2024
              Files/Transcripts/Exhibits - Party (009)
6/6/2024      MTR - Motion for Temporary Removal Of Court                       6/12/2024
              File/Transcripts/Exhibit - Party (009)
6/5/2024      RTR - Return Receipt For Official Court                           6/14/2024
              Files/Transcripts/Exhibits - Party (007)
6/5/2024      NOT - Notice - Party (015)                                        6/10/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
6/5/2024      NOT - Notice - Party (017)                                        6/10/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
6/5/2024      NOT - Notice - Party (014)                                        6/10/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
6/5/2024      NOT - Notice - Party (018)                                        6/10/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
6/5/2024      NOT - Notice - Party (010)                                        6/10/2024
NOTE:         INVOCATION OF FIFTH AND SIXTH AMENDMENT RIGHTS
6/5/2024      NOT - Notice - Party (006)                                        6/10/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
6/5/2024      NOT - Notice - Party (004)                                        6/10/2024
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NOTE:             PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
6/5/2024          NAR - Notice Of Appearance - Party (010)      6/7/2024
NOTE:             NOTICE OF APPEARANCE
6/4/2024          MTR - Motion for Temporary Removal Of Court   6/12/2024
                  File/Transcripts/Exhibit - Party (013)
6/4/2024          MTR - Motion for Temporary Removal Of Court   6/12/2024
                  File/Transcripts/Exhibit - Party (007)
6/4/2024          MTR - Motion for Temporary Removal Of Court   6/12/2024
                  File/Transcripts/Exhibit - Party (002)
6/4/2024          RRF - Release Receipt For Official Court      6/12/2024
                  Files/Transcripts/Exhibits - Party (013)
6/4/2024          RRF - Release Receipt For Official Court      6/12/2024
                  Files/Transcripts/Exhibits - Party (002)
6/4/2024          RRF - Release Receipt For Official Court      6/13/2024
                  Files/Transcripts/Exhibits - Party (007)
6/4/2024          ORD - Order - Party (013)                      6/13/2024
NOTE:
AUTHORIZING AND DIRECTING THE CLERK OF THE SUPERIOR COURT TO SURRENDER THE FOLLOWING INTO THE TEMPORARY
CUSTODY OF THE MOVANT
6/4/2024           OFT - Order for Temporary Removal of Court    6/13/2024
                   File/Transcripts/Exhibits - Party (007)
6/4/2024           OFT - Order for Temporary Removal of Court    6/13/2024
                   File/Transcripts/Exhibits - Party (002)
6/3/2024           021 - ME: Nunc Pro Tunc Order - Party (013)   6/3/2024
5/31/2024          MTR - Motion for Temporary Removal Of Court   6/5/2024
                   File/Transcripts/Exhibit - Party (016)
NOTE:
MOTION FOR TEMPORARY REMOVAL OF OFFICIAL COURT FILES, TRANSCRIPTS OR EXHIBITS (M.C. Local Rule 2.8-e)
5/30/2024          MTR - Motion for Temporary Removal Of Court   6/4/2024
                   File/Transcripts/Exhibit - Party (016)
NOTE:
MOTION FOR TEMPORARY REMOVAL OF OFFICIAL COURT FILES, TRANSCRIPTS OR EXHIBITS (M.C. Local Rule2.8-e)
5/30/2024          GJT – Grand Jury Transcript - Party (012)     5/31/2024
NOTE:              04/22/2024
5/30/2024          GJT – Grand Jury Transcript - Party (011)     5/31/2024
NOTE:              3/4/24
5/30/2024          GJT – Grand Jury Transcript - Party (012)     5/31/2024
NOTE:              04/09/2024
5/30/2024          GJT – Grand Jury Transcript - Party (011)     5/31/2024
NOTE:              1/29/24
5/30/2024          GJT – Grand Jury Transcript - Party (011)     5/31/2024
NOTE:              1/22/24
5/30/2024          GJT – Grand Jury Transcript - Party (011)     5/31/2024
NOTE:              4/9/24
5/30/2024          GJT – Grand Jury Transcript - Party (011)     5/31/2024
NOTE:              4/22/24
5/30/2024          GJT – Grand Jury Transcript - Party (012)     5/31/2024
NOTE:              01/22/2024
5/30/2024          GJT – Grand Jury Transcript - Party (012)     5/31/2024
NOTE:              01/29/2024
5/30/2024          GJT – Grand Jury Transcript - Party (012)     5/31/2024
NOTE:              03/04/2024
5/30/2024          GJT – Grand Jury Transcript - Party (013)     5/31/2024
NOTE:              04/22/2024
5/30/2024          GJT – Grand Jury Transcript - Party (013)     5/31/2024
NOTE:              04/09/2024
5/30/2024          GJT – Grand Jury Transcript - Party (013)     5/31/2024
NOTE:              01/22/2024
5/30/2024          GJT – Grand Jury Transcript - Party (013)     5/31/2024
NOTE:              01/29/2024
5/30/2024          GJT – Grand Jury Transcript - Party (013)     5/31/2024
NOTE:              03/04/22024
5/30/2024          GJT – Grand Jury Transcript - Party (008)     5/31/2024
NOTE:              4/9/24
5/30/2024          GJT – Grand Jury Transcript - Party (008)     5/31/2024
NOTE:              4/22/24
5/30/2024          GJT – Grand Jury Transcript - Party (008)     5/31/2024
NOTE:              3/4/24
5/30/2024          GJT – Grand Jury Transcript - Party (008)     5/31/2024
NOTE:              1/29/24
5/30/2024          GJT – Grand Jury Transcript - Party (008)     5/31/2024
NOTE:              1/22/24
5/30/2024          GJT – Grand Jury Transcript - Party (003)     5/31/2024
NOTE:              1/29/24
5/30/2024          GJT – Grand Jury Transcript - Party (003)     5/31/2024
NOTE:              1/22/24
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5/30/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/09/2024
5/30/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         01/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         01/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/04/2024
5/30/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/09/2024
5/30/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
5/30/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         01/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         03/04/2024
5/30/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         04/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         03/04/2024
5/30/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         04/09/2024
5/30/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         01/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         01/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
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NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         04/09/2024
5/30/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         4/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         01/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         01/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         1/9//2024
5/30/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         1/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         03/04/2024
5/30/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         1/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         3/4/2024
5/30/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         April 22, 2024
5/30/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         4/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         4/9/2024
5/30/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         1/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         1/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         3/4/2024
5/30/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/19/2024
5/30/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/22/2024
5/30/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
5/30/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         01/29/2024
5/30/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         4/9/24
5/30/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         4/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         3/4/24
5/30/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         1/29/24
5/30/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         1/22/24
5/30/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         03/04/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         2/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         4/8/2024
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         3/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         3/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         3/26/2024
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5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         4/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         4/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         4/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         1/16/24 Afternoon Session
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         2/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         2/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         1/16/24 Afternoon Session
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         2/5/2024
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         1/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         1/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (002)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         03/29/2024
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         1/16/24 Afternoon Session
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         1/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         01/16/2024
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5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         1/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         2/5/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         2/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         3/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         3/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         3/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         4/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         4/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (009)   5/31/2024
NOTE:         4/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (018)   5/31/2024
NOTE:         03/26/22024
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         4/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         5/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (001)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         04/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
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NOTE:         2/26/24 Morning session
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         1/16/24 Morning session
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         2/26/24 Morning session
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         2/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         1/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         1/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
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NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         2/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         2/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         1/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
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NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         1/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         2/26/24 Morning Session
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (008)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         01/16//2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         01/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         02/05/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         02/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         03/11/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         03/18/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         03/26/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         04/08/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         04/15/2024
5/29/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         3/11/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         2/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         4/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         4/15/24
5/29/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         04/16/2024
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         4/8/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         3/26/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         3/18/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         2/26/24 Morning session
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         2/5/24
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         1/16/24 Afternoon session
5/29/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         1/16/24
5/29/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         1/16/24
5/28/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         03/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
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NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         03/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (012)   5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (011)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (013)   5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (010)   5/31/2024
NOTE:         2/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (003)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (017)   5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (004)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         03/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (005)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (016)   5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (006)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
5/28/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (015)   5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (007)   5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (014)   5/31/2024
NOTE:         03/19/2024
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5/28/2024     GJT – Grand Jury Transcript - Party (014)      5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (008)      5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (008)      5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (014)      5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (008)      5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (008)      5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (014)      5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (001)      5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (001)      5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (001)      5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (001)      5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (009)      5/31/2024
NOTE:         3/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (009)      5/31/2024
NOTE:         4/1/2024
5/28/2024     GJT – Grand Jury Transcript - Party (018)      5/31/2024
NOTE:         03/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (002)      5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (009)      5/31/2024
NOTE:         3/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (009)      5/31/2024
NOTE:         2/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (002)      5/31/2024
NOTE:         2/20/24
5/28/2024     GJT – Grand Jury Transcript - Party (002)      5/31/2024
NOTE:         3/25/24
5/28/2024     GJT – Grand Jury Transcript - Party (018)      5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (002)      5/31/2024
NOTE:         3/19/24
5/28/2024     GJT – Grand Jury Transcript - Party (018)      5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (018)      5/31/2024
NOTE:         04/01/2024
5/28/2024     GJT – Grand Jury Transcript - Party (010)      5/31/2024
NOTE:         4/1/2024
5/28/2024     GJT – Grand Jury Transcript - Party (017)      5/31/2024
NOTE:         03/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (017)      5/31/2024
NOTE:         03/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (017)      5/31/2024
NOTE:         02/20/2024
5/28/2024     GJT – Grand Jury Transcript - Party (010)      5/31/2024
NOTE:         3/25/2024
5/28/2024     GJT – Grand Jury Transcript - Party (010)      5/31/2024
NOTE:         3/19/2024
5/28/2024     GJT – Grand Jury Transcript - Party (003)      5/31/2024
NOTE:         4/1/24
5/28/2024     GJT – Grand Jury Transcript - Party (003)      5/31/2024
NOTE:         3/25/24
5/24/2024     021 - ME: Nunc Pro Tunc Order - Party (002)    5/24/2024
5/24/2024     023 - ME: Order Entered By Court - Party (002) 5/24/2024
5/23/2024     ORD - Order - Party (013)                      5/31/2024
NOTE:         GRANTING THE DEFENDANTS EXPEDITED MOTION TO MODIFY CONDITIONS OF RELEASE
5/22/2024     NOT - Notice - Party (002)                     5/24/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
5/22/2024     NOT - Notice - Party (008)                     5/24/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
5/22/2024     NOT - Notice - Party (010)                     5/24/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     NOT - Notice - Party (011)                     5/24/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     NOT - Notice - Party (012)                     5/24/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
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5/22/2024     NOT - Notice - Party (003)                          5/28/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
5/22/2024     NOT - Notice - Party (016)                          5/28/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     NOT - Notice - Party (005)                          5/28/2024
NOTE:         PLAINTIFF’S RULE 15.1 INITIAL DISCLOSURE
5/22/2024     NOT - Notice - Party (007)                          5/28/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     NOT - Notice - Party (009)                          5/28/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     NOT - Notice - Party (013)                          5/28/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/22/2024     RTR - Return Receipt For Official Court             5/30/2024
              Files/Transcripts/Exhibits - Party (013)
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (016)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (012)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (007)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (010)     5/22/2024
5/22/2024     173 - ME: Arraignment Reset - Party (017)           5/22/2024
5/22/2024     173 - ME: Arraignment Reset - Party (004)           5/22/2024
5/22/2024     173 - ME: Arraignment Reset - Party (015)           5/22/2024
5/22/2024     022 - ME: Order Signed - Party (009)                5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (002)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (003)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (005)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (008)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (009)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (011)     5/22/2024
5/22/2024     152 - ME: Not Guilty Plea Arraign - Party (001)     5/22/2024
5/21/2024     OTC – Order to Continue - Party (015)               5/29/2024
NOTE:         ARRAIGNMENT
5/21/2024     ORD - Order - Party (009)                           5/29/2024
NOTE:         GRANTING REQUEST TO APPEAR 5-21-24 AT 8:30 AM
5/21/2024     OTC – Order to Continue - Party (017)               5/29/2024
NOTE:         ORIGINAL ARRAIGNMENT AND TO APPEAR BY VIDEO FOR ARRAIGNMENT
5/21/2024     OFT - Order for Temporary Removal of Court          5/24/2024
              File/Transcripts/Exhibits - Party (013)
5/21/2024     MTR - Motion for Temporary Removal Of Court         5/24/2024
              File/Transcripts/Exhibit - Party (013)
5/21/2024     MTR - Motion for Temporary Removal Of Court         5/23/2024
              File/Transcripts/Exhibit - Party (013)
5/21/2024     RRF - Release Receipt For Official Court            5/23/2024
              Files/Transcripts/Exhibits - Party (013)
5/21/2024     ROO – Release Order Own Recognizance - Party (001)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (011)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (005)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (003)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (010)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (008)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (002)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (016)  5/21/2024
NOTE:         Release Order
5/21/2024     ROO – Release Order Own Recognizance - Party (007)  5/21/2024
NOTE:         Release Order
5/21/2024     ROB – Release Order Secured Appearance Bond - Party 5/21/2024
              (012)
NOTE:         Release Order
5/21/2024     NAR - Notice Of Appearance - Party (007)            5/22/2024
NOTE:         Notice of Appearance
5/21/2024     NOF - Notice Of Filing - Party (001)                5/22/2024
NOTE:         Plaintiffs Rule 15.1 Initial Disclosure
5/21/2024     OFT - Order for Temporary Removal of Court          5/31/2024
              File/Transcripts/Exhibits - Party (013)
5/20/2024     MTR - Motion for Temporary Removal Of Court         5/23/2024
              File/Transcripts/Exhibit - Party (002)
5/20/2024     NAR - Notice Of Appearance - Party (015)            5/20/2024
NOTE:         Notice of Appearance
5/20/2024     MCO - Motion To Continue - Party (015)              5/20/2024
NOTE:         Motion to Continue Arraignment
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5/20/2024          RTR - Return Receipt For Official Court                        5/23/2024
                   Files/Transcripts/Exhibits - Party (002)
5/20/2024          RRF - Release Receipt For Official Court                       5/23/2024
                   Files/Transcripts/Exhibits - Party (002)
5/20/2024          OFT - Order for Temporary Removal of Court                     5/29/2024
                   File/Transcripts/Exhibits - Party (002)
5/20/2024          OFT - Order for Temporary Removal of Court                     5/22/2024
                   File/Transcripts/Exhibits - Party (002)
5/20/2024          MTR - Motion for Temporary Removal Of Court                    5/22/2024
                   File/Transcripts/Exhibit - Party (002)
5/20/2024          RRF - Release Receipt For Official Court                       5/22/2024
                   Files/Transcripts/Exhibits - Party (002)
5/20/2024          RTR - Return Receipt For Official Court                        5/22/2024
                   Files/Transcripts/Exhibits - Party (002)
5/20/2024          152 - ME: Not Guilty Plea Arraign - Party (013)                5/20/2024
5/20/2024          SAS - Summons & Affidavit Of Service - Party (012)             5/20/2024
5/17/2024          ROO – Release Order Own Recognizance - Party (013)             5/17/2024
NOTE:              Release Order
5/17/2024          MOT - Motion - Party (013)                                     5/20/2024
NOTE:              Unopposed Emergency Motion to Modify Release Conditions
5/17/2024          NAR - Notice Of Appearance - Party (017)                       5/20/2024
NOTE:              Notice of Appearance
5/17/2024          MCO - Motion To Continue - Party (017)                         5/20/2024
NOTE:              UNOPPOSED MOTION TO CONTINUE ORIGINAL ARRAIGNMENT AND TO APPEAR BY VIDEO FOR ARRAIGNMENT
5/17/2024          MOT - Motion - Party (009)                                     5/20/2024
NOTE:              Motion to Appear Telephonically
5/17/2024          MOT - Motion - Party (009)                                     5/20/2024
NOTE:              MOTION TO APPEAR TELEPHONICALLY AND/OR VIRTUALLY
5/17/2024          RES - Response - Party (003)                                   5/20/2024
NOTE:              STATE'S RESPONSE TO MEDIA CAMERA REQUEST SUBMISSION
5/17/2024          RES - Response - Party (016)                                   5/20/2024
NOTE:              STATES RESPONSE TO MEDIA CAMERA REQUEST SUBMISSION
5/17/2024          RES - Response - Party (018)                                   5/20/2024
NOTE:              STATES RESPONSE TO MEDIA CAMERA REQUEST SUBMISSION
5/17/2024          003 - ME: Hearing Reset - Party (014)                          5/17/2024
5/17/2024          003 - ME: Hearing Reset - Party (018)                          5/17/2024
5/17/2024          022 - ME: Order Signed - Party (002)                           5/17/2024
5/17/2024          022 - ME: Order Signed - Party (003)                           5/17/2024
5/17/2024          ROO – Release Order Own Recognizance - Party (013)             5/17/2024
NOTE:              Release Order
5/16/2024          GJT – Grand Jury Transcript - Party (001)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (002)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (003)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (004)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (005)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (006)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (007)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (008)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (009)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (010)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (011)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (013)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (014)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (015)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (016)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (017)                      5/16/2024
5/16/2024          GJT – Grand Jury Transcript - Party (018)                      5/16/2024
5/16/2024          NAR - Notice Of Appearance - Party (005)                       5/20/2024
NOTE:              Notice of Appearance, Entry of Not Guilty Plea, and request for Discovery
5/16/2024          GJT – Grand Jury Transcript - Party (012)                      5/20/2024
5/16/2024          ORD - Order - Party (003)                                      5/22/2024
NOTE:              ORDER TO APPEAR VIRTUALLY
5/16/2024          ORD - Order - Party (002)                                      5/22/2024
NOTE:              ORDER GRANTING UNOPPOSED MOTION TO APPEAR VIRTUALLY AT ARRAIGNMENT
5/16/2024          OTC – Order to Continue - Party (018)                          5/22/2024
5/16/2024          OTC – Order to Continue - Party (018)                          5/23/2024
5/16/2024          ORD - Order - Party (002)                                      5/23/2024
NOTE:              GRANTING UNOPPOSED MOTION TO APPPEAR VIRTUALLY AT ARRAIGNMENT
5/16/2024          ORD - Order - Party (003)                                      5/23/2024
NOTE:
THE ATTORNEY CAN APPEAR VIRTUALLY ON MAY 21,2024, AT 8:30AM ATTORNEY MUST LOG ON USING LINK PROVIDED IN AN EMAIL AT
THE DATE AND TIME NOTED ABOVE
5/16/2024          MTR - Motion for Temporary Removal Of Court      5/20/2024
                   File/Transcripts/Exhibit - Party (016)
NOTE:
MOTION FOR TEMPORARY REMOVAL OF OFFICIAL COURT FILES, TRANSCRIPTS OR EXHIBITS (M.C. Local Rule 2.8-e)
                 Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 35 of 303
5/15/2024            MTR - Motion for Temporary Removal Of Court           5/20/2024
                     File/Transcripts/Exhibit - Party (006)
NOTE:
MOTION FOR TEMPORARY REMOVAL OF OFFICIAL COURT FILES, TRANSCRIPTS OR EXHIBITS PURSUANT TO MARICOPA COUNTY LOCAL
RULE 2.8(e)
5/15/2024             NOT - Notice - Party (016)                                     5/20/2024
NOTE:                 NOTICE OF NO OBJECTION TO REQUEST FOR MEDIA AT ARRAIGNMENT
5/15/2024             MOT - Motion - Party (002)                                     5/20/2024
NOTE:                 Unopposed Motion to Appear Virtually at Arraignment
5/15/2024             RES - Response - Party (013)                                   5/20/2024
NOTE:                 States Response to Media Camera Request Submission
5/15/2024             NAR - Notice Of Appearance - Party (002)                       5/17/2024
NOTE:                 NOTICE OF APPEARANCE FOR DEFENDANT
5/15/2024             MCO - Motion To Continue - Party (004)                         5/17/2024
NOTE:                 MOTION TO CONTINUE ARRAIGNMENT
5/15/2024             NAR - Notice Of Appearance - Party (004)                       5/17/2024
NOTE:                 Notice of Appearance
5/15/2024             003 - ME: Hearing Reset - Party (006)                          5/15/2024
5/14/2024             OTC – Order to Continue - Party (006)                          5/15/2024
NOTE:                 INITIAL APPEARANCE OF JAMES LAMON
5/14/2024             NAR - Notice Of Appearance - Party (008)                       5/16/2024
NOTE:                 Notice of Appearance
5/13/2024             MCO - Motion To Continue - Party (018)                         5/15/2024
NOTE:
Unopposed Motion to Continue Original Arraignment Hearing -and- Motion for Virtual Appearance at the Original Arraignment Hearing
5/13/2024             NAR - Notice Of Appearance - Party (018)                       5/15/2024
NOTE:                 Notice of Appearance of Counsel
5/13/2024             MOT - Motion - Party (003)                                     5/15/2024
NOTE:                 MOTION TO APPEAR VIRTUALLY FOR THE HEARING ON 5/21/24
5/10/2024             SFC - Stipulation For Continuance - Party (006)                5/14/2024
NOTE:                 STIPULATION TO CONTINUE INITIAL APPEARANCE AND ARRAIGNMENT OF JAMES LAMON
5/9/2024              MCO - Motion To Continue - Party (014)                         5/13/2024
NOTE:                 MOTION TO CONTINUE ARRAIGNMENT SET FOR MAY 21, 2024
5/9/2024              NAR - Notice Of Appearance - Party (003)                       5/14/2024
NOTE:                 Notice of appearance
5/9/2024              GJT – Grand Jury Transcript - Party (017)                      5/31/2024
NOTE:                 03/18/2024
5/8/2024              NAR - Notice Of Appearance - Party (016)                       5/10/2024
NOTE:                 NOTICE OF APPEARANCE OF COUNSEL
5/8/2024              MOT - Motion - Party (016)                                     5/10/2024
NOTE:                 MOTION FOR LEAVE TO COMPLETE PHOTO AND FINGERPRINT PROCESSING
5/8/2024              NAR - Notice Of Appearance - Party (014)                       5/13/2024
NOTE:                 NOTICE OF APPEARANCE OF COUNSEL
5/7/2024              NAR - Notice Of Appearance - Party (001)                       5/9/2024
NOTE:                 NOTICE OF APPEARANCE
5/7/2024              NAR - Notice Of Appearance - Party (009)                       5/9/2024
NOTE:                 Notice of Appearance
5/7/2024              NAR - Notice Of Appearance - Party (011)                       5/10/2024
NOTE:                 NOTICE OF APPEARANCE
5/6/2024              SAS - Summons & Affidavit Of Service - Party (018)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (016)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (017)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (011)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (005)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (013)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (014)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (015)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (001)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (002)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (003)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (004)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (006)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (007)             5/6/2024
5/6/2024              600 - ME: GJ True Bill/Summons Issued - Party (008)            5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (009)             5/6/2024
5/6/2024              SAS - Summons & Affidavit Of Service - Party (010)             5/6/2024
5/6/2024              NAR - Notice Of Appearance - Party (013)                       5/9/2024
NOTE:                 Notice of Appearance for Defendant John Eastman
5/3/2024              GJT – Grand Jury Transcript - Party (006)                      5/31/2024
NOTE:                 3/4/24
5/2/2024              GJT – Grand Jury Transcript - Party (005)                      5/31/2024
NOTE:                 1/16/24 Afternoon session
4/23/2024             IND - Indictment - Party (012)                                 5/20/2024
4/23/2024             600 - ME: GJ True Bill/Summons Issued - Party (012)            5/20/2024
4/23/2024             CID - Court Information Sheet - Party (012)                    5/20/2024
4/23/2024             IND - Indictment - Party (010)                                 5/6/2024
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4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (010)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (010)           5/6/2024
4/23/2024         IND - Indictment - Party (009)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (009)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (009)           5/6/2024
4/23/2024         IND - Indictment - Party (008)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (008)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (008)           5/6/2024
4/23/2024         IND - Indictment - Party (007)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (007)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (007)           5/6/2024
4/23/2024         IND - Indictment - Party (006)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (006)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (006)           5/6/2024
4/23/2024         IND - Indictment - Party (004)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (004)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (004)           5/6/2024
4/23/2024         IND - Indictment - Party (003)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (003)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (003)           5/6/2024
4/23/2024         IND - Indictment - Party (001)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (001)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (001)           5/6/2024
4/23/2024         IND - Indictment - Party (002)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (002)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (002)           5/6/2024
4/23/2024         IND - Indictment - Party (015)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (015)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (015)           5/6/2024
4/23/2024         IND - Indictment - Party (014)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (014)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (014)           5/6/2024
4/23/2024         CID - Court Information Sheet - Party (013)           5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (013)   5/6/2024
4/23/2024         IND - Indictment - Party (013)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (005)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (005)           5/6/2024
4/23/2024         IND - Indictment - Party (011)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (011)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (011)           5/6/2024
4/23/2024         IND - Indictment - Party (017)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (017)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (017)           5/6/2024
4/23/2024         IND - Indictment - Party (016)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (016)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (016)           5/6/2024
4/23/2024         IND - Indictment - Party (018)                        5/6/2024
4/23/2024         600 - ME: GJ True Bill/Summons Issued - Party (018)   5/6/2024
4/23/2024         CID - Court Information Sheet - Party (018)           5/6/2024
4/23/2024         IND - Indictment - Party (005)                        5/6/2024


Case Calendar
Date              Time                   Event
5/17/2024         9:00                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         8:30                   Original Arraignment Hearing
5/21/2024         9:00                   Original Arraignment Hearing
5/21/2024         9:00                   Original Arraignment Hearing
6/6/2024          9:00                   Original Arraignment Hearing
6/7/2024          9:00                   Original Arraignment Hearing
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6/7/2024      9:00           Original Arraignment Hearing
6/18/2024     9:00           Original Arraignment Hearing
6/18/2024     9:00           Original Arraignment Hearing
6/18/2024     9:00           Original Arraignment Hearing
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
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7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/2/2024      8:15           Initial Pretrial Conference
7/30/2024     8:15           Initial Pretrial Conference
7/30/2024     8:15           Initial Pretrial Conference
7/30/2024     8:15           Initial Pretrial Conference
7/30/2024     8:15           Initial Pretrial Conference
7/30/2024     8:15           Initial Pretrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Status Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Status Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
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8/1/2024      8:31           Comprehensive PreTrial Conference
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8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/1/2024      8:31           Comprehensive PreTrial Conference
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
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8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
8/26/2024     9:00           Complex / Capital Case
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8/26/2024      9:00           Complex / Capital Case
8/26/2024      9:00           Complex / Capital Case
8/26/2024      9:00           Complex / Capital Case
8/26/2024      9:00           Complex / Capital Case
8/28/2024      8:31           Comprehensive PreTrial Conference
8/28/2024      8:31           Comprehensive PreTrial Conference
8/28/2024      8:31           Comprehensive PreTrial Conference
9/3/2024       8:31           Comprehensive PreTrial Conference
9/3/2024       8:31           Comprehensive PreTrial Conference
10/1/2024      8:30           Pre-Trial Conference
10/3/2024      8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
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10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     8:30           Pre-Trial Conference
10/10/2024     9:00           Trial
10/17/2024     8:30           Pre-Trial Conference
10/17/2024     8:30           Pre-Trial Conference
10/17/2024     8:30           Pre-Trial Conference
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/17/2024     9:00           Trial
10/31/2024     9:00           Trial
10/31/2024     9:00           Trial
10/31/2024     9:00           Trial
11/6/2024      8:30           Pre-Trial Conference
11/6/2024      8:30           Pre-Trial Conference
11/6/2024      8:30           Pre-Trial Conference
11/14/2024     9:00           Trial
11/14/2024     9:00           Trial
11/14/2024     9:00           Trial
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                         Indictment
                  State v. Mark Meadows
              Case No. CR2024-006850-018




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                   Service Documents
            Summons of the State Grand Jury
                   and Affidavit of Service




                              Attachment 3
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 99 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 100 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 101 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 102 of 303




                 Notice of Appearance




                               Attachment 4
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 103 of 303
                                                               Clerk of the Superior Court
                                                                       *** Electronically Filed ***
                                                                            I. Osuna, Deputy
                                                                         5/13/2024 9:14:41 AM
                                                                           Filing ID 17806458

 1   Anne Chapman (#025965)
     anne@mscclaw.com
 2   Lee Stein (#012368)
 3   lee@mscclaw.com
     MITCHELL | STEIN | CAREY | CHAPMAN, PC
 4   2600 North Central Avenue, Suite 1000
 5   Phoenix, AZ 85004
     Telephone: (602) 358-0292
 6   Facsimile: (602) 358-0291
 7
     George J. Terwilliger III*
 8   P.O. Box 74
     Delaplane VA 20144
 9
     George@gjt3law.com
10   *Pro Hac Vice motion pending
11
     Attorneys for Defendant Mark Meadows
12
                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
14                       IN AND FOR THE COUNTY OF MARICOPA
15
     STATE OF ARIZONA,                         ) Case No. CR2024-006850-018
16                                             )
                  Plaintiff,                   )
17
                                               ) NOTICE OF APPEARANCE OF
18   v.                                        ) COUNSEL
                                               )
19
     MARK MEADOWS (18),                        )
20                                             )
                  Defendant.                   )
21
                                               )
22
23         The law firm of Mitchell Stein Carey Chapman, PC and attorney George J.
24   Terwilliger III, enter their notice of appearance on behalf of Defendant Mark Meadows in
25   the above-captioned matter.
26   //
27   //
28   //
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 104 of 303




 1                 RESPECTFULLY SUBMITTED this 13th day of May, 2024.
 2                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
 3
                                         By:   /s/ Anne Chapman
 4
                                               Anne Chapman
 5                                             Lee Stein
                                               George J. Terwilliger III*
 6
                                               * Pro Hac Vice motion pending
 7                                             Attorneys for Defendant Mark Meadows
 8
 9   ORIGINAL of the foregoing E-FILED
     this 13th day of May, 2024 with:
10
11   Clerk of the Superior Court
     Maricopa County Superior Court
12
13   COPY of the foregoing
     DELIVERED VIA E-FILING
14   this 13th day of May, 2024 to:
15
     Nicholas Klingerman, Esq.
16   Assistant Attorney General
17   Arizona Attorney General's Office
     2005 N. Central Avenue
18   Phoenix, AZ 85004
19
     Attorneys for Plaintiff
20
21    /s/ B. Wolcott
22
23
24
25
26
27
28



                                                -2-
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 105 of 303




    Remainder of the State Court Record
(excluding the Grand Jury Transcripts which are to be
                        filed under seal)




                               Attachment 5
    Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 106 of 303


                         State of Arizona v. Mark Meadows
                                CR2024-006850-018


                     Maricopa County Superior Court Record

 DATE                                   DOCUMENT
4/23/2024   Indictment
4/23/2024   Venue Set
5/6/2024    Summons & Affidavit of Service
5/13/2024   Notice of Appearance of Counsel
            Unopposed Motion to Continue and Unopposed Motion for Virtual
5/13/2024
            Appearance at Original Arraignment Hearing
5/16/2024   Grand Jury Transcript
5/16/2024   Minute Entry Re Arraignment
5/16/2024   Order to Continue
5/17/2024   State's Response to Media Camera Request Submission
5/28/2024   Grand Jury Transcript
5/28/2024   Grand Jury Transcript
5/28/2024   Grand Jury Transcript
5/28/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
5/29/2024   Grand Jury Transcript
    Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 107 of 303



5/29/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
5/30/2024   Grand Jury Transcript
6/5/2024    Plaintiff's Rule 15.1 Initial Disclosure
6/7/2024    Final Release Order
6/10/2024   Motion to Associate Counsel Pro Hac Vice (Part 1 of 2)
6/10/2024   Motion to Associate Counsel Pro Hac Vice (Part 2 of 2)
6/10/2024   Not Guilty Arraignment
            Motion for Temporary Removal of official Court Transcripts Pursuant to
6/11/2024
            Maricopa County, Local Rule 2.8(e)
            Order for Temporary Removal of Official Court Transcripts Pursuant to
6/11/2024
            Maricopa, Local Rule2.8(e)
            Temporary Release Receipt of Official court Transcripts Pursuant to
6/11/2024
            Maricopa County Local Rule 2.8(e)
            Return Receipt for Temporary Removal of Official Court Transcripts
6/13/2024
            Pursuant to Maricopa County, Local Rule2.8(e)
6/14/2024   State's Motion for Protective Order
            Defendant Mark Meadows's Motion for Temporary Removal of Grand
6/17/2024
            Jury Exhibits Pursuant to Local Rule 2.8(e) (Part 1 of 3)
            Defendant Mark Meadows's Motion for Temporary Removal of Grand
6/17/2024
            Jury Exhibits Pursuant to Local Rule 2.8(e) (Part 2 of 3)
            Defendant Mark Meadows's Motion for Temporary Removal of Grand
6/17/2024
            Jury Exhibits Pursuant to Local Rule 2.8(e) (Part 3 of 3)
            Defendant Mark Meadows's Response in Opposition to State's Motion for
6/18/2024
            Protective Order
            Defendant Mark Meadows' Motion to Extend Tile to File Motion to
6/20/2024
            Dismiss or Quash under A.R.S 12-751 (Anti-SLAPP Statue)
    Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 108 of 303


            Defendant Mark Meadows' Unopposed Motion to Extend Time to File
6/20/2024
            Motion to Challenge Grandy Jury and Grand Jury Proceedings
6/20/2024   Notice of Disclosure Pursuant to Rule15.2 for Defendant Mark Meadows
6/21/2024   Plaintiff's Rule 15.1 First Supplemental Disclosure
            [Lamon's] Motion to Dismiss Indictment and Award Attorney’s Fees and
6/24/2024
            Costs Pursuant to ARS 12-751
6/24/2024   State's Motion for Protective Order
6/26/2024   Reply to Meadows's Response to State's Motion for Protective Order
            [State's] Notice of Intent to File Response to Defendants' Motions to
6/28/2024   Dismiss Pursuant to ARS 12-751 and Request for Omnibus Briefing
            Schedule
7/1/2024    Order Re Motion to Extend Time
            Defendant Mark Meadows's Motion for Permission to file Sur-reply in
7/2/2024
            Opposition of State's Motion for Protective Order
            Defendant Mark Meadows's Proposed Sur-reply in Opposition of State's
7/2/2024
            Motion for Protective Order
7/2/2024    Minute Entry re Motion to Extend Time
7/2/2024    Plaintiff's Rule 15.1 Second Supplemental Disclosure
7/3/2024    Nunc Pro Tunc Order
            Preliminary Case Management Order Protective Order and Extension of
7/8/2024
            Time Travel Authorization
7/9/2024    CofA1 order Declining Special Action Jurisdiction
7/12/2024   Plaintiff's Rule 15.1 SGJ Disclosure
7/15/2024   Minute Entry Granting Motion to File Sur-Reply
            Amended Notice of Intent to File Response to Defendant's Motion to
7/16/2024   Dismiss Pursuant to ARS 12-751 and Amended Request to Set Omnibus
            Briefing Schedule
7/17/2024   Briefing Schedule for Motions to Dismiss
7/18/2024   Initial Pretrial Conference Statement
            Order RE Briefing and Argument on Ant-SLAPP Motion to Dismiss
7/19/2024
            Order Permitting Virtual Appearances
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 109 of 303


             Defendant Mark Meadows' Notice of Joinder in Lamon's Motion to
7/22/2024
             Dismiss Indictment Pursuant to ARS 12-751
7/22/2024    Order Associating Counsel Pro Hac Vice
07/23/2024   2024-07-23 Plaintiff's Rule 15.1 Third Supplemental Disclosure
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 118 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 119 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 120 of 303
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 123 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 124 of 303
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 156 of 303
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 169 of 303


                                                       Clerk of the Superior Court
                                                                  FILED
                                                         J. Hockerson, Deputy
                                                          05/06/2024 11:36 AM
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 170 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 171 of 303
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 172 of 303
                                                               Clerk of the Superior Court
                                                                       *** Electronically Filed ***
                                                                            I. Osuna, Deputy
                                                                         5/13/2024 9:14:41 AM
                                                                           Filing ID 17806458

 1   Anne Chapman (#025965)
     anne@mscclaw.com
 2   Lee Stein (#012368)
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     MITCHELL | STEIN | CAREY | CHAPMAN, PC
 4   2600 North Central Avenue, Suite 1000
 5   Phoenix, AZ 85004
     Telephone: (602) 358-0292
 6   Facsimile: (602) 358-0291
 7
     George J. Terwilliger III*
 8   P.O. Box 74
     Delaplane VA 20144
 9
     George@gjt3law.com
10   *Pro Hac Vice motion pending
11
     Attorneys for Defendant Mark Meadows
12
                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
14                       IN AND FOR THE COUNTY OF MARICOPA
15
     STATE OF ARIZONA,                         ) Case No. CR2024-006850-018
16                                             )
                  Plaintiff,                   )
17
                                               ) NOTICE OF APPEARANCE OF
18   v.                                        ) COUNSEL
                                               )
19
     MARK MEADOWS (18),                        )
20                                             )
                  Defendant.                   )
21
                                               )
22
23         The law firm of Mitchell Stein Carey Chapman, PC and attorney George J.
24   Terwilliger III, enter their notice of appearance on behalf of Defendant Mark Meadows in
25   the above-captioned matter.
26   //
27   //
28   //
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 173 of 303




 1                 RESPECTFULLY SUBMITTED this 13th day of May, 2024.
 2                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
 3
                                         By:   /s/ Anne Chapman
 4
                                               Anne Chapman
 5                                             Lee Stein
                                               George J. Terwilliger III*
 6
                                               * Pro Hac Vice motion pending
 7                                             Attorneys for Defendant Mark Meadows
 8
 9   ORIGINAL of the foregoing E-FILED
     this 13th day of May, 2024 with:
10
11   Clerk of the Superior Court
     Maricopa County Superior Court
12
13   COPY of the foregoing
     DELIVERED VIA E-FILING
14   this 13th day of May, 2024 to:
15
     Nicholas Klingerman, Esq.
16   Assistant Attorney General
17   Arizona Attorney General's Office
     2005 N. Central Avenue
18   Phoenix, AZ 85004
19
     Attorneys for Plaintiff
20
21    /s/ B. Wolcott
22
23
24
25
26
27
28



                                                -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 174 of 303
                                                               Clerk of the Superior Court
                                                                          *** Electronically Filed ***
                                                                                T. Ford, Deputy
                                                                            5/13/2024 9:17:44 AM
                                                                              Filing ID 17806565

 1   Anne Chapman (#025965)
     anne@mscclaw.com
 2   Lee Stein (#012368)
 3   lee@mscclaw.com
     MITCHELL | STEIN | CAREY | CHAPMAN, PC
 4   2600 North Central Avenue, Suite 1000
 5   Phoenix, AZ 85004
     Telephone: (602) 358-0292
 6   Facsimile: (602) 358-0291
 7   George J. Terwilliger III*
     P.O. Box 74
 8
     Delaplane VA 20144
 9   George@gjt3law.com
     *Pro Hac Vice motion pending
10
11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                           )   No. CR2024-006850-018
                                                 )
16                 Plaintiff,                    )   UNOPPOSED MOTION TO
17                                               )   CONTINUE
     v.                                          )   -AND-
18                                               )   UNOPPOSED MOTION FOR
19   MARK MEADOWS (18),                          )   VIRTUAL APPEARANCE AT
                                                 )   ORIGINAL ARRAIGNMENT
20                 Defendant.                    )   HEARING
21                                               )
                                                 )      EXPEDITED CONSIDERATION
22                                               )             REQUESTED
                                                 )
23
                                                 )   [HONORABLE SHELLIE SMITH]
24                                               )
25          Defendant Mark Meadows, through undersigned counsel, respectfully requests the
26   Court continue the Original Arraignment Hearing (“OAH”), currently scheduled for May
27   21, 2024 at 8:30 a.m. for a period of two (2) weeks and further respectfully requests the
28   Court permit him to appear virtually at the OAH.
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 175 of 303




 1          Defendant resides in Sunset, South Carolina. The Defense anticipates the OAH
 2   will be procedural only and that nothing substantive requiring Defendant’s in-person
 3   participation will occur. To avoid the expense of traveling from South Carolina to
 4   Arizona for a procedural hearing, Defendant respectfully requests he be permitted to
 5   appear virtually for the OAH.
 6          Prior to filing this Motion, undersigned conferred with Nicholas Klingerman, the
 7   Assistant Attorney General assigned to this matter. Mr. Klingerman indicated the State
 8   does not oppose this Motion.
 9          Defendant has provided the fingerprints to the Maricopa County Sheriff’s Office
10   as required.
11          For the foregoing reasons, Defendant requests to continue the OAH, currently
12   scheduled for May 21, 2024 at 8:30 a.m. for a period of two (2) weeks and further
13   requests the Court permit him to appear virtually at the OAH. A form of order is attached
14   for the Court’s convenience.
15                  RESPECTFULLY SUBMITTED this 13th day of May, 2024.
16                                     MITCHELL | STEIN | CAREY | CHAPMAN, PC
17
                                       By:    /s/ Anne Chapman
18
                                              Anne Chapman
19                                            Lee Stein
                                              George J. Terwilliger III*
20
                                              * Pro Hac Vice motion pending
21                                            Attorneys for Defendant Mark Meadows
22
     ORIGINAL of the foregoing E-FILED
23   this 13th day of May, 2024 with:
24
     Clerk of the Superior Court
25   Maricopa County Superior Court
26
     //
27
     //
28
                                                -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 176 of 303




 1   COPY of the foregoing
     DELIVERED VIA E-FILING
 2   this 13th day of May, 2024 to:
 3
     Nicholas Klingerman, Esq.
 4   Assistant Attorney General
 5   Arizona Attorney General's Office
     2005 N. Central Avenue
 6   Phoenix, AZ 85004
 7
     Attorneys for Plaintiff
 8
      /s/ B. Wolcott
 9
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 177 of 303
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 178 of 303
                                                                           Clerk of the Superior Court
                                                                           *** Electronically Filed ***
                                                                              05/17/2024 8:00 AM
                             SUPERIOR COURT OF ARIZONA
                                 MARICOPA COUNTY

 CR2024-006850-018 DT                                                  05/16/2024


                                                             CLERK OF THE COURT
 HONORABLE SHELLIE SMITH                                           A. Chee
                                                                   Deputy



 STATE OF ARIZONA                                   NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                 ANNE M CHAPMAN

                                                    COMM. SHELLIE SMITH




                                     MINUTE ENTRY



      The Court is in receipt of the Defendant’s Motion to Continue.

       IT IS ORDERED granting the motion, vacating the Not Guilty Arraignment on
5/21/2024 and resetting the same to 6/7/2024 at 9:00 a.m. before this division.




 Docket Code 003                          Form R000A                                         Page 1
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 179 of 303
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 180 of 303
                                                                Clerk of the Superior Court
                                                                         *** Electronically Filed ***
                                                                            M. Flanagan, Deputy
                                                                           5/17/2024 3:30:00 PM
                                                                             Filing ID 17842762




KRISTIN K. MAYES
Attorney General
Firm Bar No. 14000

NICHOLAS KLINGERMAN
State Bar No. 028231
Assistant Attorney General
2005 North Central Avenue
Phoenix, Arizona 85004-1592
Telephone 602-542-3881
crmfraud@azag.gov

Attorneys for Plaintiff

                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                      IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,
                                              Case No: CR2024-006850-018
                Plaintiff,
                                              STATE’S RESPONSE TO MEDIA
v.                                            CAMERA REQUEST SUBMISSION

MARK MEADOWS (018),

                Defendant.                    (Assigned to the Honorable Shellie Smith)


       The State has no objection to the media request on May 13, 2024 for the arraignment of

June 7, 2024.

       RESPECTFULLY SUBMITTED this 17th day of May, 2024.

                                               KRISTIN K. MAYES
                                               ATTORNEY GENERAL

                                               /s/ Nicholas Klingerman
                                               NICHOLAS KLINGERMAN
                                               Assistant Attorney General
            Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 181 of 303




ORIGINAL of the foregoing e-filed
this 17th day of May, 2024, with the:

Clerk of the Superior Court
175 W. Madison Street
Phoenix, Arizona 85003

The Honorable Shellie Smith
Maricopa County Superior Court
175 W. Madison Street
Phoenix, Arizona 85003

COPY of the foregoing mailed
this 17th day of May, 2024, to:

Anne Chapman
MITCHELL STEIN CAREY CHAPMAN, PC
2600 North Central Avenue, Suite 1000
Phoenix, Arizona 85004
Attorney for Mark Meadows




/s/ Gilda Martinez
#12087706




                                               2
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 182 of 303
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Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 185 of 303
Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 186 of 303
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                                                                Clerk of the Superior Court
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              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                              Cause No.    CR2024006850-004
                                                            CR2024006850-006
                                                            CR2024006850-014
                                                            CR2024006850-015
              Plaintiff,                                    CR2024006850-017
v.                                                          CR2024006850-018

JACOB HOFFMAN (004),
                                               PLAINTIFF’S RULE 15.1
JAMES LAMON (006),                             INITIAL DISCLOSURE
BORIS EPSHTEYN (014),
JENNA ELLIS (015),
MICHAEL ROMAN (017),                           Hon. Daniel G. Martin
MARK MEADOWS (018),

              Defendants.


       The State, pursuant to Arizona Rule of Criminal Procedure 15.1, makes

available the following material and information. All of the materials subject to

disclosure, presently in the State’s possession, are referenced in this document.

Additional disclosure, if any, will be made available as received, in accordance with

Rule 15.6. Any such disclosure may be used in the State’s case-in-chief or as rebuttal




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evidence in this case.

       1.     Witnesses, Rule 15.1(b(1))

       State witnesses include, but are not limited to the following persons:

       AGO Special Investigations Section

       1. SA Jeff Ignowski #475

       2. SA William Knuth #460

       3. SSA John Hillman #469

       4. Chief James Cope #453

       5. Analyst Brooke Brown

       Witnesses

       6. Bill Gates, Former Member–Maricopa County Board of Supervisors

       7. Jack Sellers, Former Member–Maricopa County Board of Supervisors

       8. Steve Chucri, Former Member–Maricopa County Board of Supervisors

       9. Clint Hickman, Former Member–Maricopa County Board of Supervisors

       10. Gregory Jacob, Former Counsel to Vice President Mike Pence

       11. Russell Bowers, Former Speaker of the House–AZ House of Representatives

       12. Justin Clark, Former Trump Presidential Campaign Official

       13. Brian Seitchik, Former Trump Presidential Campaign Official

       14. William Stepien, Former Trump Presidential Campaign Manager

       15. Cassidy Hutchinson, Former Aide to Mark Meadows

       16. Doug Ducey, Former Governor of Arizona

       17. Jamie Fleet, Former Advisor to Former Speaker Nancy Pelosi



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       18. Vincent Leach, Former Arizona State Senator

       19. Kenneth Chesebro, Former Attorney for Trump Presidential Campaign

       If a witness becomes unavailable pursuant to Arizona Rule of Evidence 804(a),

the State will attempt to introduce prior statements under Arizona Rules of Evidence

803(24) and 804(b)(5).

       Interviews of any of the above referenced witnesses, or other witnesses identified

through the State’s disclosure, will be arranged and attended by the State. The State

requests the defense notify the State, in writing, as to which witnesses will be

interviewed, dates and times available for the interviews, and how long the interviews

are expected to take.

       2.     Defendants’ Statements, Rule 15.1(b)(2)

       The State will use any such statements whether recorded, summarized,

transcribed, referenced or alluded to in the disclosure materials.

       3.     Law Enforcement Reports, Rule 15.1(b)(3)

       The State will use any such reports or supplements, as well as information and

materials referenced therein.

       4.     Experts, Rule 15.1(b)(4)

       Examination notes made by experts listed shall be provided after written request.

Additional names and materials will be disclosed as they become known. The State may

use any such expert or materials.

       Additionally, any law enforcement officer listed in the disclosure materials may

be called as an expert witness with respect to an area within the officer’s training and



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experience, including expert knowledge of any area pertinent to this case.

       5.     Papers, Documents, Photographs and Tangible Objects, Rule 15.1(b)(5)

       All items in Rule 15.1(b)(5) are listed below with other disclosure. Upon request,

the State will arrange and attend the inspection of materials referenced in the disclosure

materials. The State requests the defense notify the State, in writing, as to which items

they request to inspect, dates and times available for the inspection, and how long the

inspection is expected to take.

       6.     Prior Felony Convictions of Defendants, Rule 15.1(b)(6)

       The State will provide documentation of any prior felony convictions for these

defendants, alleged in a prior convictions allegation, that the State intends to use as

evidence at the trial or sentencing phase of the case. The State reserves the right to

supplement this information should additional material become available to the State.

       7.     Prior Acts, Rule 15.1(b)(7)

       The State’s intent to use prior or other acts may change depending on disclosed

defenses and on the material revealed during interviews of defense witnesses, and/or if

new facts arise in the discovery process. If either of these scenarios should occur, the

State will notify defense counsel and file a formal 404(b) Notice and Motion.

       8.     Brady Material, Rule 15.1(b)(8)

       To the extent material covered by Rule 15.1(b)(7) exists, it is included within the

State’s disclosure. The State does not possess additional Brady impeachment material.

       The State will disclose within thirty days prior to trial in Superior Court any prior

felony convictions and/or misdemeanor convictions involving dishonesty, which are



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contained within ACJIS records available to the Arizona Attorney General’s Office, of

non-law enforcement witnesses disclosed by the State.

      9.     Electronic Surveillance, Rule 15.1(b)(9)

      Defendants were not subject to electronic surveillance.

      10.    Search Warrant, Rule 15.1(b)(10)

      Search warrants were executed in this case.

      11.    Informant, Rule 15.1(b)(11)

      There is no informant involved in this case whose existence or identity the State

is required to disclose pursuant to Rule 15.4(b)(2) of the Arizona Rules of Criminal

Procedure.

      12.    Disclosure Materials

      The following disclosure materials have been uploaded to the AG Fileshare

server and are available for downloading:

EXHIBITS:                                                          BATES No.:

REPORTS
SIS Supplement 1 (Steve Chucri)                                    000001-000007
SIS Supplement 2 (Wilinchik and Bartness ATT Subpoenas)            000008-000009
SIS Supplement 3 (Jack Sellers)                                    000010-000015
SIS Supplement 4 (Bill Gates)                                      000016-000021
SIS Supplement 5 (Clint Hickman)                                   000022-000027
SIS Supplement 6 (Safsten Email Subpoena)                          000028-000030
SIS Supplement 7 (Safsten Cell Phone SW)                           000031-000033
SIS Supplement 8 (Hoffman TMobile Results)                         000034-000036
SIS Supplement 9 (Maricopa County Subpoena Production)             000037-000039
SIS Supplement 10 (SWs)                                            000040-000042
SIS Supplement 13 (Christine Ferreiria Subpoena)                   000049-000051
SIS Supplement 14 (Aaron Green Subpoena)                           000052-000054
SIS Supplement 15 (Josh Offenhartz Subpoena)                       000055-000057
SIS Supplement 16 (Kelli and Michael Ward Subpoena)                000058-000059



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SIS Supplement 17 (Wilinchik & Bartness ATT Subpoenas)           000060-000063
SIS Supplement 18 (Kelli Ward Subpoena)                          000064-000066
SIS Supplement 19 (Kelly Townsend Subpoena)                      000067-000069
SIS Supplement 20 (Jason Miller Subpoena)                        000070-000072
SIS Supplement 21 (Lee Miller)                                   000073-000076
SIS Supplement 22 (Kelly Townsend)                               000077-000081
SIS Supplement 26 (Rusty Bowers Interview 2)                     000082-000085
SIS Supplement 27 (Greg Jacob)                                   000086-000088
SIS Supplement 28 (Judge Snow Documents)                         000089-000092

ANTHONY KERN
1-26-21 Kern tweet about refusal to hand over records about J6   002750
12-7-23 Kern tweet refuses to cooperate with AZ GOP              002751
12-17-20 Kern retweet about no president elect                   002752
12-17-20 Kern tweet calling Ducey and Bowers to decertify        002753
12-17-20 Kern tweet calling on Ducey and Bowers                  002754
12-23-20 Kern tweet about filing a amicus brief                  002755
12-30-20 Kern tweet saying he will be in DC on J6                002756
12-31-20 Kern tweet calling for Pence to decertify               002757
A Kern Exhibits                                                  002758-002792
Anthoney Kern Interview 12 15 2020                               002793
Anthony Kern Speaks at Stop the Steal in DC on Jan 6th           002794
AZ Republic front page abt Kern at US capitol on J6              002795
CNN Speaks to Anthony Kern 2023                                  002796
Dec 14 Joint Resolution to accept fake electors                  002797
Epoch Times Kern 3 4 2021                                        002798
Hoffman email to Pence staffer                                   002799
Kern 2024 election ad for US Congress                            002800
Kern epoch 2                                                     002801
Kern Epoch times for 3 4 2024                                    002802
Kern FB                                                          002803
Kern on CNN                                                      002804
Kern pic at the J6 capitol steps                                 002805
Kern speech                                                      002806
Kern won’t answer 3 4 2024                                       002807
Kern would not answer reporters ask about DOJ                    002808
Twitter person asking Kern if pic is him at J6                   002809

BILL GATES
Bill Gates Interview 10-9-23                                     002810

BRIAN SEITCHIK
Dec 11th Email from Josh Findlay to Chesebro etc.                002811-002812



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2020-12-11 - 1850 - Chesebro sends Findlay and Roamn Draft AZ…002813-002814
2020-12-12 - 1047 - Reg Pol Director Brian Seitchik forwards…    002815-002817
2020-12-12 - 1830 - Chesebro e-mail to AZ noting Guiliani says … 002818-002863
2020-12-12 - 1942 - E-mail from Kelli Ward on AZ status          002864-002866
2020-12-12 - 1759 - AZ update from Thomas Lane                   002867-002869
Snip from Ronna McDaniel's J6 Depo                               002870

CASSIDY HUTCHINSON
Cassidy Hutchinson Int 1 3-26-24                                002871
Cassidy Hutchinson Int 2 3-26-24                                002872

CHRISTINA BOBB
Azmirror.com                                                    002873
Christina Bobb NYT story                                        002874-002877
Christina Bobb to Mike Roman on 12-14 Plan (written 12-12-20)   002878-002879
Youtube.com                                                     002880

CLINT HICKMAN
Clint Hickman Interview 10-9-26                                 002881
Clint Hickman WAPO Interview                                    002882
Giuliani VM to Hickman circa 11-30-20                           002883

GREG JACOB
Greg Jacob depo                                                 002884-003111
Greg Jacob Interview 2-23-24                                    003112
Greg-jacob-jan-5-memo                                           003113-003115
J6h-greg-jacob-testimony-61622                                  003116-003118

GREG SAFSTEN
2020-12-10 1219 KC WRITES GREG SAFSTEN OF AZ IN RES… 003119-003119
2020-12-10 1221 KC reports e-mail to Safsten bounced back        003120-003121
2020-12-10 1221 Safsten e-mail bounces back                      003122-003124
2020-12-10 1234 E-MAIL FROM EPSHTYN TO CHESEBRO… 003125-003127
2020-12-10 1434 CHESEBRO E-MAIL TO AZ WITH DRAFT… 003128-03129
2020-12-10 1459 Chesebro copies Wilenchik on e-mail…             003131
Azmirror.com                                                     003132
Blake Masters has hired two ‘fake electors’ as campaign staffers 003133-003137
                   st
Elector Exhibits (1 12pgs)                                       003138-003149
Greg Safsten                                                     003150

JACK SELLERS
Jack Sellers Interview 10-9-23                                  003151
Jack Sellers Text Messages Dec 24 into 2021                     003152-003164



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JACK WILENCHIK
ATT Results for Jun 2023 to Jan 2024 Calls
   ATT Records Key                                               003165-003181
   Declaration 3855883                                           003182
   Original 20240206-173041306                                   003183
   ReportAU 3855883 Cellphone                                    003184-003402
   ReportAU 3855883                                              003403-003557
   ReportCT 3855883 Subscriber Info                              003558
   ReportCT 3855883                                              003559-003560
   ReportICDR 3855883 International Calls                        003561
   ReportICDR 3855883                                            003562
   ReportLandline 3855883 Wireline                               003563-003582
   ReportLandline 3855883                                        003583-003597
   Wilenchik Cellphone Log June 2023 to Jan 2024                 003598-003816
Jack Wilenchik calls to Czech Republic                           003917
Jack Wilenchik Wired line Phone Logs June 20 2023 to Jan 24 2…   003918-003937

JAKE HOFFMAN
AZ Central Story Rep. Jack Hoffman asked Pence to not accept …   003938-003941
Elector Exhibits (1st 12pgs)                                     003942-003953
Hoffman dodges                                                   003954
Hoffman email to Pence staffer                                   003955
Hoffman letter to Pence 1                                        003956
Hoffman letter to Pence 2                                        003957
Hoffman on twitter                                               003958
Hoffman Story                                                    003959
Hoffman video for SGJ 3-4-2024                                   003960
MSNBC Alex Wagner story about Jake Hoffman Letter                003961
Stonewalldemsaz.org                                              003962
CNN.com                                                          003963
Defendyourvotingrights.org                                       003964
USAtoday.com                                                     003965

JAMES TROUPIS
3.1.24 Redacted Troupis Settlement_Redacted                      003966-003969
Redacted Troupis Privilege Log                                   003970-004236
Troupis 008910 – Troupis 010348                                  004237-005675

JASON MILLER
Jason Miller Interview 3-22-24                                   005676

JENNA ELLIS



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Ellis Initial Bar complaint (May ’22)                           005677-005719
Ellis 2nd Bar Complaint in Colorado (late-’23)                  005720-005853
Ellis New Bar Complaint (Jan 24)                                005854-005870
Jenna Ellis w Rudy Giuliani                                     005871

JIM LAMON
Jim Lamon 01 30 2022 Interview Contingency                      005872
Jim Lamon explains elector role in news story contingency       005873
Jim Lamon Interview 3-26-24                                     005874
Jim Lamon news story Jan 31 2022 Contingency                    005875
Lamon Exhibits                                                  005876-005900
Lamon’s Lame Excuse                                             005901
Roselawgroupreporter.com                                        005902
Azcentral.com                                                   005903

JOHN EASTMAN
Eastman asks to be on pardon list                               005904
Testimony at Cali Bar hearing                                   005905-006108

JOSH FINDLAY
Findlay J6 Depo                                                 006109-006198
Josh Findlay (12-10-20) email on electors                       006199-006200

JUDGE MICHAEL LUTTIG
Luttig statement to J6 Committee                                006201-006206

JUSTIN CLARK
2020-12-10 - 1727 - JUSTIN CLARK SAYS GO GET EM KEN               006207
2020-12-10 - 1853 - KEY THREAD WITH MORGAN ON RAT… 006208-006217
2020-12-11 - 1301 - Chesebro e-mail to Troupis with draft press … 006218-006219
Justin Clark Interview 3-26-24                                    006220
Boris telling everyone press release on hold until mayor and DJT… 006220-006224

KELLI WARD
2-20CV02321_DocketEntry_12-02-2020_1                            006225-006277
5-24 Ward v. Jackson                                            006278-006296
25-30 Legal Cover Email Chain                                   006297-006301
AA Ward Phone Log-Call Data                                     006302-006415
AA Ward Phone Log-Sheet1                                        006416-006417
AA Ward Phone Log-Sheet2                                        006418-006422
CNN Article                                                     006423-006432
Gohmert & K Ward etc. vs Pence (Dec. ’20)                       006433-006460
K Ward 12 1 2020                                                006461



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Kelli Ward & electors – GOP tweets                   006462
Kelli Ward & fake electors pray                      006463
Kelli Ward (States United) summary of J6 materials   006464-006486
Kelli Ward book Justified                            006487-006581
Kelli Ward Communications with Electors              006582-006605
Kelli Ward Facebook 12 15 2020                       006606
Kelli Ward J6 Depo                                   006607-006674
Kelli Ward texts with Supervisor Steve Chucri        006675-006691
Kelli Wards call log 2023 to 2024-Sheet1             006692-006742
Kelli Wards call log 2023 to 2024-Sheet2             006743-006802
Kelli Wards call log 2023 to 2024-Sheet3             006803
Kelli Wards call log 2023 to 2024-Sheet4             006804
KelliWard & electors—GOP tweet                       006805
KW 2020-12-12 -1047 - REG POL DIRECTOR SEITCHIK FWS… 006806-006808
KW AZGOP State of the Race Update_12.28.2020         006809
KW AZGOP tweet 12.28.2020                            006810
KW Calls with Meadows                                006811
KW Docs                                              006812-006814
KW Oh Yes                                            006815
P5 Treasonous Email                                  006816
P31-36                                               006817-006821
Page 3-4 Wilenchik                                   006822-006823
So does doctor Kelli Ward                            006824
Ward & Meadows Communication Timeline                006825-006829
Ward Facebook about losing lawsuit                   006830

KELLY TOWNSEND
Kelly Townsend Call #1                                       006831
Kelly Townsend Call #2                                       006832
Kelly Townsend Phone Log 2023-2024                           006833-007549

KEN CHESEBRO
Chesebro Discovery (provided by him)
  2020-09-23 - Atlantic - The Election the Could Break America 007550-007583
  2020-10-30 - Politico - Trump and Biden Temas Prep for Elec… 007584-007592
  2020-11-04 - Rick Perry text                                 007593-007596
  2020-11-05 - Donald Trump Jr text                            007597-007601
  2020-11-05 - Mark Levin tweet                                007602
  2020-11-06 - Biggs-Meadows texts                             007603-007605
  2020-11-12 - Newt Gingrich text                              007606-007608
  2020-11-17 - 0900 - setting up conference call               007609
  2020-11-17 - 0905 - setting up conference call               007610
  2020-11-17 - 2200 - draft of Chesebro memo on real deadline  007611-007615



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  2020-11-17 - 2320 - cover e-mail to Nov 17 draft memo         007616
  2020-11-18 - CHESEBRO MEMO ON JAN 6 AS REAL D… 007617-007623
  2020-11-23 - CHESEBRO E-MAIL ON STATE NOT HAV… 007624-007626
  2020-11-25 - 1545 - E-MAIL FROM TROUPIS TO CLARK… 007627
  2020-11-25 - 1607 - Clark response to Troupis thanking him    007628
  2020-12-06 - 0115 - CHESEBRO MEMO ON USING ALT E… 007629-007634
  2020-12-07 - 0115 - cover e-mail to Troupis with memo         007635
  2020-12-07 - 1906 - followup to Troupis on circulating memo 007636-007637
  2020-12-07 - 2052 - E-MAIL CHAIN STARTING WITH TRO…007638-007644
  2020-12-08 - 0115 - E-MAIL TO TROUPIS ON ELECTORS… 007645-007647
  2020-12-08 - 0958 - e-mails with Troupis on TX case           007648-007651
  2020-12-08 - 1227 - e-mail thread on Texas case               007652-007653
  2020-12-08 - 1310 - FOLLOWUP WITH TROUPIS                     007654-007657
  2020-12-08 - 1843 - E-MAILS WITH TROUPIS ON CALL… 007658-007659
  2020-12-08 - 1914 - E-MAILS WITH JACK WILENCIK                007660-007662
  2020-12-08 - 2129 - E-MAIL TO TROUPIS ON NEED TO F… 007663
  2020-12-09 - 0003 - e-mail to Bock                            007664-007667
  2020-12-09 - 1427 - Chesebro corr with WI GOP                 007668-007669
  2020-12-09 - 1427 - more e-mails with WI GOP                  007670-007671
  2020-12-09 - 2236 - Chesebro e-mail to Austin Browning        007672
Chesebro to states Dec 13, 2020
  Chesebro coordinates w AZ                                     007673-007674
  Chesebro coordinates w GA                                     007675-007677
  Chesebro coordinates w NM                                     007678
  Chesebro coordinates w NV 1                                   007679-007680
  Chesebro coordinates w NV 2                                   007681-007683
  Chesebro coordinates w NV 3                                   007684-007686
  Chesebro coordinates w PA                                     007687-007688
  Chesebro coordinates w WI                                     007689-007691
March 8 Discovery – 282 curated PDFs
  2020-09-23 - Atlantic - The Election that Could Break America 007692-007725
  2020-10-30 - Politico - Trump, Biden Teams Prep for Election… 007726-007734
  2020-11-04 - Rick Perry text                                  007735-007738
  2020-11-05 - Donald Trump Jr text                             007739-007743
  2020-11-05 - Mark Levin tweet                                 007744
  2020-11-06 - Biggs-Meadows texts                              007745-007747
  2020-11-12 - Newt Gingrich text                               007748-007750
  2020-11-17 - 0900 - setting up conference call                007751
  2020-11-17 - 0905 - setting up conference call                007752
  2020-11-17 - 2200 - draft of Chesebro memo on real deadline   007753-007757
  2020-11-17 - 2320 - cover e-mail to Nov 17 draft memo         007758
  2020-11-18 - CHESEBRO MEMO ON JAN 6 AS REAL DE… 007759-007765
  2020-11-23 - CHESEBRO E-MAIL ON STATE LEGISLAT… 007766-007768



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2020-11-25 - 1545 - E-MAIL FROM TROUPIS TO CLARK… 007769
2020-11-25 - 1607 - Clark response to Troupis thanking him      007770
2020-12-06 - 0115 - CHESEBRO MEMO RE ALTERNATE… 007771-007776
2020-12-07 - 0115 - cover e-mail to Troupis with memo           007777
2020-12-07 - 1906 - followup to Troupis on circulating memo 007778-007779
2020-12-07 - 2052 - E-MAIL CHAIN STARTING WITH TR… 007780-007786
2020-12-08 - 0115 - E-MAIL TO TROUPIS ON ELECTORS… 007787-007789
2020-12-08 - 0958 - e-mails with Troupis on TX case             007790-007793
2020-12-08 - 1227 - e-mail thread on Texas case                 007794-007795
2020-12-08 - 1310 - FOLLOWUP WITH TROUPIS                       007796-007799
2020-12-08 - 1843 - E-MAILS WITH TROUPIS ON CALL… 007800-007801
2020-12-08 - 1914 - E-MAILS WITH WILENCIK                       007802-007804
2020-12-08 - 2129 - E-MAIL TO TROUPIS TO FLIP STATES 007805
2020-12-09 - 0003 - e-mail to Bock that electors will vote Dec… 007806-007809
2020-12-09 - 1427 - Chesebro correspondence with Wisconsin… 007810-007811
2020-12-09 - 1427 - more e-mails with WI GOP                    007812-007813
2020-12-09 - 2236 - Chesebro e-mail to Browning                 007814
2020-12-09 - 2236 - e-mails on links to 2016 certificates       007815
2020-12-09 - 2240 - Chesebro cover e-mail for Dec 9             007816
2020-12-09 - 2240 - CHESEBRO LOGISTICS MEMO                     007817-007822
2020-12-10 - 1007 - TROUPIS E-MAIL TO CHESEBRO                  007823
2020-12-10 - 1040 - FIRST CONTACT WITH CLARK                    007824-007825
2020-12-10 - 1101 - e-mail from Epshtyn                         007826-007828
2020-12-10 - 1212 - Justin Clark explains what RPD means        007829-007831
2020-12-10 - 1219 - KC WRITES GREG SAFSTEN                      007832-007833
2020-12-10 - 1221 - e-mail to Safsten bounced back              007834-007835
2020-12-10 - 1221 - Safsten e-mail bounces back                 007836-007838
2020-12-10 - 1234 - E-MAIL FROM EPSHTYN TO CHESE… 007839-007841
2020-12-10 - 1311 - e-mails with Wilenchik                      007842-007846
2020-12-10 - 1329 - CHESEBRO TO REVIEW DRAFT CERT 007847-007851
2020-12-10 - 1416 - CHESEBRO EDITS ON WI PAPERS                 007852-007858
2020-12-10 - 1419 - CHESEBRO EMAIL TO CLARK                     007859-007862
2020-12-10 - 1422 - Chesebro asks Nick Trainer for more info 007863
2020-12-10 - 1434 - CHESEBRO E-MAIL TO AZ                       007864-007865
2020-12-10 - 1436 - Epshtyn assignment to coordinate with st… 007866-007868
2020-12-10 - 1458 - Chesebro answers Troupis questions          007869-007875
2020-12-10 - 1459 - copies Wilenchik on e-mail to Safsten       007876
2020-12-10 - 1503 - Chesebro additional e-mail to Troupis       007877-007880
2020-12-10 - 1530 - Chesebro e-mail to Trainor                  007881-007882
2020-12-10 - 1655 - e-mail agreeing on pre-Dec 14 press release 007883-007884
2020-12-10 - 1700 - elector info from Nick Trainor              007885
2020-12-10 - 1701 - E-MAILS WI GOP WITH REVISED FO… 007886-007888
2020-12-10 - 1706 - Chesebro e-mail to Nick Trainor             007889



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2020-12-10 - 1712 - Chesebro writes Trainor                      007890
2020-12-10 - 1719 - Jason Miller asks about identifying people 007891
2020-12-10 - 1724 - KEN ANSWERS MILLER                           007892-007893
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FINAL 9 DAYS!                                                022924-022926
Fwd Dues Letter                                              022927
FWD If everyone gave 3                                       022928-022930
Fwd New Name                                                 022931
Fwd Re Join us for our LD12 Christmas Party and Service Proj…022932-022936
Fwd Safsten Family Christmas 2020 Invite                     022937-022938
Fwd Thank you from the LD12 Republican’s for your hard work 022939-022941
Gary just messaged you                                       022942
Gilbert Chamber News and Upcoming Events                     022943-022947
Grand Lodge of Virginia Announcement Light A Publication     022948-022950
GREG 1 new job for government affairs in Arizona, United Sta…022951-022952
GREG 1 new job for government relations’ in Arizona, United… 022953-022954
GREG 1 new job for government relations’ in Arizona, United… 022955-022956
GREG 2 new jobs for government affairs’ in Arizona, United… 022957-022958
GREG 2 new jobs for government relations’ in Arizona, Unite… 022959-022960
GREG 3 new jobs for government affairs’ in Arizona, United… 022961-022962
GREG 5 new jobs for government relations’ in Arizona, Unite… 022963-022964
GREG 6 new jobs for government affairs’ in Arizona, United… 022965-022966
Greg Management opportunity                                  022967
Greg Senior role candidature 170                             022968
Greg Senior role candidature                                 022969
GREG, it’s been a while                                      022970-022971
Greg, log into Facebook with one click                       022972
GREG, our COVID Support Team Needs Your Help                 022973-022974
GREG, you have new privacy suggestions                       022975-022977
Gregory, finish the year strong with a new Ford              022978-022986
Gregory, get the Ford for your lifestyle                     022987-022993
Happy Birthday                                               022994
Happy Holidays from the Mesa Chamber of Commerce             022995-022997
HAPPY HOLIDAYS                                               022998
Happy New Year!!!                                            022999
Happy Thanksgiving!                                          023000-023001
HAPPY THANKSGIVING                                           023002
Hassell Family 2020 Christmas Video Card                     023003
HKF-JB December Tresleboard                                  023004
HKF-JB Trestleboard January 2021                             023005
Homeless Veterans Need Your Help 157                         023006-023007
Homeless Veterans Need Your Help! 134                        023008-023009
Homeless Veterans Need Your Help! 62                         023010-023011
Homeless Veterans Need Your Help! 85                         023012-023013
Homeless Veterans Need Your Help!                            023014-023015



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House Debates National Defense Authorization Act            023016-023022
How was your support from Instacart                         023023-023025
Ian just messaged you                                       023026
Important policy changes for Google Account storage         023027-023029
In Reference to Your 2019 Ford                              023030
In Reference to Your 2019 Ford_110                          023031
In Regards to Your 2019 Ford                                023032
January Vehicle Update for your 2019 FORD MUSTANG B… 023033-023034
John just messaged you                                      023035
Judicial Watch TV Weekend Playback                          023036-023041
LAST 2 DAYS!                                                023042-023044
LAST CHANCE Gregory, a brand new Ford is a gift we all… 023045-023051
LAST CHANCE Gregory, finish the year strong with a new Ford 023052-023060
Lodge Ritual School                                         023061
LRS Installation Practice Tomorrow 630pm!!                  023062
LRS This Tuesday 630pm                                      023063
LRS tonight! HKF JB lodge room                              023064
LRS tonight!!!                                              023065
Lucas just messaged you                                     023066
Mesa Chamber Monday Message Aging & Healthcare, Non-P… 023067-023077
Mesa Chamber Monday Message Join us for Lunch, Prepare… 023078-023089
Mesa Chamber Monday Message Prepare for the Holidays…       023090-023102
Mesa Chamber Monday Message RSVP for #MesaTakeout M… 023103-023114
Mesa Chamber Monday Message RSVP for Non Profit Vitali… 023115-023128
Mesa Chamber Monday Message The Giving Catalog is here… 023129-023142
Mesa Chamber Monday Message Use our calendar to reengag… 023143-023151
New Name                                                    023152
NO LRS TONIGHT                                              023153
Open early Our cozy holiday guide is here.                  023154-023158
PC Appointment Form Please Return ASAP                      023159-023162
Re Christina’s Resume 2020                                  023163
Re follow up                                                023164
Robert just messaged you                                    023165
Safsten Family Christmas 2020 Invited                       023166-023167
Safsten Family Info Spreadsheet                             023168
Security alert                                              023169
Share your resume with Indeed                               023170-023171
Stated Communication Closed Installation tomorrow.          023172
Stephen A. just messaged you 58                             023173
Stephen A. just messaged you                                023174
Tell us how we did                                          023175-023176
Thank you from the LD12 Republican’s for your hard work!    023177-023179
Thankful for our Customers Unlimited Meetings November 26th 023180-023183



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   Thanks for shopping with us! Here’s your order 9067315035… 023184-023187
   The Crux of Our Pre-Cyber Sale Choosing From Hundreds of… 023188-023193
   The one and only…                                              023194-023195
   TODAY IS THE LAST DAY!                                         023196-023198
   Trump Calendat                                                 023199-023202
   U.S. Pays Costa Rica to Hire More Female Cops as Police at H… 023203-023209
   Virtual Travel Talk Close to Home Destinations with GLOBU… 023210-023213
   We make it easy to follow the new Congress                     023214-023220
   Welcome to Apres Cybe After-Hour Deals                         023221-023222
   We’ve updates our Terms of Use                                 023223-023224
   William G. just messaged you                                   023225
   William G. wants to join your network                          023226
   Your Dropbox needs more space                                  023227
   Your Fry’s order is confirmed for December 6                   023228-023230
   Your Instacart order receipt                                   023231-023236
   Your order is ready for in-store pickup at Gilbert Gateway!... 023237-023240
   Your password has been updated successfully                    023241-023242
   Your Receipt #123933 from AZ Jolly Jumpers Party Rentals-… 023243-023244
Entire Gmail Return
   greg***@gmail.com.846745226756.AccessLogAc4bea530a             023245
   greg***@gmail.com.846745226756.AccessLogAcfb37605d             023246
   greg***@gmail.com.846745226756.AccessLogActivity...            023247
   greg***@gmail.com.846745226756.AccessLogActivity...            023248
   greg***@gmail.com.846745226756.Calendar.Ca0f77c79b             023249
   greg***@gmail.com.846745226756.Calendar.Calendars_...          023250
   greg***@gmail.com.846745226756.Calendar.Use799869c             023251
   greg***@gmail.com.846745226756.Calendar.UserSettings...        023252
   greg***@gmail.com.846745226756.Contacts.Co3fb005e8             023253
   greg***@gmail.com.846745226756.Contacts.Contacts_001           023254
   greg***@gmail.com.846745226756.Drive.Drive9f53aa37             023255
   greg***@gmail.com.846745226756.Drive.DriveFiles_001            023256
   greg***@gmail.com.846745226756.DriveAssoci0f0e3e76             023257
   greg***@gmail.com.846745226756.DriveAssociatedTarge...         023258
   greg***@gmail.com.846745226756.DriveMobile0690e9e3             023259
   greg***@gmail.com.846745226756.DriveMobileBackups....          023260
   greg***@gmail.com.846745226756.GoogleAccou2410113a             023261
   greg***@gmail.com.846745226756.GoogleAccount.Subsr...          023262
   greg***@gmail.com.846745226756.GoogleChat.3c4615f2             023263
   greg***@gmail.com.846745226756.GoogleChat.a94f814b             023264
   greg***@gmail.com.846745226756.GoogleChat.aaafd496             023265
   greg***@gmail.com.846745226756.GoogleChat.dc636db6             023266
   greg***@gmail.com.846745226756.GoogleChat.GroupInf...          023267
   greg***@gmail.com.846745226756.GoogleChat.GroupTa...           023268



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   greg***@gmail.com.846745226756.GoogleChat.Messages...    023269
   greg***@gmail.com.846745226756.GoogleChat.UserInfo...    023270
   greg***@gmail.com.846745226756.GooglePhoto72b6876c       023271
   greg***@gmail.com.846745226756.GooglePhoto385b24ee       023272
   greg***@gmail.com.846745226756.GooglePhoto8445ebdf       023273
   greg***@gmail.com.846745226756.GooglePhotos.PhotoR...    023274
   greg***@gmail.com.846745226756.GooglePhotos.PrintSu...   023275
   greg***@gmail.com.846745226756.Mail.Messag6ca2a674       023276
   greg***@gmail.com.846745226756.Mail.Messag2360d6c3       023277
   greg***@gmail.com.846745226756.Mail.Messagb28f9128       023278
   greg***@gmail.com.846745226756.Mail.MessageContent...    023279
   greg***@gmail.com.846745226756.Mail.MessageInformati     023280
   greg***@gmail.com.846745226756.Mail.Messagf3c1a599       023281
   greg***@gmail.com.846745226756.Tasks.TaskL0bae23b1       023282
   greg***@gmail.com.846745226756.Tasks.TaskList_001        023283
   msgFilterRules                                           023284
   Trash                                                    023285
   Trash.msf                                                023286
   Unsent Messages                                          023287
   Unsent Messages.msf                                      023288

JASON MILLER #2
Jason Miller text that need lawsuits to keep effort going   023289-023298

MARK MEADOWS #2
Mark Meadows FULL text log(1) PROD003                       023299-023433
Mark Meadows FULL text log(2) Orig Chat Metadata            023434-023512
Mark Meadows FULL text log(3) Sheet 1                       023513
Mark Meadows FULL text log(4) Sheet 2                       023514

BRIAN SEITCHIK #2
Brian Seitchik Interview 2-22-24                            023515

CASSIDY HUTCHINSON #2
Cassidy Hutchinson Interview 5-15-24                        023516

DOUG DUCEY
Doug Ducey Interview 2-21-24                                023517

JAKE HOFFMAN #2
2023 CRP Reimbursement Rate Schedule 022123                 023518
2023 Interpreting All T-Mobile Records 20230905             023519-023550
4677300 ARO                                                 023521-023553




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4677300_20231020_Certification                             023554
4677300_20231020_OBJ                                       023555
4809805132 Sprint sub 2023-037786                          023556-023557
FAQ - Data Retention Changes – 230501                      023558
SUB_Tibco_4809805132_13869440                              023559

JASON MILLER #2
Jason Miller Interview 3-22-24                             023560

MURRAY SNOW
02356AZ GOP Cov                                            023561-023563
Certified envelope from Judge Snow                         023564
Inside envelope from Judge Snow                            023565
Judge Snow's Cover for POTUS                               023566
Judge Snow's Cover for VP                                  023567
Judge Snow's Final Vote                                    023568-023572
Judge Snow's SOS Folder                                    023573
Letter from SOS to Judge Snow                              023574-023575

ROBERT SINNERS
Robert Sinners Interview 5-6-24                            023576

GREG SAFSTEN #3
Verizon 23485124 CDR Alternative Records
   AttachedFax_10-11-2023_17-01-37                       023576-023584
   Certification of records NJ conformed copy sesig      023585
   VISION.PR.254442.EAST.20231123Redacted DEC122020-… 023586-023599
   VISION.PR.254442.EAST.20231123RedactedNOV03-DEC1… 023600-023638
Verizon 23485124 Records
   ActDeact__MTN-4807109266_2020-11-03_to_2021-01-07.798 023639
   AttachedFax_10-11-2023_17-01-37                       023640-023647
   Certification of records NJ conformed copy sesig      023648
   DeviceId__MTN-4807109266_2020-11-03_to_2021-01-07.216 023649
   Features__4807109266_2020-11-03_to_2021-01-07.466     023650-023651
   OwnerEmail__4807109266_2020-11-03_to_2021-01-07.013   023652
   Payment_Codes                                         023653
   PaymentActivity__MTN-4807109266_2020-11-03_to_2021-… 023654
   PaymentHistory__MTN-4807109266_2020-11-03_to_2021-… 023655
   SSN__MTN-4807109266_2020-11-03_to_2021-01-07.152.x… 023656
   Subscriber__MTN-4807109266_2020-11-03_to_2021-01-07… 023657

DANIEL SCARPINATO
Daniel Scarpinato Interview 4-15-24                        023658




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ROBERT SINNERS #3
Robert Sinners J6 Interview 6-15-22                          023659-023714
Roman to Sinners etc emails 12-14-20                         023715-023716
Sinners to GA fake elector email                             023717

VICTORIA STEVENS
Victoria Stevens Interview 4-12-24                           023718

REPORTS #2
SIS Supplement 23 (Rusty Bowers Interview)                   023719-023726
SIS Supplement 24 (Victoria Stevens Interview)               023727-023729
SIS Supplement 25 (Evidence Item #1)                         023730-023731
SIS Supplement 29 (Wilenchik ATT Results)                    023732-023733
SIS Supplement 30 (Robert Sinners Interview)                 023734-023737
SIS Supplement 31 (Mark Meadows Subpoena)                    023738-023740
SIS Supplement 32 (Justin Clark Subpoena)                    023741-023743
SIS Supplement 33 (Thoughtspan Error)                        023744-023746
SIS Supplement 34 (Evidence Item #3)                         023747-023749
SIS Supplement 35 (Six Subpoenas)                            023750-023752
SIS Supplement 36 (SWs for X Accounts)                       023753-023755
SIS Supplement 37 (Josh Findlay Subpoena)                    023756-023758
SIS Supplement 38 (Cassidy Hutchinson Interview)             023759-023767
SIS Supplement 40 (Pellegrino Email Return)                  023768-023769
SIS Supplement 41 (Doug Ducey Interview)                     023770-023777
SIS Supplement 42 (Boris Epshteyn Subpoena)                  023778-023780
SIS Supplement 43 (John Eastman Subpoena)                    023781-023783
SIS Supplement 44 (Jenna Ellis Subpoena)                     023784-023786
SIS Supplement 45 (8 Electors Subpoenas)                     023787-023789
SIS Supplement 46 (Christina Bobb Subpoena)                  023790-023792
SIS Supplement 47 (Mark Meadows Subpoena)                    023793-023795
SIS Supplement 48 (Robert Sinners Interview)                 023796-023807
SIS Supplement 49 (William Stepien Interview)                023808-023812
SIS Supplement 50 (Daniel Scarpinato Interview)              023813-023816
SIS Supplement 51 (Vince Leach Interview)                    023817-023819
SIS Supplement 52 (Rudy Giuliani Subpoena)                   023820-023821
SIS Supplement 53 (Jake Hoffman Subpoena)                    023822-023823

      13.    State’s Request for Disclosure

      The State requests all disclosure required under Arizona Rule of Criminal

Procedure 15.2(a)(1)(A)(H) and (e)(7)(A)-(B).



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       14.      Continuing Disclosure

       The State will continue to disclose evidence and/or witnesses it plans to use at the

trial in this matter, as required pursuant to Rule 15.6.

       RESPECTFULLY SUBMITTED this 5th day of June, 2024.

                                           KRISTIN K. MAYES
                                           Attorney General


                                           /s/Nicholas Klingerman
                                           NICHOLAS KLINGERMAN
                                           Assistant Attorney General


Original of the foregoing e-filed this
5th day of June, 2024, via:

Maricopa County Superior Court
efilingonline.clerkofcourt.maricopa.gov

A copy of the foregoing document
emailed, with attachments made available
via the AG fileshare server, this 5th
day of June, 2024, to:

Timothy La Sota                                    Dennis Wilenchik
tim@timlasota.com                                  diw@wb-law.com
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Michael Bailey                                     Michael Melito
mbailey@tullybailey.com                            melito@melitolaw.com
Counsel for B. Epsthyn 014                         Counsel for J. Ellis 015

Kurt Altman                                        Anne Chapman
admin@altmanaz.com                                 anne@mscclaw.com
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PHX #12097176




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                          IN THE SUPERIOR COURT OF ARIZONA                 Clerk of the Superior Court
                                                                                                           *** Electronically Filed ***
                                             MARICOPA COUNTY                                                   COC Auto-Accept
                                                                                                              6/7/2024 9:11:00 AM
                                                 Final Release Order                                           Filing ID 17953123




State of Arizona                                                                               CaseNumber: CR2024-006850-018
                        6 Cnt 13-2002A FORGERY F4N                                1 Cnt 13-1003 CONSPIRACY F2N
                        1 Cnt 13-2310A FRAUDULENT SCHE F2N                        1 Cnt 13-2311 FRAUD SCHEME/PR F5N
        vs.
 Mark Meadows

It is hereby ordered that Mark Meadows shall be released as indicated and must comply with ALL release conditions.

                                                       NEXT HEARING (S)
Initial Pretrial Conference     July 30, 2024 at 08:15 AM at South Court Tower, 175 W. Madison Street, 6th Floor, Phoenix, AZ,
                                85003-2243 Courtroom: 6D Docket: CMC05

Comprehensive PreTrial          September 03, 2024 at 08:31 AM at South Court Tower, 175 W. Madison Street, 5th Floor, Phoenix,
Conference                      AZ, 85003-2243 Courtroom: 5C Docket: CRJ07

Pre-Trial Conference            October 17, 2024 at 08:30 AM at South Court Tower, 175 W. Madison Street, 5th Floor, Phoenix,
                                AZ, 85003-2243 Courtroom: 5C Docket: CRJ07

Trial                           October 31, 2024 at 09:00 AM at South Court Tower, 175 W. Madison Street, 5th Floor, Phoenix,
                                AZ, 85003-2243 Courtroom: 5B Docket: CPJ03



                                                          RELEASE TYPE
Bailable As a Matter of Right
    The defendant has been found to be bailable as a matter of right. IT IS HEREBY ORDERED that the defendant must comply
    with all release conditions and shall be released from custody in this Cause Number as follows:

     Own Recognizance
     The defendant is released without any condition of an undertaking relating to, or deposit of security, and promises to appear in
     Court as required.




         You must return to the police department that arrested you and have them 10-Print fingerprint you. If you are released from
         custody you must complete this before your next hearing. You must bring proof of your fingerprinting to your next hearing
         or your release may be revoked.

         You may travel outside of the State of Arizona to the State(s) of as needed. Because you have been permitted to travel
         outside of the State of Arizona, you must continue to provide the court with proof of the address and telephone numbers of
         where you can be reached.




Release Order                 Docket Code: ROO                                                                               Page 1 of 2
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                             IN THE SUPERIOR COURT OF ARIZONA
                                                        MARICOPA COUNTY
                                                           Final Release Order
                                                                                                                                Case#: CR2024-006850-018




                                                                  RELEASE CONDITIONS
   1. You are not to initiate contact with the arresting officers.
   2. You are not to initiate contact with the alleged victim or victims.
   3. You must continue to provide the court with proof of your local address.
   4. You must return to the police department that arrested you and have them 10-Print fingerprint you. If you are released from
      custody you must complete this before your next hearing. You must bring proof of your fingerprinting to your next hearing or
      your release may be revoked.
   5. You must continue to reside at your present local address.
   6. You may travel outside of the State of Arizona to the State(s) of as needed. Because you have been permitted to travel outside
      of the State of Arizona, you must continue to provide the court with proof of the address and telephone numbers of where you
      can be reached.

You must appear at all court proceedings in this case or your release conditions can be revoked, a warrant will be issued and proceedings may go forward in your
absence. You must maintain contact with your attorney. If convicted, you will be required to appear for Sentencing. If you fail to appear, you may lose your right to
a direct appeal. In addition, failure to appear at a future court proceeding may result in a waiver of any claim that you were not informed of a plea offer made in your
case by the State. a.You will appear to answer and submit to all further orders and processes of the court having jurisdiction of the case. b.You will refrain from
committing any criminal offenses. c.You will diligently prosecute any appeal. d.You will not leave the state without permission of the court. If you violate any
conditions of this release order, the court may order the bond and any security deposited in connection therewith forfeited to the State of Arizona. In addition, the
court may issue a warrant for your arrest upon learning of your violation of any conditions of your release. After a hearing, if the court finds that you have not
complied with the conditions of release, it may modify the conditions or revoke your release altogether.

If you are released on a felony charge, and the court finds the proof evident or the presumption great that you committed a felony during the period of release, the
court must revoke your release. You may also be subject to an additional criminal charge, and upon conviction you could be punished by imprisonment in addition
to the punishment which would otherwise be imposable for the crime committed during the period of release. Upon finding that you violated conditions of release,
the court may also find you in contempt of court and sentence you to a term of imprisonment, a fine, or both.

                                                    ACKNOWLEDGEMENT BY DEFENDANT
I have received a copy of this order. I understand the standard conditions, all other conditions and the consequences of violating this release order. I agree to
comply fully with each of the conditions imposed in this release order, and to promptly notify the court in the event I change my place of residence.


Date 6/7/2024 9:06 AM                                                       Address:

                                                                             City, State, Zip:


                                                                            Signature: Party Signature Not Collected
Shellie Smith                                                                              Mark Meadows
Judge / Commissioner                                                                       Defendant




Release Order                       Docket Code: ROO                                                                                                         Page 2 of 2
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                                                               Clerk of the Superior Court
                                                                         *** Electronically Filed ***
                                                                               T. Ford, Deputy
                                                                           6/10/2024 1:02:32 PM
                                                                             Filing ID 17964635

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     anne@mscclaw.com
 2   Lee Stein (#012368)
 3   lee@mscclaw.com
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 4   2600 North Central Avenue, Suite 1000
 5   Phoenix, AZ 85004
     Telephone: (602) 358-0292
 6   Facsimile: (602) 358-0291
 7
     George J. Terwilliger III*
 8   P.O. Box 74
     Delaplane VA 20144
 9
     George@gjt3law.com
10   *Pro Hac Vice motion pending
11
     Attorneys for Defendant Mark Meadows
12
                  IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
14                        IN AND FOR THE COUNTY OF MARICOPA
15
     STATE OF ARIZONA,                           ) Case No. CR2024-006850-018
16                                               )
                  Plaintiff,                     )
17
                                                 ) MOTION TO ASSOCIATE COUNSEL
18   v.                                          ) PRO HAC VICE
                                                 )
19
     MARK MEADOWS (18),                          )
20                                               )
                  Defendant.                     )
21
                                                 )
22
           Anne Chapman, pursuant to Rule 39 (b), Ariz. R. Sup. Ct., moves the Court to
23
     associate George J. Terwilliger III as counsel pro hac vice while Mr. Terwilliger’s
24
     application is pending with the State Bar of Arizona in connection with his representation
25
     of defendant Mark Meadows in this matter. Upon receipt of the Notice from the Arizona
26
27
28
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 244 of 303




 1   State Bar, counsel will file a Supplement to this Motion attaching a copy.1 In support of
 2   this motion and pursuant to Rule 39(c)(1)(A), the following documents are attached as
 3   Exhibit 1:
 4          1.     Verified Application to Appear Pro Hac Vice; and
 5          2.     Certificate of Good Standing.
 6          Anne Chapman hereby agrees to serve as local counsel in this matter and accept
 7   the responsibilities detailed in Rule 39(b), Ariz. R. Sup. Ct. As local counsel, Ms.
 8   Chapman further agrees to file a Supplement to this Motion upon receipt of the Notice
 9   from the Arizona State Bar concerning Mr. Terwilliger’s Pro Hac Vice admission.
10          A proposed form of order is attached for the Court’s convenience.
11
                   RESPECTFULLY SUBMITTED June 10, 2024.
12
13
                                        MITCHELL | STEIN | CAREY | CHAPMAN, PC
14
                                        By:    /s/ Anne Chapman
15
                                               Anne Chapman
16                                             Lee Stein
17                                             George J. Terwilliger III*
                                               * Pro Hac Vice motion pending
18                                             Attorneys for Defendant Mark Meadows
19
20   ORIGINAL of the foregoing E-FILED
     June 10, 2024 with:
21
22   Clerk of the Superior Court
     Maricopa County Superior Court
23
24   //
25   //
26
27
     1
      Mr. Terwilliger has submitted the required documents, including his application,
28   certificate of good standing and payment to the Arizona State Bar. The application is
     being processed and counsel expects to receive the Notice soon.

                                                   -2-
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 1   COPY of the foregoing
 2   DELIVERED VIA E-FILING
     June 10, 2024 to:
 3
 4   Nicholas Klingerman, Esq.
     Assistant Attorney General
 5   Arizona Attorney General's Office
 6   2005 N. Central Avenue
     Phoenix, AZ 85004
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     Attorneys for Plaintiff
 8
 9
      /s/ B. Wolcott
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                                                      EXHIBIT 1
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      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 250 of 303
                                                                              Clerk of the Superior Court
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                                                                                 06/10/2024 8:00 AM
                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

 CR2024-006850-018 DT                                                   06/07/2024


                                                                CLERK OF THE COURT
 HONORABLE SHELLIE SMITH                                             I. Alvarado
                                                                        Deputy



 STATE OF ARIZONA                                      NICHOLAS KLINGERMAN

 v.

 MARK MEADOWS (018)                                    ANNE M CHAPMAN

                                                       COMM. HENDERSON
                                                       COMM. SHELLIE SMITH
                                                       JUDGE DANIEL MARTIN
                                                       VICTIM WITNESS DIV-AG-CCC




                                NOT GUILTY ARRAIGNMENT



       8:59 a.m.

       Courtroom CCB LL4

       State's Attorney:              Nicholas Klingerman
       Defendant's Attorney:          Anne Chapman
       Defendant:                     Present

       A record of the proceedings is made digitally in lieu of a court reporter.

      Defendant was present for the group advisement given on the record at 8:40 a.m. this date
in CCB LL4.

       Defense counsel waives formal reading of the charge(s).



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                                 SUPERIOR COURT OF ARIZONA
                                     MARICOPA COUNTY

 CR2024-006850-018 DT                                                     06/07/2024


        IT IS ORDERED entering a Not Guilty Plea to all charges on behalf of the Defendant at
this time.

       As to Count(s) 1-9, for which the Court conducts an Initial Appearance this date,

       In preparation for the Initial Pretrial Conference (IPTC), the parties shall do the
following:

        1. The defense attorney shall conduct a conflicts check within the office to determine
whether a conflict exists. If a conflict exists, counsel shall staff the conflict with the appropriate
supervisor, and counsel shall file the appropriate Motion to Withdraw so new counsel can appear
at the Initial Pretrial Conference.

        2. Motions to Modify Release Conditions shall be heard at the Initial Pretrial
Conference. Motions shall be filed with the assigned Commissioner not later than 10 days prior
to the Initial Pretrial Conference.

         3. If a plea agreement is extended by the State, the State shall extend the plea not later
than 10 days before the Initial Pretrial Conference. Defense Counsel shall make reasonable
efforts to present the plea to in custody defendants before the Initial Pretrial Conference.

        4. Motion for Rule 11 Evaluations shall be heard at the Initial Pretrial Conference.
Motions shall be filed with the assigned Commissioner not less than 10 days before the Initial
Pretrial Conference.

        5. Defense Counsel shall prepare and file a List of Specific Items of Discovery required
under Rule 15.1 (b), but which were not disclosed. See Rule 15.2(e). Such list shall be filed with
the assigned Commissioner not less than 5 days before the Initial Pretrial Conference.

        6. All electronic media (audio tapes, CD's, etc.) or documents which require language
translation shall be submitted to the Court Interpretation and Translation Department (CITS) on
or before the IPTC hearing date.

        7. The Initial Pretrial Statement shall be filed with the assigned Commissioner not less
than 3 days before the Initial Pretrial Conference hearing date.

     ANY MOTION TO MODIFY RELEASE CONDITIONS, OR RULE 11 MOTIONS
NOT FILED BEFORE THE INITIAL PRETRIAL CONFERENCE WILL BE HEARD AT THE
COMPREHENSIVE PRETRIAL CONFERENCE BEFORE THE DESIGNATED MASTER

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                                SUPERIOR COURT OF ARIZONA
                                    MARICOPA COUNTY

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CALENDAR JUDICIAL OFFICER. ALL MOTIONS SHALL BE IN WRITING WITH
SPECIFIC FACTS TO SUPPORT THE MOTIONS.

        This case is assigned to Judge Martin.

       IT IS FURTHER ORDERED setting an Initial Pretrial Conference for 07/30/2024 at 8:15
a.m. before Commissioner Henderson.

       IT IS ORDERED setting a Comprehensive Pretrial Conference for 09/03/2024 at 8:30
a.m. before Judge Martin.

       IT IS ORDERED that the attorneys for both the State and Defense be prepared to provide
the court with the following information at the Comprehensive Pretrial Conference (CPTC):

       A.      The status of plea negotiations. This includes whether or not the State has
tendered an offer; if so, when it expires; the results of the settlement conference; and whether or
not a Donald advisement is required.

        B.     The status of disclosure by both the State and Defense. This includes what
discovery has been disclosed and what discovery still needs to be disclosed. If any discovery is
left undisclosed, it is required that all parties comply with Rule 15.6 and provide appropriate
affidavits.

        C.     The number of days required for trial.

       D.    The number of witnesses to be used at trial, including any out-of-town witnesses.
And the number of expert witnesses to be used at trial.

        E.      The status of interviews. This includes how many interviews have been conducted
and how many are left to complete. This includes whether or not any depositions are going to be
required. If depositions are required, it is ordered that the party file a motion requesting same no
later than two days before the CPTC date.

       F.     Whether or not an interpreter is going to be required for either a witness or the
defendant or both.

        G.     The number of jurors required for trial along with the recommended number of
alternates.

        H.     Whether or not the State is requesting an aggravating factors trial to the jury.
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                                 SUPERIOR COURT OF ARIZONA
                                     MARICOPA COUNTY

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         I.     Any special jury instructions.

         J.     Whether or not either party is requesting a lesser-included offense.

         K.     Whether or not there are any anticipated substantive motions to be filed by either
party.

         L.     Whether or not there are any motions in limine anticipated.

       IT IS FURTHER ORDERED setting a Final Trial Management Conference (FTMC) on
10/17/2024 at 8:30 a.m. before Judge Martin.

        IT IS ORDERED setting the Trial Assignment date on 10/31/2024 at 9:00 a.m. before the
Master Calendar Assignment Judge. The Trial Assignment hearing is in person for all lawyers
and defendants. The parties should contact the Trial Assignment division prior to the Trial
Assignment date to request to appear virtually. The purpose of the hearing is to set dates for (1)
the Trial Procedure Conference and (2) the jury selection date.

       All self- represented litigants shall appear in person at the trial assignment date unless
otherwise ordered. All in custody defendants shall be transported unless otherwise ordered.

        Should the Trial Assignment Judge approve a virtual appearance, the Assignment Judge's
division will email parties instructions and a link to join the Court Connect videoconference (for
more information, visit https://superiorcourt.maricopa.gov/court-connect/). A hearing participant
can also join by telephone by dialing 917-781-4590 and entering Access Code 103 815 458# If a
virtual appearance has been approved counsel of record and defendants are ordered to appear via
videoconference with their webcams enabled.

        IT IS ORDERED that the Defendant shall contact and meet with his/her attorney in
person no later than three weeks from this date, for the purpose of preparing for the Initial
Pretrial Conference.

         NOTICE TO DEFENDANTS:

       Failure to comply with the above orders may result in revocation of Defendant's release
from custody and/or the imposition of other sanctions.

         The Defendant may be tried in his/her absence if he/she fails to appear for trial.

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                               SUPERIOR COURT OF ARIZONA
                                   MARICOPA COUNTY

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        The Defendant is advised that, if convicted, the Defendant will be required to appear for
sentencing. If the Defendant chooses not to appear, and the Defendant's absence prevents the
Defendant from being sentenced within ninety days from the conviction, the Defendant may lose
the right to a direct appeal.

       LAST DAY: 12/04/2024.

       IT IS ORDERED releasing Defendant on own recognizance.

        Defendant is directed to appear at all scheduled court hearings and advised of the
potential consequences should he/she fail to appear.

       9:04 a.m. Matter concludes.




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                                                                Clerk of the Superior Court
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                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA
THE STATE OF ARIZONA,                   Case No.: CR2024-006850-001
                                                   CR2024-006860-002
               Plaintiff,                          CR2024-006860-003
                                                   CR2024-006860-004
vs.                                                CR2024-006860-005
                                                   CR2024-006860-006
KELLI WARD (001),                                  CR2024-006860-007
TYLER BOYWER (002),                                CR2024-006860-008
                                                   CR2024-006860-009
NANCY COTTLE (003),                                CR2024-006860-010
JACOB HOFFMAN (004),                               CR2024-006860-011
ANTHONY KERN (005),                                CR2024-006860-012
                                                   CR2024-006860-013
JAMES LAMON (006),                                 CR2024-006860-014
ROBERT MONTGOMERY (007),                           CR2024-006860-015
                                                   CR2024-006860-016
SAMUEL MOORHEAD (008),                             CR2024-006860-017
LORAINE PELLIGRINO (009),                          CR2024-006860-018
GREGORY SAFSTEN (010),
                                              STATE’S MOTION FOR PROTECTIVE
MICHAEL WARD (011),                           ORDER
RUDOLPH GIULIANI (012),                       (Assigned to the Honorable Christina
                                              Henderson)
JOHN EASTMAN (013),
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 260 of 303




BORIS EPSHTEYN (014),
JENNA ELLIS (015),
CHRISTINA BOBB (016),
MICHAEL ROMAN (017),
MARK MEADOWS (018),

               Defendants.

      The State requests this Court grant a protective order that (1) authorizes

the State to disclose the State Grand Jury transcripts and 31 exhibits to defense

counsel and (2) limits the dissemination of these materials by defense counsel, as

authorized by Rule 15.5. Based on the number of transcripts and exhibits,

disclosure will allow defense counsel a better opportunity to review the materials.

A protective order will account for Arizona’s “broader statutory framework

protecting grand jury secrecy.” State v. Bergin, 256 Ariz. 462, ¶ 21 (App. 2023); ER

3.8, cmt. 3 (“a prosecutor may seek an appropriate protective order from the

tribunal if disclosure of information to the defense could result in substantial

harm to an individual or to the public interest.”).

      Pursuant to Arizona Rules of Criminal Procedure 15.5(a)(2), this Court, for

good cause, may regulate disclosure under Rule 15. Regulation is appropriate if

the Court finds disclosure would result in a risk or harm outweighing any

usefulness to any party and the risk cannot be eliminated by a less substantial
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restriction. Due to the sensitive nature of grand jury proceedings, the State

requests this Court enter a limited order restricting the defendant’s use and

dissemination of such sensitive information.

        The State also will redact the names of the State Grand Jurors. Morgan v.

Dickerson, 253 Ariz. 207, 213, ¶ 25 (2022) (holding that “public access to jurors’

names promotes neither fairness in voir dire proceedings nor the perception of

fairness.”). Defense counsel may still access the redacted transcripts at the court

if necessary to consider the jurors’ names or challenge a grand juror under Rule

12.8.

        Accordingly, the State requests this Court to issue an order providing that:

   1. Defense counsel shall maintain the State Grand Jury transcripts and exhibits

        from the State in defense counsels’ custody. Defense counsel may scan,

        reproduce and disclose such information only to support staff, defense

        investigators, agents and/or experts (the “defense team”) as necessary for

        purposes of the defense of this case. Members of the defense teams

        receiving such information shall not reproduce or disseminate any

        discovery materials without further order of the Court. The defendants may

        review the grand jury transcripts and exhibits in the presence of defense

        counsel or other members of the defense teams. The parties agree that
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      review at the office of defense counsel constitutes being the presence of

      the defense team for purposes of this Order. The defendant may not retain

      a copy of the grand jury transcripts and exhibits. Any copies must be kept

      secure so as to reasonably prevent loss, theft, or accidental disclosure to

      third parties.

   2. Defense counsel shall maintain a copy of the order and shall ensure that

      the State Grand Jury transcripts and exhibits are identified in any case

      management system as subject to this protective order.

   3. With respect to any discovery provided by the State under this Order, said

      discovery is for use in the defense of this criminal case only, but also

      includes any appeal, collateral attack, or other post-conviction proceeding.


                         RESPECTFULLY SUBMITTED this 14th day of June, 2024.

                                            KRISTIN K. MAYES
                                            ATTORNEY GENERAL


                                            /s/ Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General
                                            Criminal Division


ORIGINAL of the foregoing e-filed
this 14th day of June, 2024 with:
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 263 of 303




Clerk of the Court
Maricopa County Superior Court
175 West Madison Street
Phoenix, Arizona 85003

The Honorable Christina Henderson
Maricopa County Superior Court

COPY of the foregoing emailed
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Amanda Lauer
Office of the Legal Defender
       Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 264 of 303



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     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 265 of 303
                                                               Clerk of the Superior Court
                                                                             *** Electronically Filed ***
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11   Attorneys for Defendant Mark Meadows

12                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                           IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                             )   No. CR2024-006850-018
                                                   )
16                 Plaintiff,                      )   DEFENDANT MARK MEADOWS’S
17                                                 )   MOTION FOR TEMPORARY
     v.                                            )   REMOVAL OF GRAND JURY
18                                                 )   EXHIBITS PURSUANT TO LOCAL
19   MARK MEADOWS (18),                            )   RULE 2.8(e)
                                                   )
20                 Defendant.                      )   (Assigned to Honorable Daniel Martin)
21                                                 )
                                                   )   (Honorable Jennifer E. Green, Presiding
22                                                 )   Criminal)
23
24          Undersigned counsel for Defendant Mark Meadows moves the Court to allow
25   temporary removal from the Clerk’s custody the 31 evidentiary exhibits presented to the
26   grand jury in this matter. Maricopa County Super. Ct. Local Rule 2.8(e) (“Attorneys
27   admitted to the State Bar of Arizona may obtain temporary custody of official court files,
28   transcripts and exhibits . . . . Upon execution of a receipt therefor, the attorney shall be
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 1   responsible for the safety, security and integrity of the file, transcript or exhibits in that
 2   attorney’s custody.”).1
 3           Meadows, his counsel, and his defense team are entitled to receive and review the
 4   grand jury exhibits in support of Meadows’s defense. See, e.g., Willis v. Bernini, 253
 5   Ariz. 453, 460 ¶ 23 (2022) (“Inherent in a fair and impartial hearing [before the grand
 6   jury] is the fair and impartial presentation of evidence.”); Franzi v. Super. Ct., 139 Ariz.
 7   556, 566-67 (1984) (indicted defendant entitled to review “everything that transpires
 8   before the grand jury, except the deliberations of the jurors”) (quoting State v. Super. Ct,
 9   26 Ariz. App. 482, 484 (1976)); see also A.R.S. § 21-411(A) (“The reporter’s notes
10   containing the proceedings from which an indictment is returned shall be transcribed and
11   . . . [s]uch transcript shall be made available to . . . the defendant.”); Ariz. R. Crim. P.
12   12.7(c) (“The certified reporter’s record of grand jury proceedings must be transcribed
13   . . . and may be made available . . . to . . . the defendant.”); U.S. Const. amends. V, VI,
14   XIV; Ariz. Const. art. 2, §§ 4, 24.2
15           Access to these materials impacts Constitutional and procedural rights and having
16   a copy to review is important particularly where, as here, the volume of materials is
17   purported to be flash drives, large-format documents, and a large binder containing
18   approximately 500-700 pages. Counsel is able to copy and return the original exhibits just
19   as with respect to the grand jury transcripts. Allowing counsel to prepare a copy will
20   permit counsel to perform the constitutionally required careful review and analysis in this
21   case.
22           A proposed form of order is provided for the Court’s convenience.
23   //
24   //
25   1
       Counsel is informed by the Clerk’s office that the grand jury exhibits are located at the
26   Clerk’s exhibit department at the fourth floor of the South Court Tower at 175 W.
27   Madison.
     2
       Counsel for Defendant Meadows already obtained, copied, and returned the transcripts
28   of the grand jury proceedings on June 12, 2024.
                                                 -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 267 of 303




 1                 RESPECTFULLY SUBMITTED June 17, 2024.
 2                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
 3
                                         By:   /s/ Anne Chapman
 4
                                               Anne Chapman
 5                                             Lee Stein
                                               George J. Terwilliger III*
 6
                                               * Pro Hac Vice motion pending
 7                                             Attorneys for Defendant Mark Meadows
 8
 9   ORIGINAL of the foregoing E-FILED
     June 17, 2024 with:
10
11   Clerk of the Superior Court
     Maricopa County Superior Court
12
13
     COPY of the foregoing
14   DELIVERED VIA E-FILING
15   June 17, 2024 to:

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     Assistant Attorney General
17
     Arizona Attorney General's Office
18   2005 N. Central Avenue
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20   Attorneys for Plaintiff
21
22    /s/ B. Wolcott
23
24
25
26
27
28
                                                -3-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 268 of 303




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 8                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 9
                          IN AND FOR THE COUNTY OF MARICOPA
10
11   STATE OF ARIZONA,                            )   Case No. CR2024-006850-018
                                                  )
12                 Plaintiff,                     )
13                                                )   TEMPORARY RELEASE RECEIPT
     v.                                           )   OF OFFICIAL COURT TRANSCRIPT
14                                                )   EXHIBITS PURSUANT TO
15   MARK MEADOWS (18),                           )   MARICOPA COUNTY, LOCAL RULE
                                                  )   2.8(e)
16                 Defendant.                     )
17                                                )
18          On this ___ day of ______________ 2024, the undersigned acknowledges temporary
19
     receipt of the Grand Jury Exhibits pursuant to the Order of the court:
20
21   Released To: _____________________________________

22   Signature:    _____________________________________
23
     Address:      2600 North Central Avenue, Suite 1000, Phoenix, Arizona 85004
24
     Telephone:    602-358-0290
25
     Form of Identification:     badge        driver’s license      other _____________
26
     Releasing Clerk’s Signature: _______________________________
27
28
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 269 of 303




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 8                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 9
                          IN AND FOR THE COUNTY OF MARICOPA
10
11   STATE OF ARIZONA,                            )    Case No. CR2024-006850-018
                                                  )
12                 Plaintiff,                     )    RETURN RECEIPT FOR
13                                                )    TEMPORARY REMOVAL OF
     v.                                           )    OFFICIAL COURT TRANSCRIPT
14                                                )    EXHIBITS PURSUANT TO
15   MARK MEADOWS (18),                           )    MARICOPA COUNTY, LOCAL RULE
                                                  )    2.8(e)
16                 Defendant.                     )
17
            On this ____ day of June, 2024, the undersigned acknowledges return of the Grand
18
19   Jury Exhibits to the custody of the Clerk of the Superior Court, pursuant to the order for

20   temporary removal signed by the Court.
21
     Damage or alteration noted:         No           Yes
22
23   If yes, brief description of damage or alteration: _________________________________

24   _________________________________________________________________________
25
     Court Ordered Return Date: ______________ ____ , 2024
26
27   Receiving Clerk’s Signature: _____________________________________

28
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                                                               Clerk of the Superior Court
                                                                          *** Electronically Filed ***
                                                                             M. Yelverton, Deputy
                                                                            6/18/2024 8:57:13 AM
                                                                              Filing ID 18009303

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     *Pro Hac Vice motion pending
10
11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                            )   No. CR2024-006850-018
                                                  )
16                 Plaintiff,                     )   DEFENDANT MARK MEADOWS’S
17                                                )   RESPONSE IN OPPOSITION TO
     v.                                           )   STATE’S MOTION FOR
18                                                )   PROTECTIVE ORDER
19   MARK MEADOWS (18),                           )
                                                  )   (Assigned to Honorable Daniel Martin)
20                 Defendant.                     )
21                                                )   (Honorable Jennifer E. Green, Presiding
                                                  )   Criminal)
22
23          Defendant Mark Meadows opposes the State’s Motion for Protective Order
24   because it violates his automatic right under applicable statutes and rules to receive and
25   review the entirety of the grand jury proceedings that resulted in his indictment, and his
26   rights under the U.S. and Arizona Constitutions, including the right to due process and
27   the right to participate in his own defense. See A.R.S. § 21-411(A) (“The reporter’s notes
28   containing the proceedings from which an indictment is returned shall be transcribed and
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 1   . . . [s]uch transcript shall be made available to . . . the defendant.”); Ariz. R. Crim. P.
 2   12.7(c) (“The certified reporter’s record of grand jury proceedings must be transcribed
 3   . . . and may be made available . . . to . . . the defendant.”); U.S. Const. amends. V, VI,
 4   XIV; Ariz. Const. art. 2, §§ 4, 24. Attempting to rely on the disclosure provisions of Rule
 5   15 and entirely inapplicable case law, the State’s Motion seeks to place unlawful
 6   limitations on defendant Meadows’s ability to review the testimony and evidence of the
 7   grand jury proceedings that led to his indictment. But the State’s Motion is both legally
 8   baseless and filed too late.
 9          Under the “automatic procedures” of A.R.S. § 21-411(A), Meadows has the right
10   to review “everything that transpires before the grand jury, except the deliberations of the
11   jurors.” Franzi v. Super. Ct., 139 Ariz. 556, 566-67 (1984) (quoting State v. Franzi v.
12   Super. Ct, 26 Ariz. App. 482, 484 (1976)); see State v. Bergin, 256 Ariz. 462, --- ¶ 22
13   (App. 2023) (discussing the “automatic preparation and disclosure of a grand jury
14   transcript following an indictment” required by § 21-411(A)). The State may not rely on
15   the rules governing its disclosure obligations in Rule 15 to place limitations on
16   Meadows’s automatic right to receive and review information about the grand jury
17   proceedings under statute and court rule. Rule 15.5, the cited basis for the State’s request,
18   applies only to materials subject to disclosure under Rule 15. The evidence presented
19   during grand jury proceedings is subject to automatic disclosure to the defendant who has
20   been indicted under A.R.S. § 21-411(A) and Rule 12.7(c).
21          Moreover, at the time the State filed its Motion, on Friday June 14, 2024, after
22   4:00 pm, counsel for Meadows had already obtained copies of the grand jury transcripts,
23   copied and scanned those transcripts, and distributed them to Meadows and other counsel
24   on Meadows’s defense team. The State cannot now, retroactively, seek to limit
25   Meadows’s review of information to which he has an automatic right, particularly with an
26   inapplicable rule as the only cited basis.
27   //
28   //
                                                   -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 272 of 303




 1          The grand jury proceedings in this case consist of more than 20 transcripts, and,
 2   according to the State’s Motion, 31 exhibits. Meadows, his counsel, and defense team are
 3   entitled to review those materials, without the limitations proposed in the State’s Motion.
 4          The grand jury transcripts were filed with the Clerk of Court on or about May 16,
 5   2024. Counsel for Meadows requested to remove the transcripts for copying on May 21,
 6   2024. Because there is only one copy of the transcripts, and eighteen defendants in this
 7   case, Meadows had to wait to obtain the transcripts for copying. Counsel for Meadows
 8   were notified on June 11 that the transcripts were available. Counsel obtained the
 9   transcripts on June 12, processed and distributed the transcripts among the defense team,
10   and returned them to the Clerk of Court the same day.
11          The State has no legal basis for its retroactive request to limit defendant Meadows
12   himself from receiving and reviewing information concerning the grand jury proceedings
13   (including the transcripts which he already has), or to limit him to “review[ing] the grand
14   jury transcripts and exhibits in the presence of defense counsel or other members of the
15   defense teams.” Motion at 3. Those proposed restrictions unduly burden his right to
16   participate in his own defense, particularly given the voluminous record of the grand jury
17   proceedings in this case. And neither of the cases cited by the State in its Motion apply to
18   a criminal defendant’s automatic right to receive a copy of the grand jury proceedings
19   that led to his indictment. See Bergin, 256 Ariz. at --- ¶ 1 (addressing unindicted person’s
20   “request for a transcript of a grand jury proceeding that resulted in the grand jurors
21   declining to return an indictment against him”); Morgan v. Dickerson, 253 Ariz. 207, 208
22   ¶ 2 (2022) (addressing “whether the First Amendment provides the public a qualified
23   right of access to jurors’ names during voir dire”).
24          The State has no legal basis for its request to restrict defendant Meadows from
25   receiving and reviewing information about the grand jury proceedings that led to his
26   indictment. The Court should deny the State’s Motion for Protective Order. With respect
27   to the grand jury transcripts, which Meadows, his counsel, and defense team have already
28   received and reviewed, the Court should not retroactively impose restrictions with no
                                               -3-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 273 of 303




 1   legal basis.1 With respect to the 31 exhibits that were presented to the grand jury,
 2   Meadows, his counsel, and defense team have not yet received those materials, and they
 3   are entitled to receive and review them in support of Meadows’s defense, likewise
 4   without the restrictions proposed in the State’s Motion. See, e.g., Willis v. Bernini, 253
 5   Ariz. 453, 460 ¶ 23 (2022) (“Inherent in a fair and impartial hearing [before the grand
 6   jury] is the fair and impartial presentation of evidence.”).2
 7
                   RESPECTFULLY SUBMITTED June 18, 2024.
 8
                                         MITCHELL | STEIN | CAREY | CHAPMAN, PC
 9
10                                       By:    /s/ Anne Chapman

11                                              Anne Chapman
                                                Lee Stein
12                                              George J. Terwilliger III*
13                                              * Pro Hac Vice motion pending
                                                Attorneys for Defendant Mark Meadows
14
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16
17   Clerk of the Superior Court
     Maricopa County Superior Court
18
19   //

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26   1
       Counsel for Meadows, Meadows, and other members of his defense team are aware of
27   the laws governing grand jury secrecy in Arizona. E.g., A.R.S. § 13-2812.
     2
       Counsel for Meadows have filed a motion for temporary release of the grand jury
28   exhibits pursuant to Local Rule 2.8(e).
                                                -4-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 274 of 303




 1   COPY of the foregoing
     DELIVERED VIA E-FILING
 2   June 18, 2024 to:
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 4   Assistant Attorney General
 5   Arizona Attorney General's Office
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 6   Phoenix, AZ 85004
 7
     Attorneys for Plaintiff
 8
      /s/ B. Wolcott
 9
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     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 275 of 303
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 9   George@gjt3law.com
     *Pro Hac Vice motion pending
10
11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                            )   No. CR2024-006850-018
                                                  )
16                 Plaintiff,                     )   DEFENDANT MARK MEADOWS’
17                                                )   MOTION TO EXTEND TIME TO
     v.                                           )   FILE MOTION TO DISMISS OR
18                                                )   QUASH UNDER A.R.S. § 12-751
19   MARK MEADOWS (18),                           )   (ANTI-SLAPP STATUTE)
                                                  )
20                 Defendant.                     )   EXPEDITED CONSIDERATION
21                                                )   REQUESTED
                                                  )
22                                                )   (Honorable Daniel Martin)
23
            Defendant Mark Meadows requests that the Court extend his time to file a motion
24
     to dismiss or quash the State’s prosecution against him pursuant to A.R.S. § 12-751, the
25
     anti-SLAPP statute. That statute provides that “[t]he motion to dismiss or quash may be
26
     filed within sixty days after the service of the complaint or other document on which the
27
     motion is based or, in the court’s discretion, at any later time on terms that the court
28
     deems proper . . . .” A.R.S. § 12-751(D). The indictment in this case was served on Mr.
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 276 of 303




 1   Meadows on April 24, 2024. Sixty days from that service is June 23, 2024. Mr. Meadows
 2   requires additional time beyond June 23 in which to analyze, prepare, and file a motion
 3   under § 12-751, and respectfully requests that the Court grant him until August 26, 2024,
 4   to file the motion.
 5          As the Court is aware, this is a complicated case with obvious political and
 6   constitutional overtones. The anti-SLAPP statute allows a person to challenge a legal
 7   action against him, including a criminal prosecution, if the action “involves a person’s
 8   lawful exercise of the right of petition, the right of speech, the freedom of the press, the
 9   right to freely associate or the right to peaceably assemble pursuant to the United States
10   Constitution or Arizona constitution.” A.R.S. § 12-751(A), (J)(1)(a)(ii). Mr. Meadows is
11   currently evaluating and preparing a motion under § 12-751 but needs additional time
12   given the complexity of this case in general, the complexity of issues related to the anti-
13   SLAPP statute, the early stages of this case, and the lack of information available so far
14   to the defense.
15          Mr. Meadows therefore asks the Court to grant him until August 26, 2024 to file
16   his motion to dismiss or quash the State’s prosecution against him pursuant to A.R.S.
17   § 12-751. Counsel for Plaintiff have advised they have no objection to this request. A
18   proposed form of order is attached for the Court’s convenience.
19                 RESPECTFULLY SUBMITTED June 20, 2024.
20                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
21
                                         By:    /s/ Anne Chapman
22
                                                Anne Chapman
23                                              Lee Stein
                                                George J. Terwilliger III*
24
                                                * Pro Hac Vice motion pending
25                                              Attorneys for Defendant Mark Meadows
26
27
28
                                                  -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 277 of 303




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 4   Maricopa County Superior Court

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 7   June 20, 2024 to:
 8   Nicholas Klingerman, Esq.
 9   Assistant Attorney General
     Arizona Attorney General's Office
10   2005 N. Central Avenue
11   Phoenix, AZ 85004
     Attorneys for Plaintiff
12
13    /s/ PLMcClellan

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     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 278 of 303
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     Delaplane VA 20144
 9   George@gjt3law.com
     *Pro Hac Vice motion pending
10
11   Attorneys for Defendant Mark Meadows

12                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
13
                          IN AND FOR THE COUNTY OF MARICOPA
14
15   STATE OF ARIZONA,                            )   No. CR2024-006850-018
                                                  )
16                 Plaintiff,                     )   DEFENDANT MARK MEADOWS’
17                                                )   UNOPPOSED MOTION TO EXTEND
     v.                                           )   TIME TO FILE MOTION TO
18                                                )   CHALLENGE GRAND JURY AND
19   MARK MEADOWS (18),                           )   GRAND JURY PROCEEDINGS
                                                  )
20                 Defendant.                     )   (Honorable Daniel Martin)
21
            Defendant Mark Meadows requests that the Court extend his time to file a motion
22
     to challenge the grand jury and grand jury proceedings. See Ariz. R. Crim. P. 12.9, 12.21,
23
     12.22, 12.28. Meadows was arraigned on June 7, 2024, making July 22, 2024, the current
24
     deadline for such a motion. See Ariz. R. Crim. P. 12.9(b) (motion due “no later than 45
25
     days after the certified transcript and minutes of the grand jury proceedings are filed or
26
     no later than 45 days after the defendant’s arraignment, whichever is later”). Given the
27
     lengthy grand-jury proceedings, spanning several months, the voluminous disclosures
28
     that the State has already produced, and the remaining discovery that needs to be
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 279 of 303




 1   completed, Meadows needs additional time to review the relevant materials and
 2   adequately evaluate the grounds for challenging the grand jury and proceedings.
 3          The requested extension is necessary in the interests of justice to ensure that
 4   Meadows’s constitutional rights are protected, including his due process rights under the
 5   U.S. and Arizona Constitutions. Meadows therefore asks the Court to grant him until
 6   September 23, 2024, to file his motion challenging the grand jury and grand jury
 7   proceedings. Counsel for the Plaintiff have advised they have no objection to this request.
 8   A proposed form of order is attached for the Court’s convenience.
 9                 RESPECTFULLY SUBMITTED June 20, 2024.
10                                       MITCHELL | STEIN | CAREY | CHAPMAN, PC
11
                                         By:   /s/ Anne Chapman
12
                                               Anne Chapman
13                                             Lee Stein
                                               George J. Terwilliger III*
14
                                               * Pro Hac Vice motion pending
15                                             Attorneys for Defendant Mark Meadows
16
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18   Clerk of the Superior Court
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     Assistant Attorney General
24   Arizona Attorney General's Office
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     Phoenix, AZ 85004
26   Attorneys for Plaintiff
27
      /s/ PLMcClellan
28
                                                  -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 280 of 303
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 8   P.O. Box 74
 9   Delaplane, VA 20144
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10   *Pro Hac Vice motion pending
11   Attorneys for Defendant Mark Meadows
12
13               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
14                       IN AND FOR THE COUNTY OF MARICOPA
15
     STATE OF ARIZONA,                         )    No. CR2024-006850-018
16                                             )
17                Plaintiff,                   )    NOTICE OF DISCLOSURE
                                               )    PURSUANT TO RULE 15.2 FOR
18   v.                                        )    DEFENDANT MARK MEADOWS
19                                             )
     MARK MEADOWS (18),                        )    (Honorable Daniel Martin)
20                                             )
21                Defendant.                   )

22         Defendant Mark Meadows, through undersigned counsel, makes the following
23   disclosure pursuant to Rule 15.2 of the Arizona Rules of Criminal Procedure. Defendant
24   Meadows reserves all rights to amend or supplement this disclosure statement as
25   circumstances dictate.
26   I.    DEFENSES
27
            Alibi                                  Necessity
28          Insanity                               Invalidity of Prior Conviction
            Self-Defense                           Good Character
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 281 of 303




 1          Defense of Others                       No Mens Rea of Recklessness/Negligence
            Entrapment                              No Mens Rea of Intent/Knowledge
 2
            Consent                                 No Actus Reus
 3          Impotency                               Insufficiency of Prior Conviction
 4          Mistaken Identification                 Insufficiency of State’s Evidence
            Mere Presence                           Justification
 5          Immaturity                              Coercion
 6          Intoxication                            Suicide
            Diminished Capacity                     Defense of Premises
 7          Accident                                Defense of Property
 8          Illegal Search                          No Illegal Substances in System
            Third Party Defense                     Insufficient Factual/Legal Basis
 9
            Duress                                  Invalidity of State’s Blood Test
10          Invalidity of State’s                   Blood Alcohol Not in Excess of
            Chemical Testing                        .08/.15/.20
11
            Invalidity of State’s Breath            Other:
12          Test                                    Supremacy Clause Immunity from
                                                    Prosecution, U.S. CONST., art. vi, cl. 2;
13                                                  First Amendment/Anti-SLAPP, A.R.S.
                                                    § 12-751
14
     II.    WITNESSES
15
            Defendant Meadows may call the following witnesses:
16
            1.     Custodians of records, as needed, to establish foundation for any exhibits
17
     used at trial, including, but not limited to, the Archivist and a custodian of records of the
18
     National Archives and Records Administration; and Jack Smith, as Special Counsel and
19
     a custodian of records of the Department of Justice.
20
            2.     Any individuals listed or referred to in the law enforcement reports or
21
     disclosure produced by the State pursuant to Ariz. R. Crim. P. 15.1.
22
            3.     Any person named in the State’s disclosure notice pursuant to Ariz. R.
23
     Crim. P. 15.1.
24
            4.     Any experts/technicians called by the State or named in the disclosure
25
     provided by the State pursuant to Ariz. R. Crim. P. 15.1.
26
            5.     Members of the White House staff during Defendant Meadows’s tenure as
27
     the 29th Chief of Staff to the President of the United States.
28
            6.     Former President Donald Trump.


                                                  -2-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 282 of 303




 1          The defense is in the process of reviewing disclosures and conducting its
 2   investigation in this matter and will supplement this list as witnesses become known.
 3   Also, pursuant to Ariz. R. Crim. P. 15.1(h), Defendant Meadows hereby requests
 4   disclosure of all persons who will be called as rebuttal witnesses, together with their
 5   written or recorded statements.
 6   III.   EXHIBITS AND EVIDENCE
 7          Defendant Meadows may use as exhibits any tangible item, document, or other
 8   material identified or referred to in the law enforcement investigative reports or other
 9   disclosures provided by the State, as well as any other item the defense discloses to the
10   State prior to trial, including curricula vitae and reports of any experts listed or called as
11   a witness, and any documents or other evidence upon which said experts may rely for
12   their opinions rendered.
13          Defendant Meadows also may use as exhibits relevant documents and materials
14   in the possession of the Archivist and a custodian of records of the National Archives
15   and Records Administration, which include Defendant Meadows’s official records
16   during his tenure as the former Chief of Staff and leader of the Executive Office of the
17   President, as well as communications after the 2020 Presidential election between
18   certain members of his team in the Executive Office of the President, certain call records
19   involving offices within Meadows’s control as the Chief of Staff, and the schedules and
20   calendars of certain Executive officials after the 2020 Presidential Election.
21          In addition, Defendant Meadows may use a exhibits relevant documents and
22   materials in the possession of Jack Smith, as Special Counsel and a custodian of records
23   of the Department of Justice, which include (1) documents the United States has
24   produced in discovery United States v. Trump, No. 1:23-cr-00257-TSC (D.D.C.); (2)
25   official records of Meadows obtained by the Special Counsel; and (3) documents
26   exculpatory to Meadows.
27          By indicating the possibility of using these exhibits as the situation may warrant,
28   Defendant Meadows in no way waives any challenges to the foundation or authenticity



                                                   -3-
     Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 283 of 303




 1   of the exhibits and does not waive any objections under Ariz. R. Evid. 1001-1006,
 2   specifically, or any other Rule of Evidence.
 3          The State is further placed on notice that Defendant Meadows may use as exhibits
 4   for impeachment or corroboration written or electronically recorded statements of any
 5   witness, including transcripts of any electronically recorded statements conducted in this
 6   matter.
 7          This exhibit list may be amended upon further discovery and/or interviews.
 8                 RESPECTFULLY SUBMITTED June 20, 2024.
 9                                      MITCHELL | STEIN | CAREY | CHAPMAN, PC
10
                                        By: /s/ Anne Chapman
11                                         Anne Chapman
12                                         Lee Stein
                                           George J. Terwilliger III*
13                                         * Pro Hac Vice motion pending
14                                         Attorneys for Defendant Mark Meadows

15
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16   June 20, 2024, with:
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     Clerk of Court
18   Maricopa County Superior Court
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22   Nicholas Klingerman, Esq.
     Assistant Attorney General
23   Arizona Attorney General’s Office
24   2005 N. Central Avenue
     Phoenix, AZ 85004
25   Attorneys for Plaintiff
26
27
      /s/ PLMcClellan
28



                                                    -4-
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 284 of 303
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                                                                            T. Ford, Deputy
                                                                        6/21/2024 11:18:09 AM
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Attorneys for Plaintiff

              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                    IN AND FOR THE COUNTY OF MARICOPA

STATE OF ARIZONA,                            Cause No.   CR2024006850-001
                                                         CR2024006850-002
                                                         CR2024006850-003
              Plaintiff,                                 CR2024006850-004
v.                                                       CR2024006850-005
                                                         CR2024006850-006
KELLI WARD (001),                                        CR2024006850-007
TYLER BOWYER (002),                                      CR2024006850-008
                                                         CR2024006850-009
NANCY COTTLE (003),                                      CR2024006850-010
JACOB HOFFMAN (004),                                     CR2024006850-011
ANTHONY KERN (005),                                      CR2024006850-012
JAMES LAMON (006),                                       CR2024006850-013
ROBERT MONTGOMERY (007),                                 CR2024006850-014
                                                         CR2024006850-015
SAMUEL MOORHEAD (008),                                   CR2024006850-016
LORRAINE PELLEGRINO (009),                               CR2024006850-017
GREGORY SAFSTEN (010),                                   CR2024006850-018
MICHAEL WARD (011),
RUDOLPH GIULIANI (012),
                                             PLAINTIFF’S RULE 15.1
JOHN EASTMAN (013),                          FIRST SUPPLEMENTAL
BORIS EPSTHEYN (014),                        DISCLOSURE
JENNA ELLIS (015),
CHRISTINA BOBB (016),
MICHAEL ROMAN (017),                         Hon. Daniel G. Martin
MARK MEADOWS (018),

              Defendants.




                                         1
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 285 of 303




       The State, pursuant to Arizona Rule of Criminal Procedure 15.1, makes

available the following material and information. All of the materials subject to

disclosure, presently in the State’s possession, are referenced in this document.

Additional disclosure, if any, will be made available as received, in accordance with

Rule 15.6. Any such disclosure may be used in the State’s case-in-chief or as rebuttal

evidence in this case.

       1.     Disclosure Materials

       The following disclosure materials have been uploaded to the AG Fileshare

server and are available for downloading:

EXHIBITS:                                                           BATES No.:

RUSTY BOWERS #2
Bowers J6 Production
  _2022.04.13 - Production No. 1 Cover Ltr.                         023824
  _2022.04.26 - Cover Ltr re Production No. 2                       023825
  2020 Natelson Legal Analysis Legislative Authority                023826-023829
  2020-11-12 Letter to President Fann and Speaker Bowers            023830-023831
  2022.04.26 - Bowers Production No. 2                              023832-023838
  20201129_Plenary Power                                            023839-024225
  POST-ELECTION FREQUENTLY ASKED QUESTIONS                          024226-024229
  Trump Campaign - Arizona Election Anomalies & Concerns            024230-024340

SEARCH WARRANTS
SW 2023-010100 K Ward Tmobile Cell Phone added 5 14                 024341-024347
SW 2023-010101 Safsten Cell Phone                                   024348-024353
SW 2023-010102 Hoffman Cell Phone                                   024354-024358
SW 2023-010108 Safsten AT&T email                                   024359-024362
SW 2023-010109 Safsten Google email                                 024363-024367
SW 2023-010110 Hoffman email                                        024368-024371
SW 2024-020289 Bowyer X Account                                     024372-024376
SW 2024-020290 Cottle X Account                                     024377-024381




                                            2
      Case 2:24-cv-02063-JJT Document 1-1 Filed 08/14/24 Page 286 of 303




SW 2024-020291 Kern X Account                                   024382-024386
SW 2024-020292 Lamon X Account                                  024387-024391
SW 2024-020293 Mike Ward X Account                              024392-024396
SW 2024-020294 Moorhead X Account                               024397-024401
SW 2024-020295 Kelli Ward X Account                             024402-024406
SW 2024-020296 Hoffman X Account                                024407-024410
SW 2024-020297 Pellegrino X Account                             024411-024415
SW 2024-020309 Pellegrino Yahoo Email                           024416-024421
SW 2024-020310 Multiple Gmail Account Emails                    024422-024427
SW 2024-020311 Multiple MSN Hotmail Email Accounts              024428-024433
SW 2024-020312 Wild West Email Accounts                         024434-024439
SW 2024-020313 Mutilple Political Media Emails                  024440-024445
SW 2024-020314 Bobb Email Account                               024446-024451
SW 2024-020329 Apple Cloud                                      024452-024454
SW 2024-020330 Google Cloud                                     024455-024459
SW 2024-020332 Meadows Highlands Email                          024460-024462
SW 2024-020333 Trump Organization Accounts                      024463-024465
SW 2024-020334 Google Email Accounts                            024466-024468
SW2024-020289 Request & Order to Unseal                         024469-024471
SW2024-020290 Request & Order to Unseal                         024472-024474
SW2024-020291 Request & Order to Unseal                         024475-024477
SW2024-020292 Request & Order to Unseal                         024478-024480
SW2024-020293 Request & Order to Unseal                         024481-024483
SW2024-020294 Request & Order to Unseal                         024484-024486
SW2024-020295 Request & Order to Unseal                         024487-024489
SW2024-020296 Request & Order to Unseal                         024490-024492
SW2024-020297 Request & Order to Unseal                         024493-024495
SW2024-020309 Request & Order to Unseal                         024496-024498
SW2024-020310 Request & Order to Unseal                         024499-024501
SW2024-020311 Request & Order to Unseal                         024502-024504
SW2024-020312 Request & Order to Unseal                         024505-024507
SW2024-020313 Request & Order to Unseal                         024508-024510
SW2024-020314 Request & Order to Unseal                         024511-024513

NEWS ARTICLES AND VIDEOS
AZ Mirrir.Com PDF                                                 024514-024515
Bobb and Rudy podcast see 1115                                    024516
Bobb before inauguration day on December scheme                   024517
Bobb paid by Blake Masters in Senate campaign                     024518-024522
Boris telling everyone press release on hold until mayor and DJT… 024523-024527
Chesebro Flew Wisconsin Vote to DC                                024528-024546
Clint Hickman WAPO interview                                      024547




                                         3
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CNN Story about 5 Electors                                           024548-024559
Copy of Joint Resolution from AZ Legislators 12 14 2020              024560-024570
Dec 14 Joint Resplution to accept fake electors                      024571-024581
Hoffman Story                                                        024582-024597
Jim Lamon explains elector role in news story Contingency            024598-024606
Jim Lamon news story Jan 31 2022 Contingency                         024607-024616
Key email about green light and court case for all states            024617-024620
MSNBC Alex Wagner story about Jake Hoffman Letter                    024621
Rose Law Group Reporter                                              024622-024631
Rusty video of threats                                               024632
Rusty video to have a hearing                                        024633
Stonewalldemsaz                                                      024634-024649
Tucson News Story                                                    024650-024674
www.azcentral.com                                                    024675-024678
www.defendyourvotingrights.org                                       024979-024686
www.phoenixnewtimes.com                                              024687-024691
www.usatoday.com                                                     024692-024698
www.yahoo.com                                                        024699

REPORTS #3
SIS Supplement 17 (Evidence Item #2)                                 024700-024702
SIS Supplement 39 (Greg Jacob Interview)                             021703-024709
SIS Supplement 54 (Email Search Warrants)                            024710-024712
SIS Supplement 55 (Email Search Warrants)                            024713-024715
SIS Supplement 57 (Pellegrino Email Return)                          024716-024718
SIS Supplement 58 (Kelli Ward TMobile Results)                       024719-024721
SIS Supplement 59 (Gmail Results)                                    024722-024725
SIS Supplement 60 (Townsend TMobile Results)                         024726-024728
SIS Supplement 61 (Kelli Ward TMobile SW)                            024729-024731
SIS Supplement 62 (Epshteyn Verizon Results)                         024732-024734
SIS Supplement 63 (Kelli Ward TMobile Results)                       024735-024737

      2.     State’s Request for Disclosure

      The State requests all disclosure required under Arizona Rule of Criminal

Procedure 15.2(a)(1)(A)(H) and (e)(7)(A)-(B).

      3.     Continuing Disclosure

      The State will continue to disclose evidence and/or witnesses it plans to use




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at the trial in this matter, as required pursuant to Rule 15.6.

       RESPECTFULLY SUBMITTED this 21st day of June, 2024.

                                            KRISTIN K. MAYES
                                            Attorney General


                                            /s/Nicholas Klingerman
                                            NICHOLAS KLINGERMAN
                                            Assistant Attorney General

Original of the foregoing e-filed this
21st day of June, 2024, via:

Maricopa County Superior Court
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A copy of the foregoing document
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13
14               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
15                       IN AND FOR THE COUNTY OF MARICOPA
16    STATE OF ARIZONA,                               Case No.: CR2024-006850-006
17
                           Plaintiff,                 MOTION TO DISMISS INDICTMENT
18                                                    AND AWARD ATTORNEY’S FEES
19    v.                                              AND COSTS PURSUANT TO A.R.S.
                                                      § 12-751
20    JAMES LAMON (006),
21                                                    (Evidentiary Hearing Requested
                           Defendant.                 Pursuant to A.R.S. § 12-751(C))
22
23
            The State of Arizona has vindictively brought criminal charges against Defendant
24
     James Lamon (“Jim Lamon” or “Jim”) for actions he took in December 2020 that were
25
     wholly protected by the United States and Arizona Constitutions. The Arizona Attorney
26
     General seeks to punish Jim Lamon for exercising his constitutional rights and deter him
27
     and others from doing so again in the future. This political prosecution cannot stand.
28

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 1         The Indictment must be dismissed, and Jim Lamon should be awarded his

 2 reasonable attorney’s fees and costs for having to defend himself against such a brazen
 3 attack on his constitutional rights pursuant to A.R.S. § 12-751.
 4                   MEMORANDUM OF POINTS AND AUTHORITIES

 5         “In any [criminal prosecution] that involves a person’s lawful exercise of the right

 6 of petition, the right of speech, … the right to freely associate or the right to peaceably
 7 assemble pursuant to the United States Constitution or the Arizona constitution, the person
 8 … may file a motion to dismiss or quash the action.” A.R.S. § 12-751(A) and (J)(1)(a)(ii).
 9 A defendant need only present prima facie proof that the criminal prosecution “was
10 substantially motivated by a desire to deter, retaliate against or prevent the lawful exercise
11 of a constitutional right.” A.R.S. § 12-751(B). Once the defendant has met his burden, the
12 Court must dismiss the charges unless the State can prove both that (1) the criminal
13 prosecution “is justified by clearly established law,” and (2) the State did not bring the
14 prosecution to deter, prevent or retaliate against the moving party’s exercise of
15 constitutional rights.” A.R.S. § 12-751(B)(1). As discussed below, this prosecution
16 tramples on Jim Lamon’s constitutional rights and is designed to retaliate against, deter,
17 and prevent constitutionally protected acts. Therefore, the Indictment must be dismissed.
18         I.     Jim Lamon made himself a political target for Attorney General Kris

19                Mayes.

20         Jim Lamon is a successful businessman and veteran, who served in the military in

21 the footsteps of his father and grandfather and cares deeply about doing good for others in
22 this country and state. Jim Lamon’s company gave preference to hiring veterans, donated
23 10% of its net margin (to the tune of millions of dollars) to charity, and prioritized buying
24 goods from American companies. Jim felt honored when he was selected by the Arizona
25 State Republican Party Chairwoman to serve as one of Arizona’s presidential electors
26 (“Electors”) during the 2020 election.
27         When the results of the 2020 presidential election were challenged in the courts, Jim

28 Lamon was asked to sign his name to a contingent vote certificate that would be used only

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 1 in the event the election results were overturned. Those court cases were ultimately
                                                        1


 2 resolved in favor of President Biden, the election results were affirmed, and the Certificate
 3 signed by Jim Lamon and the other Trump-Pence Electors was disregarded.
 4        Although Jim Lamon’s actions were wholly protected by the United States and

 5 Arizona Constitutions, they became fodder for Kris Mayes (“Mayes”) during her 2022 race
 6 to become the next Attorney General for the State of Arizona. Mayes campaigned on a
 7 promise to investigate Jim and the other Republican Electors. (Exhibit 1, Washington Post
 8 article, at 4.) According to news reports at the time, Mayes asserted, “There has to be a
 9 deterrent to this happening again.” (Id. at 5) (emphasis added).
10        In the Summer of 2021, Jim Lamon provided funding for security at the election

11 audit conducted by the Arizona Senate. Jim’s position was that the “audit will help ensure
12 that the American people have full confidence that all eligible Arizonans who cast ballots
13 had their votes accurately counted.” Jim readily acknowledges that, in the end, the audit
                                       2


14 uncovered more votes for President Biden, but as a businessman, he believed in going
15 through the process of ensuring integrity in the vote count. Meanwhile, Mayes has openly
16 and disparagingly referred to the Senate’s recount as a “fraudit.”
                                                                      3


17         At the same time Mayes was running for Attorney General, Jim Lamon was running

18 for the United States Senate. Surely, his Senate bid only increased the size of the target on
19 his back. During his campaign, Jim was endorsed by numerous federal and state police
20 and sheriff’s organizations. Even former Acting United States Attorney General Matthew
21 Whitaker endorsed Jim in his run for Senate and campaigned for him. None of these groups
22   1
        When he was interviewed about the Trump-Pence Certificate, Jim Lamon made
23   unequivocal statements consistent with his view that the Certificate was a contingency
     plan. See https://www.azcentral.com/story/news/politics/arizona/2022/01/30/us-senate-
24   candidate-jim-lamon-explains-false-trump-elector-claim/9280572002/.          Unfortunately,
25   Jim’s original interview with Dennis Welch on “Politics Unplugged” has been scrubbed
     from the Internet by KTVX-TV.
26   2
       https://www.politico.com/news/2021/05/15/arizona-audit-divides-wobbling-state-gop-
27   488438
     3
       https://thedgt.org/kris-mayes-candidate-for-az-attorney-general-will-take-the-fight-to-
28   the-republicans/

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 1 were concerned that Jim was disqualified to serve in the U.S. Senate or believed he had
 2 engaged in felonious conduct.
 3         Yet, Mayes had already decided Jim’s fate. She vowed to take down the Electors

 4 before she even had access to the investigative files. She promised: “I will investigate the
                                                         4


 5 fake electors scheme” in order to “make sure that what happened in 2020 never happens
 6 again.”
           5


 7        Once Mayes entered the Attorney General’s Office, she made good on her promise

 8 and opened an investigation. When asked about her ongoing investigation into what she
 9 derogatorily referred to as the “fake electors,” Mayes proclaimed, “I campaigned on the
10 notion of protecting our elections and protecting our democracy,” and “We obviously can’t
11 ever have this happen again or anything close to it.” (Exhibit 2, The Buckmaster Show, at
12 14:52-15:20.)
13       II.     This criminal prosecution must be dismissed because it tramples on Jim

14                Lamon’s constitutional rights.

15         The Indictment alleges that Jim Lamon committed three acts: first, he met with the

16 other Republican Electors on December 14, 2020 and cast a vote (Indictment at 13, 18);
17 second, he signed his name to an election Certificate (Indictment at 18); and third, he was
18 a named plaintiff in an election lawsuit (Indictment at 50). In other words, Jim Lamon is
19 being prosecuted for exercising his lawful rights to associate, speak, and petition the
20 government for redress of grievances, which are all protected by the United States and
21 Arizona Constitutions. A.R.S. § 12-751(A) and (J)(1)(a)(ii).
22         The First Amendment to the United States Constitution, incorporated against the

23 states by the Fourteenth Amendment, protects the freedom of speech and the right of the
24 people to petition the government for a redress of grievances. U.S. Const. Am. I and XIV.
25 These rights necessarily also include the freedom to associate. Roberts v. U.S. Jaycees, 468
26
27   https://www.nbcnews.com/politics/2020-election/arizona-attorney-general-probing-
     4

   alternate-electors-2020-presidential-rcna94113
28 5 Id.

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 1 U.S. 609, 622, 104 S.Ct. 3244, 3252 (1984) (“An individual’s freedom to speak, to worship,
 2 and to petition the government for the redress of grievances could not be vigorously
 3 protected from interference by the State unless a correlative freedom to engage in group
 4 effort toward those ends were not also guaranteed.”). The Arizona Constitution ensures that
 5 “[e]very person may freely speak, write, and publish on all subjects, being responsible for
 6 the abuse of that right,” Ariz. Const. Art. 2, § 6, and that “[t]he right of petition … shall
 7 never be abridged,” Ariz. Const. Art. 2, § 5. This prosecution, which seeks to criminalize
 8 Jim Lamon’s rights to speak, petition, and associate, must be dismissed.
 9          A. Freedom to Speak

10          Freedom of speech is “foremost within our pantheon of constitutional liberties.”

11 Rodgers v. Mroz, 252 Ariz. 335, 339 ¶ 16 (2022). “[S]peech on matters of public concern
12 [] is at the heart of the First Amendment’s protection.” Dun & Bradstreet, Inc. v. Greenmoss
13 Builders, Inc., 472 U.S. 749, 758-59, 105 S. Ct. 2939, 2944-45 (1985) (internal citations
14 omitted). This is because “speech concerning public affairs is more than self-expression;
15 it is the essence of self-government.” Garrison v. State of La., 379 U.S. 64, 74–75, 85 S.Ct.
16 209, 216, 13 L. Ed. 2d 125 (1964). “Speech deals with matters of public concern when it
17 can be fairly considered as relating to any matter of political, social, or other concern to the
18 community … or when it is a subject of legitimate news interest; that is, a subject of general
19 interest and of value and concern to the public.” Snyder v. Phelps, 562 U.S. 443, 453, 131
20 S. Ct. 1207, 1216 (2011) (internal citations omitted). “[I]n public debate our own citizens
21 must tolerate insulting, and even outrageous, speech in order to provide adequate breathing
22 space to the freedoms protected by the First Amendment.” Boos v. Barry, 485 U.S. 312,
23 322, 108 S. Ct. 1157, 1164, 99 L. Ed. 2d 333 (1988) (internal citations omitted). “[S]tates
24 tread perilously close to the limits of their authority” when they decide to “enforce[e] laws
25 that impose liability for mere speech, a right explicitly guaranteed to the people in the
26 United States Constitution.” Knievel v. ESPN, 393 F.3d 1068, 1073 (9th Cir. 2005).
27          The Ninth Circuit case of Porter v. Bowen, 496 F.3d 1009 (2007), is instructive here.

28 In that case, website operators created a platform for third-party candidate supporters in

                                                   5
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 1 swing states to swap their votes with major-party candidate supporters in safe states. Id. at
 2 1012. The California Secretary of State threatened to prosecute the website operators with
 3 various state election and penal code provisions. Id. Finding the websites amounted to
 4 constitutionally protected speech, the Ninth Circuit held:
 5         At their core, they amounted to efforts by politically engaged people to support
 6         their preferred candidates and to avoid election results that they feared would
           contravene the preferences of a majority of voters in closely contested states.
 7         Whether or not one agrees with these voters’ tactics, such efforts, when
 8         conducted honestly and without money changing hands, are at the heart of the
           liberty safeguarded by the First Amendment.
 9
10 Id. at 1020. The Court rejected the Secretary of State’s arguments that California had an
11 interest in curbing corruption, fraud, and the subversion of the Electoral College. Id. at
12 1023-25. In addressing the latter concern, the Court held that the desired outcome of the
13 website operators “would not have represented a subversion of the Electoral College”
14 because the Electoral College “would have continued to operate precisely as set forth in
15 the Constitution.” Id. at 1025. The Court struck down the Secretary of State’s threatened
16 prosecution as an unconstitutional infringement on First Amendment speech. Id.
17         Similarly, this criminal prosecution infringes on Jim Lamon’s constitutionally
18 protected political speech. Jim had the constitutionally protected right to meet with the
19 other Electors, cast his vote, and sign a contingent vote certificate. In fact, according to
20 Harvard Law Professor Lawrence Lessig, one of the top constitutional law scholars in the
21 country, Jim had to vote on December 14, 2020 in order to preserve his vote should the
22 election results be overturned. (See Declaration of Professor Lawrence Lessig, attached
23 hereto as Exhibit 3, ¶¶ 23-25.) Because Jim was privileged to meet and cast his vote on
24 December 14, 2020, it is unconstitutional for the State of Arizona to prosecute him for
25 doing so. (See Id. ¶¶ 45-46.)
26         Moreover, as in Porter, the Electoral College was not subverted by Jim’s actions.
27 On the contrary, as more fully explained in Jim Lamon’s Motion to Dismiss Pursuant to
28

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 1 Rule 16.4(b), U.S. Const. Art. II and VI, U.S. Const. Am. I, V, XII and XIV, and Ariz.
 2 Const. Art. II, §§ 4 and 6, filed contemporaneously herewith, and Professor Lessig’s
 3 Declaration (Exhibit 3), Jim’s act of signing his name to a contingent ballot was
 4 contemplated by the Twelfth Amendment to the United States Constitution and the
 5 Electoral Count Act of 1887, 3 U.S.C. § 1, et al. The Electoral College “continued to
 6 operate precisely as set forth in the Constitution.” See Porter, 496 F.3d at 1025.
 7          B. Freedom to Petition

 8          The right to freely petition the Government for a redress of grievances includes the

 9 right to solicit governmental action with respect to enforcement of the law. See E. R. R.
10 Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 137–38 (1961). More
11 specifically, “[t]he right to petition bars state action interfering with access to … the judicial
12 branch.” Ruiz v. Hull, 191 Ariz. 441, 457, 957 P.2d 984, 1000 (1998). And yet, the State
13 seeks to do exactly that by prosecuting Jim Lamon for being a named plaintiff in a lawsuit
14 seeking declaratory relief regarding the meaning of the Electoral Count Act. (Indictment at
15 50.) As the Arizona Supreme Court recently held, “‘[R]aising questions” by petitioning
16 our courts to clarify the meaning and application of our laws and noting the potential
17 consequences of the failure to do so—particularly in the context of our elections—is never
18 a threat to the rule of law, even if the claims are charitably characterized as “long shots.”
19 Arizona Republican Party v. Richer, 547 P.3d 356, 370 (Ariz. 2024). Criminalizing a
20 petition to the government for redress of grievances is exactly the weaponization of
21 government that the First Amendment and the Arizona Constitution are designed to protect
22 against.
23          C. Freedom to Associate

24          “[T]he right to engage in activities protected by the First Amendment” necessarily

25 includes a “corresponding right to associate with others in pursuit of a wide variety of
26 political, social, economic, educational, religious, and cultural ends.” Roberts, 468 U.S. at
27 622, 104 S. Ct. at 3252. “According protection to collective effort on behalf of shared
28 goals is especially important in preserving political and cultural diversity and in shielding

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 1 dissident expression from suppression by the majority.” Id. Prosecuting Jim Lamon for
 2 meeting with other Republicans to take a vote and engage in protected political speech is a
 3 clear violation of his First Amendment rights. Protection of these rights is critical in order
 4 to “shield[] dissident expression from suppression by the majority.” See id. Therefore, the
 5 Indictment must be dismissed.
 6        III. Mayes brought this criminal prosecution to retaliate against Jim

 7                Lamon’s lawful exercise of his constitutional rights and to deter or

 8                prevent Jim and others from exercising their rights in the future.

 9         This Indictment tramples on Jim Lamon’s constitutional rights, and the Attorney

10 General’s substantial motivation for bringing the Indictment was her desire to deter,
11 retaliate against, or prevent the lawful exercise of those rights. Mayes’ own words reveal
12 her motivation:
13           • “Which one of us is going to be strong enough to stand up and file lawsuits

14                against these Republicans … I mean, this is the group that gave us the fraudit

15                and the Big Lie.” 6

16             • “There has to be a deterrent to this happening again. We can’t have this

17                occurring again in Arizona – or in the country.” (Ex 1, at 5.)

18             • “We have to make sure that it’s clear to everyone it’s unacceptable to try to

19                steal an election, to undermine and overthrow an election, and that’s what

20                happened in 2020, and I’ve said that as Attorney General, I will investigate

21                the fake electors scheme, so we just have to make sure that what happened

22                in 2020 never happens again.” 7

23             • “I campaigned on the notion of protecting our elections and protecting our

24                democracy … We obviously can’t ever have this happen again or anything

25                close to it.” (Ex 2, at 14:52-15:20.)

26
27   https://thedgt.org/kris-mayes-candidate-for-az-attorney-general-will-take-the-fight-to-
     6

   the-republicans/
28 7 Id.

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 1          What Mayes seeks to punish, deter and prevent from happening again is the exercise

 2 of citizens’ constitutional rights. The only appropriate remedy is for the Indictment to be
 3 dismissed and Jim Lamon to be awarded his reasonable attorney’s fees and costs for having
 4 to defend against this clear violation of his constitutionally protected freedoms to speak,
 5 petition, and associate.
 6          IV.      Conclusion

 7          For generations courts have warned that “we should be eternally vigilant against

 8 attempts to check the expression of opinions” that the powerful might find
 9 objectionable. Abrams v. United States, 250 U.S. 616, 630 (1919) (Holmes, J. dissenting);
10 West Virginia Board of Education v. Barnette, 319 U.S. 624, 642 (1943) (“But freedom to
11 differ is not limited to things that do not matter much. That would be a mere shadow of
12 freedom… If there is any fixed star in our constitutional constellation, it is that no official,
13 high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or other
14 matters of opinion.”). These warnings are at their apogee when public figures seek to
15 silence others from exercising their constitutional rights as is the case here. A.R.S. § 12-751
16 ensures that Arizonans’ rights to petition, speak, and associate will not be chilled as a result
17 of wrongful prosecutions such as this one.
18          As Professor Lessig explains:

19                We have entered a period of extremely close national elections. We can be
20                confident that in the foreseeable future there will be many states in every
                  election that have extremely close contests, and some that cannot be resolved
21                finally in the period before Electors Day. Arizona’s criminal prosecution of
22                uncertified electors who met and voted on Electors Day will only add to the
                  uncertainty and ultimate risk that the results will fail to reflect the vote of the
23                people. Criminal liability will certainly dissuade future uncertified electors
24                from meeting and voting, even though their candidate would, ultimately,
                  prevail through ongoing litigation. But their failing to meet and vote would
25                terminate that litigation, regardless of its merits.
26 (Professor Lessig’s Declaration, Exhibit 3, ¶¶ 43-44.)
27          Jim Lamon has met his burden of presenting prima facie proof that this prosecution
28 is substantially motivated by a desire to deter, retaliate or prevent the lawful exercise of a

                                                       9
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 1 constitutional right, and therefore, moves this Court to: (1) dismiss the Indictment outright
 2 with prejudice, pursuant to A.R.S. § 12-751(B), or in the alternative, set an evidentiary
 3 hearing, pursuant to A.R.S. § 12-751(C), at which testimony and evidence concerning the
 4 Attorney General’s impure motives for bringing this Indictment may be laid bare; and (2)
 5 award Jim Lamon all of his attorney’s fees and costs incurred in defending himself against
 6 this political prosecution, pursuant to A.R.S. § 12-751(F).
 7         RESPECTFULLY SUBMITTED June 24, 2024.

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